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AO 106 (Rev. 06/09) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of New York

E8 MAG 2969

APPLICATION FOR A SEARCH WARRANT

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Four Premises and Two Electronic Devices, See
Attached Affidavit and Riders

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the

P Pourt eso searched i B ESCRGHIC Devices, See Attached Affidavit and Riders

located in the Southern District of New York , there is now concealed (identify the
person or describe the property to be seized):

 

PLEASE SEE ATTACHED AFFIDAVIT AND RIDERS.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
cif evidence of a crime;
Mf contraband, fruits of crime, or other items illegally possessed;
@ property designed for use, intended for use, or used in committing a crime;
(1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. s 371, 1005, 1014, Conspiracy, false bank entries, false statements to a financial institution,
1343 and 1344, and wire fraud, bank fraud, and .
52 USC 30116 and 30109 illegal campaign contributions

The application is based on these facts:

PLEASE SEE ATTACHED AFFIDAVIT AND RIDER.

of Continued on the attached sheet.

[| Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

 

Printed name ard.title
Peet] ry
Sworn to before me and signed in my presence. os

Date: 04/08/2018 / Leal g Low Cnet

yd f Judge’s signature ws

 

City and state: A Swe YO RIC Ad higeve pp Hon. Henry 8. Pitman, U.S. Magistrate Judge
| , “Printed name and tite ~ >»

 

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In the Matter of the Application of the United :
States of America for a Search and Seizure :
Warrant for the Premises Known and Described :
as (1) 502 Park Avenue, SINew :
York, New York 10022, (2) Michael Cohen’s :
Office at 30 Rockefeller Plaza, 23rd Floor, New :
York, New York 10112, (3) Safe Deposit Box # :

Located at the TD Bank Branch at 500 Park :
Avenue, New York, New York 10019, and (4) :

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TO BE FILED UNDER SEAL

Agent Affidavit in Support of
Application for Search and Seizure
Warrant

 

——Loews Regency Hotel;-540-Park-Avenue, Room:
1728, New York, New York 10065, and Any :
Closed Containers/Items Contained Therein, and :
the Electronic Devices Known and Described as :
(1) an Apple iPhone with Phone Number Mil:

HQ and (2) an Apple iPhone with Phone :

Number |
Reference No. 201 ROO 127

SOUTHERN DISTRICT OF NEW YORK) ss.:

ae Agent, Federal Bureau of Investigation, being duly sworn,

deposes and says:

I. Introduction

A. Affiant

1. Lam a Special Agent with the Federal Bureau of Investigation (“FBI”). Ihave been

a Special Agent with the FBI since 2009. In the course of my experience and training in these

positions, I have participated in criminal investigations into federal offenses involving a wide array

of financial crimes, including frauds on financial institutions, as well as into offenses involving

public corruption. I also have training and experience executing search warrants, including those

involving electronic evidence.

2. I make this Affidavit in support of an application pursuant to Rule 41 of the Federal

Rules of Criminal Procedure for a warrant to search the premises specified below (the “Subject

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Premises”) and the electronic devices specified below (the “Subject Devices”) for, and to seize,
the items and information described in Attachments A, B, C, D, E and F. This affidavit is based
upon my personal knowledge; my review of documents and other evidence; my conversations with
other law enforcement personnel; and my training, experience and advice received concerning the
use of electronic devices in criminal activity and the forensic analysis of electronically stored

information (“ESY”). Because this affidavit is being submitted for the limited purpose of

—————~ establishing probable cause, it -does-not-include-all the-facts-that have learned-during-the-course~

of my investigation. Where the contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported in substance and in part, except where
otherwise indicated.

B. The Subject Premises and Subject Devices

3. Subject Premises-1, Subject Premises-2, Subject Premises-3 and Subject Premises-~
4 (collectively, the “Subject Premises”) are particularly described as:
a. Subject Premises-1 is Apartment] tocated inside the building at 502
Park Avenue, New York, New York 10022. The building located at 502 Park Avenue is a 32-
floor brick residential building. Subject Premises-1 is located on the I} 100: of the building.
Based on my review of New York City property records, I have learned that Michael Cohen and
Laura Cohen own Subject Premises-1.! Additionally, as described below, Subject Premises-1 is
Cohen’s full-time residence.
b. Subject Premises-2 is an office located on the 23rd floor of the building at

30 Rockefeller Plaza, New York, New York 10112. The building located at 30 Rockefeller Plaza

 

1 As noted infra, I have learned that on or about October 28, 2015, Cohen transferred Subject
Premises-1 into a trust.

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is a 66-floor office building that spans the entire block between Sixth Avenue and Rockefeller

Plaza. Subject Premises-2 is located on the 23rd floor of the building inside of the offices of the

law firm Squire Patton Boggs. The office is assigned to Michael Cohen. As described below,
Michael Cohen works and conducts meetings at Subject Premises-2.
c. Subject Premises-3 is a safety deposit box located inside the TD Bank

branch location at 500 Park Avenue, New York, New York 10019. Based on my review of records

 

ten inches in size, and is marked as box [J The safety deposit box is in the name of Michael
Cohen and Laura Cohen.

d. Subject Premises-4 is Room 1728 located inside the Loews Regency Hotel
at 540 Park Avenue, New York, New York 10065. The building is a luxury hotel located on Park
Avenue and 61st Street. Subject Premises-4 is located on the 17th floor of the hotel. Based on my
review of emails obtained pursuant to search warrants described below, I have learned that on or
about January 5, 2018, Cohen received an email from an employee of Loews Regency, which
included a price quote for a long-term stay suite based on a three-month stay from January 8 to
April 8, 2018.2 On or about January 29, 2018, Cohen sent an email to a Loews Regency employee,
stating, in pertinent part: “I just spoke to my wife and she has scheduled the move for Thursday.
Please mark down that we will be taking possession on Thursday, February 1st.” Based on my
review of cell phone location data, I have learned that, over the past 24 hours, two cellular phones

used by Cohen have been located in the vicinity of Subject Premises-4. In particular, on or about

 

2 Although the quoted price contemplated a three-month stay from January 8 to April 8, it appears
that Cohen did not move in until February 1, and as of today, April 8, cellphone location
information demonstrates that Cohen’s cellular phones are in still in the vicinity of Subject
Premises-4.

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maintained by TD Bank; T have learned that the safety deposit box is approximately five inches by~-—————--—

“Ty

 
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April 8, 2018, law enforcement agents using a “triggerfish” device identified Room 1728 as the
room within the hotel in which the Subject Devices are most likely present.’
e. Therefore, I believe that Cohen is temporarily residing in Subject
Premises-4.
4, Subject Device-1 and Subject Device-2 (collectively, the “Subject Devices”) are

particularly described as:

 

| Based on my review of records maintained by AT&T, I have learned that Subject
Device-1 is subscribed to Michael Cohen. Based on my review of cellphone location information
maintained by AT&T, I have learned that Subject Device-1 is presently located in the Southern
District of New York.
b. Subject Device-2 is an Apple iPhone serviced by AT&T with the telephone number
pes on my review of records maintained by AT&T, I have learned that Subject
Device-2 is subscribed to Michael Cohen. Based on my review of cellphone location information
maintained by AT&T, I have learned that Subject Device-2 is presently located in the Southern
District of New York.
c. Based on my training, experience, and research, and from consulting the
manufacturer’s | and service providers’ advertisements and product technical specifications
available online, I know that the Subject Devices have capabilities that allow them to, among other

things: make and receive telephone calls; save and store contact information; send and receive

 

3 Based on my conversations with these agents, I understand that it is also possible that the Subject
Devices are one floor below, in Room 1628. However, as noted, I understand that Cohen received
a price quote for a long-term stay suite and is residing there with his family. Based on my
conversations with FBI agents conducting surveillance, I understand that Room 1728 appears to
be a suite, whereas Room 1628 appears to be a standard room.

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a-—Subject Device=1 is an Apple iPhone serviced by AT&T with the telephone number ————

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emails and text messages; download and run mobile telephone applications, including encrypted
call and messaging application such as WhatsApp, Signal, and Dust; take, send, and receive
pictures and videos; save and store notes and passwords; and store documents.

C. The Subject Offenses

5. For the reasons detailed below, I believe that there is probable cause to believe that
the Subject Premises and Subject Devices contain evidence, fruits, and instrumentalities of
es —_ yiolations-of 18-U-S-E.-§ §-1005-(false- bank entries); 1014-(false—statements-to- a—financial
institution), 1343 (wire fraud), and 1344 (bank fraud) (collectively, the “Bank Fraud Offenses”),
52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)Q) (illegal campaign contributions) (the
“Campaign Finance Offenses”), and 18 U.S.C. §§ 371 (conspiracy as it pertains to the other
Subject Offenses) (collectively, the “Subject Offenses”).

D. Prior Applications

6. The FBI and the United States Attorney’s Office for the Southern District of New
York (““USAO”) have been investigating several courses of criminal conduct by Michael Cohen.
Cohen is an attorney who currently holds himself out as the personal attorney for President Donald
Trump, and who previously served for over a decade as an executive in the Trump Organization,
an international conglomerate with real estate and other holdings.

7. In connection with an investigation then being conducted by the Office of the
Special Counsel (“SCO”), the FBI sought and obtained from the Honorable Beryl A. Howell, Chief
United States District Judge for the District of Columbia, three search warrants for emails and
other content information associated with two email accounts used by Cohen, and one search

warrant for stored content associated with an iCloud account used by Cohen. Specifically:

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a. On or about July 18, 2017, the FBI sought and obtained a search warrant for
emails in the account II) @emait.com (the “Cohen Gmail Account”) sent or received
between January 1, 2016 and July 18, 2017 (the “First Cohen Gmail Warrant”).

b. On or about August 8, 2017, the FBI sought and obtained a search warrant
for content stored in the iCloud account associated with Apple ID I @email.com (the

“Cohen iCloud Account” and the “Cohen iCloud Warrant”).

 

er On-or-about-November-13;-2017,; the FBI- sought-and-obtained-a-search-—-

warrant for emails in the Cohen Gmail Account sent or received between June 1, 2015 and
November 13, 2017 (the “Second Cohen Gmail Warrant”).

d. On or about November 13, 2017, the FBI sought and obtained a search
warrant for emails in the account ee (the “Cohen MDCPC Account”) sent or
received between the opening of the Cohen MDCPC Account* and November 13, 2017 (the “First
Cohen MDCPC Warrant”).

8. The SCO has since referred certain aspects of its investigation into Cohen to the
USAO, which is working with the FBI’s New York Field Office. As part of that referral, on or
about February 8, 2018, the SCO provided the USAO with all non-privileged emails and other
content information obtained pursuant to the First Cohen Gmail Warrant, Second Cohen Gmail

Warrant, and Cohen MDCPC Warrant. On or about March 7, 2018, the SCO provided the USAO

 

4 Based on my review of this warrant and the affidavit in support of it, I know that the warrant did
not specify a time period, but the affidavit indicated that, pursuant to court order, the service
provider had provided non-content information for the Cohen MDCPC Account that indicated that
the account contained emails from the approximate period of March 2017 through the date of the
warrant.

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with all non-privileged content obtained pursuant to the Cohen iCloud Warrant.’ A filter team
working with the SCO had previously reviewed the content produced pursuant to these warrants
for privilege.

9. On or about February 28, 2018, the USAO sought and obtained search warrants for
emails in the Cohen Gmail Account and the Cohen MDCPC Account, among other accounts, sent
or received between November 14, 2017 and February 28, 2018 (the “Third Cohen Gmail Warrant”
subject to an ongoing review for privilege by an SDNY filter team.°

10. The emails search warrants described above are referred to collectively as the
“Cohen Email Warrants.”

11. | Onor about April 7, 2018, the USAO and FBI sought and obtained a warrant for
prospective and historical cellphone location information for Subject Device-1 and Subject
Device-2. On or about April 8, 2018, the USAO and FBI sought and obtained authority to employ
an electronic technique, commonly known as a “triggerfish,” to determine the location of Subject
Device-1 and Subject Device-2. |

Ul. Probable Cause
A. Overview

12. The United States Attorney’s Office for the Southern District of New York and FBI
are investigating, among other things, schemes by Target Subject Michael Cohen (a) to defraud

multiple banks from in or about 2016 up to and including the present, and (b) to make an illegal

 

5 The SCO had previously provided a subset of this non-privileged content on or about February
2, 2018.

6 On or about February 28, 2018 and April 7, 2018, the USAO and FBI sought and obtained Rule
41 search warrants authorizing the search of emails and content obtained pursuant to previously
issued warrants for additional subject offenses.

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“Seeond Cohen MDCPC Warrant”). The content produced pursuant to-these-warrants-is-———-

 
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campaign contribution in October 2016 to then-presidential candidate Donald Trump. As noted,
Cohen is an attorney who currently holds himself out as the personal attorney for President Donald
Trump, and who previously served for over a decade as an executive in the Trump Organization,
an international conglomerate with real estate and other holdings.

13. The investigation has revealed that Cohen has made affirmative misrepresentations

in and omitted material information from financial statements and other disclosures that Cohen

———-provided-to-multiple~banks~in-connection-with~a-transaction-intendedto—relieve-Cohen- of =~

approximately $22 million in debt he owed on taxi medallion loans from the banks. As set forth
in detail below, in these financial statements, and in his oral and other written statements to these
banks, Cohen appears to have (i) intentionally misrepresented his ability to pay cash by failing to
disclose cash he began receiving in 2017 from new consulting work: (ii) significantly understated
his total holdings of cash and cash equivalents; (iii) failed to disclose tens of thousands of dollars
he received in monthly interest income, and (iv) failed to inform the banks from which he was
seeking debt relief that he had agreed to make a $3.8 million cash payment to a third party, | |
yin connection with Ho canisition of the taxi medallions securing Cohen’s
debt. By making these misrepresentations and material omissions, Cohen avoided making
monthly payments on his loans, and attempted to fraudulently induce the banks to relieve him of
certain repayment obligations and personal guarantees that Cohen and his wife had signed.

14. Additionally, the investigation has revealed that shortly before the 2016
presidential election, Cohen made a payment of $130,000 from a limited liability corporation
(“LLC”) to Stephanie Clifford, an individual who is alleged to have had an extramarital affair with
then-candidate Trump. This payment was made to Clifford in exchange for an agreement not to

make any public disclosures about her alleged affair with Trump. As set forth below, there is

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probable cause to believe that Cohen made this payment to Clifford for the purpose of influencing
the presidential election, and therefore that the payment was an excessive in-kind contribution to
the Trump campaign.

15. Based on my review of emails obtained from the Cohen Email Warrants,
information obtained pursuant to the iCloud Warrant, and documents produced pursuant to

subpoenas, as well as my review of public sources, I have learned that Cohen has used the Subject

= Premises to (a) receive documents related-to the-transaction-intended-to-relieve-Cohen- of his taxi———---——

medallion debt, (b) receive documents and/or conduct meetings related to his consulting work, (c)
receive documents and/or conduct meetings relating to his finances and assets, some of which, as
noted above and as detailed further herein, he has concealed from the banks in connection with the
refinancing of his taxi medallion debt, (d) receive and send documents relating to his payment to
Clifford, and (e) house and operate electronic devices that were utilized in connection with, among
other things, the taxi medallion transaction, Cohen’s consulting work, and his payment to Clifford.
Specifically, as described below, Subject Premises-1 likely contains evidence concerning Cohen’s
taxi medallion loans, his negotiations with banks, his personal finances, his consulting work, his
tax returns, and his payment to Clifford, as well as electronic devices containing such evidence,
all of which constitute or contain evidence of the Subject Offenses. Additionally, as described
below, Subject Premises-2 likely contains evidence relating to Cohen’s consulting work, his
finances, and his payment to Clifford, as well as electronic devices containing such evidence.
Subject Premises-3, as described below, likely contains evidence relating to Cohen’s assets and
finances, including assets that may not have been disclosed to banks in connection with the
refinancing of Cohen’s taxi medallion debt or documents relating to such assets, and documents

or evidence related to Cohen’s payment to Clifford. Subject Premises-4 likely contains electronic

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devices, including Subject Device-1 and Subject Device-2, which themselves contain evidence of
the Subject Offenses, including concerning Cohen’s taxi medallion loans, his negotiations with
banks, his personal finances, his consulting work, his tax returns, and his payment to Clifford.
Accordingly, and as set forth in more detail below, there is probable cause to believe that the
Subject Premises and Subject Devices will include evidence of the Subject Offenses.

B. Probable Cause Regarding Subjects’ Commission of the Subject Offenses’

 

The Bank Fraud-Scheme

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(i) Cohen’s Statements to Sterling National Bank

16. As set forth in detail below, in 2014, Cohen, through LLCs controlled by him and
his wife, Laura Cohen, entered into a series of loans from Sterling National Bank (“Sterling”) and
the Melrose Credit Union (“Melrose”), secured by taxi medallions, for approximately $20 million.
Though entered into by LLCs, the loans were also secured by personal guarantees in the names of
both Cohen and his wife. Over time, as the taxi industry weakened and the medallions lost value,
Cohen sought to renegotiate the terms of those loans and/or relieve himself from their obligations,
including the personal guarantees. As part of that effort, Cohen made a series of representations
to Sterling and Melrose about his net worth, assets, available cash and income, among other things.
Specifically, based on my review of records maintained by Sterling and Melrose, and public
sources concerning the taxi industry and the value of taxi medallions, as well as my participation

in interviews with a Sterling executive vice-president (the “Sterling Employee-1”) and two other

 

7 In the following recitation of probable cause, I frequently refer to phone calls or text messages
involving Cohen. The text messages described herein as sent or received by Cohen were all sent
or received from the telephone numbers associated with Subject Device-1 or Subject Device-2.
The vast majority of the phone calls described herein made or received by Cohen were made or
received by the telephone numbers associated with Subject Device-1 or Subject Device-2, although
in certain limited instances Cohen used a landline or other phone.

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Sterling employees (“Sterling Employee-2” and “Sterling Employee-3”), I have learned, among
other things, the following:

a. Taxi medallions are small metal plaques affixed to taxis. Without a medallion, it
is illegal to operate a taxi in cities with medallion systems, such as New York City. Cohen and his
wife own multiple LLCs that collectively own 32 taxi medallions (each LLC owns two
medallions).2 Cohen’s purchase of these New York taxi medallions was originally financed by

Joan from Capital One bank; for which the medallions served-as collateral Cohen-was-not-a-taxt———-
operator, and leased his medallions to a third party. That third party made monthly payments to
Cohen, who in turn used some of those proceeds to make his monthly loan payments to Capital
One.

b. In early 2014, Cohen became a customer of Sterling when he sought to refinance a
mortgage on a rental property that he owned. In or around April 2014, Cohen raised with Sterling
the prospect of refinancing his taxi medallion loans, which were then at Capital One. By in or about
September 2014, Cohen began negotiating a lending transaction with Sterling that would allow
Cohen to pay off his loans at Capital One and borrow more money from the then-increase in value
of the medallions. According to Sterling Employee-1, in 2014, prior to the recent upheaval in the
taxi industry—as a result of the emergence of ride-sharing services, such as Uber—taxi medallion
loans were viewed by banks and investors as safe, short term credits, as the market value of taxi
medallions was consistently rising. Consequently, taxi medallion loans—like the loans held by
Cohen—were frequently refinanced at increasing amounts as the value of the medallions rose.

According to Sterling Employee-1, borrowers typically cashed out the increase in the loan amount

 

8 One of these companies, Mad Dog Cab Corp., was jointly owned by Sondra Cohen, who I
believe is Cohen’s mother.

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and used the additional funds for other purposes. Cohen appears to have followed this approach in
2014, when he agreed to refinance his medallion loans for approximately $22 million, which—
according to letters from Capital One in Sterling’s files—was greater than his previous debt at
Capital One Bank ($21 million, of which $14.6 million was a line of credit to Cohen). This allowed
Cohen to cash out the proceeds from the transaction.

c. Based on my review of records maintained by Sterling, I have learned that on or

about December 8, 2014; each of Cohen’s sixteen taxi medallion LE€s entered into-loan-agreements———-—_—--—-

and promissory notes with Sterling for the principal sum of $1,375,000, with repayment due on
December 8, 2016. Each loan was signed by Michael or Laura Cohen, depending on who was the
sole shareholder of the LLC. The address listed fot each of the LLCs was the address for Subject
Premises-1. The loans were also each secured by a security agreement, dated the same day, making
the medallions collateral for the notes. To give Sterling additional security, Michael and Laura
Cohen signed personal guarantees and confessions of, judgment, giving Sterling the right to pursue
collection against the Cohens’ personal assets were their corporations to default under the loan
agreements. The personal guaranty agreements stated that the LLCs had offices at the address for
Subject Premises-1, and contained a notice provision that stated that any notices required by the
agreements should be mailed to Subject Premises-1. In total, Sterling agreed to lend approximately
$22 million to the Cohens’ companies.

d. Pursuant to participation agreements, Sterling transferred 45 percent of Cohen’s

taxi medallion debt to Melrose.’

 

9 Melrose, which had a business principally focused on taxi medallion loans, is now in
conservatorship by the National Credit Union Administration (“NCUA”).

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e. In evaluating Cohen’s requested refinancing of the taxi medallions, Sterling (and
Melrose, consistent with its participation in the deal) conducted due diligence. At Sterling’s
request, Cohen provided Sterling with a statement of financial condition, dated August 1, 2014
(the “August 2014 Financial Statement”), which indicated that Cohen had $100,740,000 in total
assets, $23,550,000 in total liabilities, and a net worth of $77,190,000.!° From my review of a

Sterling credit memorandum, dated September 29, 2014, I know that Sterling viewed the

 

transaction favorably because, accounting for loan payments, cashflows from the medallions-were-————-------+—+

projected to be positive, the value of the collateral (as estimated by Sterling) exceeded $42 million,
and the net worth of Cohen—who was the direct obligor under the guarantee agreements—was
over $77 million. An internal Sterling credit and risk rating analysis report, dated October 20,
2014, recommended approval of the loans for substantially the same reasons.

f. Based on my review of records maintained by Sterling and public sources, I have
learned that over time, the collateral backing Cohen’s loans (taxi medallions) lessened in value due
to the tise in tride-sharing companies. Additionally, Cohen began falling behind on loan payments
to Sterling and Melrose. I know from records maintained by Sterling and an interview with Sterling
Employee-2 that, beginning in or around September 2015, Cohen told Sterling, in sum and
substance, that the individual leasing Cohen’s medallions had fallen behind in making payments to
Cohen, and that as a result, the monthly cash flow from his taxi medallions had been reduced,
leaving him with a shortfall of approximately $16,000 each month. For instance, I have reviewed
an email from Sterling Employee-2, dated September 9, 2015, summarizing a call with Cohen—

which according to the email and toll records for Cohen’s cellphone occurred on September 8,

 

10 Cohen subsequently provided Sterling with a revised statement of financial condition, also
dated August 1, 2014, which reported assets of $99,420,000, total liabilities of $23,550,000, and a
net worth of $75,870,000.

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2015—during which Cohen told Sterling Employee-2, in sum and substance, about his cash flow
problems and a monthly shortfall of approximately $16,000. In that same email, Sterling
Employee-2 commented that despite Cohen’s statements, his personal financial information
“indicate[d] a strong ability to make up the difference in payments.” Cohen, however, according
to Sterling Employee-2, pushed the bank for a reduction in Cohen’s monthly payments.

g. From my review of records maintained by Sterling and my participation in an

 

interview with Sterling Employee-2; I have learned-that-Gohen-and-Sterling-Employee-2. spoke

again on September 28, 2015, and that during the call Cohen stated, in sum and substance, that the
individual to whom Cohen leases the medallions had again reduced monthly payments to Cohen. I
know from my review of records maintained by Sterling that between in or about September 2015
and November 2015, Sterling raised the possibility—both internally and with Cohen—of Cohen
posting his real estate holdings, personal residence, or some other collateral as additional security
for the banks.!! According to these records, however, Cohen resisted these requests. From my
review of loan documents and records maintained by Sterling, I know that in or about November
2015, as a result of | Cohen’s representation that he was not earning sufficient returns on his
medallions to cover monthly interest payments, Sterling and Melrose agreed to amend their loans
with Cohen by, among other things, reducing the interest rate Cohen paid to Melrose and extending
the loan maturity date to December 8, 2017.

hb. [know from interviews with Sterling Employee-1 and Sterling Employee-2, as well
as emails I have reviewed, that in or about October 2016, Cohen told Sterling Employee-1 that

Cohen had a potential buyer of his taxi medallions, named (who would agree to

 

11 Based on my review of property records, I know that on or about October 28, 2015, around
the time period when Sterling raised the possibility of Cohen posting his personal residence—
Subject Premises-1—as collateral, Cohen transferred Subject Premises-1 into a trust.

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assume Cohen’s debt with Sterling and Melrose. Based on my review of records maintained by
Sterling, as well as the interviews with Sterling Employee-1 and Sterling Employee-2 referenced
above, I know that by or before October 2016, Cohen had entered into negotiations to sell his sixteen
corporate taxi medallion entities to FY Po
for the balance of the loans, which at the time was $21,376,000. I know from my review of records

maintained by Sterling, and my participation in an interview with Sterling Employee-2, that as a

————condition of the transfer-of the- medallion-loans—and- because-Sterling-was-unfamiliar-with{] — re

III —stenting requested that Cohen make a substantial principal payment on the loan, of
approximately one million dollars, prior to the transfer. Cohen rejected this request initially. But
on or about I anuary 31, 2017, Cohen told Sterling Employee-1, in sum and substance, that he would
make a one million dollar principal reduction payment in order to move forward with the medallion
transfer deal with | | Indeed, in an email sent by Cohen to Sterling Employee-2 on or
about February 22, 2017, Cohen confirmed that he “agreed to pay down 1 million from the loan
amount.”

i. Pursuant to the participation agreements between Sterling and Melrose, Sterling
was required to secure Melrose’s agreement to participate in the transfer of the taxi medallion debt
from Cohen to P| On or about April 17, 2017, Sterling sent a memorandum to
Melrose summarizing the terms of the proposed transaction, and noting the requirement that
Melrose agree to the terms. On or about May 2, 2017, Sterling Employee-1 told (I
that Melrose had agreed to the deal in principle, and that Sterling would be sending the parties a
term sheet shortly.

j. In order for the banks to conduct diligence and evaluate the proposed transaction

fully, they requested financial information from the parties. On or about June 7, 2017, Sterling

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Employee-1 emailed Cohen to request an “updated personal financial statement,” completed
jointly with Cohen’s wife, and Cohen’s most recent federal income tax return. On or about June
8, 2017, Cohen emailed Sterling Employee-1 a Sterling personal financial statement form that had
been filled out by hand, which referenced a statement of financial condition, dated May 1, 2017
(the “May 2017 Financial Statement”) that was also attached. The May 2017 Financial Statement

included a cover letter from Cohen’s accountant, Jeffrey Getzel, stating, in sum and substance, that

—------—---the information inthe statement-came from Cohen-and that Getzel-had-not-confirmed-its-accuracy—-

or completeness. The May 2017 Financial Statement stated that Cohen had total assets of
$41,955,000, total liabilities of $39,130,000, and a net worth of $2,825,000. The May 2017
Financial Statement indicated that Cohen’s assets were comprised of $1,250,000 in cash,
$26,155,000 in closely held companies (such as the taxi medallion entities and his real estate
holdings), $3,200,000 in real estate investments, and his $11,000,000 personal residence.”

k. Based on my review of reports of law enforcement interviews of Sterling
Employee-1, I have learned that Sterling Employee-1 reviewed the May 2017 Financial Statement
with Cohen to, among other things, verify its accuracy, and Sterling Employee-1 asked Cohen about
specific line items on the financial statement, including the cash amount, value of medallions, and
total liabilities. Cohen stated to Sterling Employee-1, in sum and substance, that the May 2017
Financial Statement was accurate.

1. On or about August 16, 2017, Sterling Employee-1 emailed Cohen and

MEN, attaching a non-binding term sheet memorializing the potential transaction between

 

12 Based on my review of Cohen’s financial statements, I know that the precipitous decline in
assets from his 2014 financial statement to his 2017 financial statements can be explained
primarily by reported depreciation in the value of Cohen’s real estate assets and medallion
investments.

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Sterling, Melrose, Cohen, and pI The term sheet included a cover letter addressed

to Cohen at Subject Premises-1. The parties negotiated the provisions of the term sheet and, on or
about September 5, 2017, Sterling Employee-1 sent Py Cohen a copy of the
executed term sheet. According to the term sheet, MII outa borrow $20,000,000
from Sterling and Melrose, to be secured by the medallions that xn to acquire from

Cohen.

 

m. AS part of the agreement, according to the term sheet, $1,265;9 13-in-prineipal (which————-..------_ =». -

is what would remain after the $20,000,000 payment on the outstanding loan balance) would be
repaid by Cohen and the two banks, with Cohen paying fifty percent and the banks dividing the
remaining half of the balance. Based on my review of an internal Sterling credit memorandum,
dated October 4, 2017, the parties reached a preliminary agreement that Cohen would pay $632,956
of the remaining $1,265,912 principal loan balance, and Sterling and Melrose would absorb
$357,167 and $275,789, respectively, in the form of charge-offs. According to Sterling Employee-
1, Sterling was willing to divide the repayment of the outstanding principal balance—despite its
prior insistence that Cohen make a principal pay-down of at least one million dollars—because
Cohen represented on a telephone call with Sterling Employee-1, in sum and substance, that he had
insufficient liquidity to pay the full outstanding principal balance. As part ofthe agreement, Sterling
and Melrose also agreed to relieve Cohen and his wife of the personal guarantees that they made
on behalf of the LLCs. Thus, after completing the HP cansection, Cohen would no longer
have had any outstanding obligations to Sterling or Melrose.

n. Based on my review of emails sent by Sterling employees, I have learned that
because the transaction between the parties was subject to full credit underwriting by Sterling and

Melrose (as well as Melrose’s regulators at NCUA), in August and September 2017, Sterling

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required and requested additional financial statements and tax returns for Cohen and , |
for its credit underwriting process. In response to Sterling’s requests, on or about September 25,
2017, Cohen emailed Sterling Employee-2 a copy of his 2016 tax return. The tax return listed
Cohén’s mailing address as Subject Premises-1. Additionally, on or about October 5, 2017, Cohen
re-sent Sterling Employee-2 a copy of his May 2017 Financial Statement. A day later, on October
6, 2017, Cohen emailed Sterling Employee-2 a statement of financial condition, dated September

eB 0, 2017 (the “September 2017 Financial Statement”): :

 

o. Like the May 2017 Financial Statement, the September 2017 Financial Statement
included a cover letter from Jeffrey Getzel, Cohen’s accountant, stating, in sum and substance, that
the information in the statement came from Cohen, and that Getzel had not confirmed its accuracy
or completeness. The September 2017 Financial Statement stated that Cohen had total assets of
$33,430,000, total liabilities of $45,630,000, and a negative net worth of $12,200,000. Notably,
unlike Cohen’s May 2017 Financial Statement, the September 2017 Financial Statement
represented to Sterling that Cohen had a negative net worth. The September 2017 Financial
Statement indicated that Cohen’s assets were comprised of $1,250,000 in cash, $17,630,000 in
closely held companies (including the taxi medallion entities and his real estate holdings), *

$3,200,000 in real estate investments, and his $11,000,000 personal residence (which, for the first

 

13 Based on my review of Cohen’s financial statements, 1 know that this further decline in
assets can be explained primarily by reported depreciation in the value of Cohen’s real estate assets
and medallion investments.

14 Notably, the September 2017 Financial Statement valued each of Cohen’s thirty-two New
York taxi medallions at approximately $180,187.50, which_was considerably less than the
$650,000 valuation ascribed to each medallion in the Cohen- QW term sheet.

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time, he indicated was held by atrust).!° The September 2017 Financial Statement included assets
and liabilities not held in Cohen’s name, such as various entities associated with his taxi medallions
and some of his real estate investment entities.

p. From my participation in an interview with Sterling Employee-2, and my review of
records maintained by Sterling, I have also learned that around the time Cohen provided Sterling

with these financial statements—ie., in or around September 2017—Cohen stopped paying

rr ymonthly loan payments on his taxi medallion-loans-altogethe: +--According to-Sterling Employee-—---—__

2, Cohen informed Sterling, in sum and substance, that he had insufficient funds to pay the monthly
principal and interest payments on his medallion loans. By in or about December 2017, Sterling
and Melrose had not been paid approximately $276,937.92 in monthly principal and interest
payments on the medallion loans. Based on Cohen’s financial condition as conveyed in the
September 2017 Financial Statement, and his delinquency in making payments to Sterling, among
other things, the bank’s credit underwriting committee determined (and memorialized in a
December 2017 memorandum) that the Cohen- transaction was favorable for the bank
— that is, that I vould be a better borrower than Cohen.

gq. On or about December 26, 2017, Sterling sent Cohen a demand letter requesting
the immediate receipt of past-due loan payments. The demand letter was addressed to Cohen at
Subject Premises-1. On December 29, 2017, Sterling sent Cohen a letter stating that he was in
default under the loans between Sterling and Cohen’s medallion corporations. The notice of
default was addressed to Cohen at Subject Premises-1. Cohen did not make an immediate payment

on the loans, but instead sent an e-mail to Sterling Employee-1 on or about January 24, 2018,

 

15 Based on my review of property records maintained by the City of New York, and my
participation in an interview with Getzel, I know that in 2015, Cohen transferred his residence to
atrust. He did not disclose that transaction to Getzel or Sterling until in or about September 2017.

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stating that during the closing of the conen transaction, Cohen would “bring all
payments up to date as well as deposit the payoff differential.” Cohen also requested by email on
January 24, 2018, that at the closing of the conen- fY ransaction, Sterling provide a letter
stating that all of Cohen’s debts have been satisfied and that Cohen’s personal guarantees of the
medallion loans had been terminated.

r. The Cohen- II cansaction, however, did not close. On or about January

_— 29,2018, the [I attomey- emailed-attorneys-for-Sterling-and-stated-that“at-this-time-———___-__—_-
there is no deal with Michael Cohen. Some of the numbers have changed and we are not prepared
to go forward.”

s. Based on my patticipation in the interview with Sterling Employee-2 and my
review of records maintained by Sterling, I know that after the cohen I ea fell apart,
Sterling assigned Cohen’s loans to Sterling Employee-3, who specializes in collecting on
defaulting loans. From my participation in an interview with Sterling Employee-3, my review of
telephone call notes taken by Sterling Employee-3, and my review of telephone records, I know
that Sterling Employee-3 spoke several times to Cohen on or about January 30, 2018 about paying
down and/or restructuring Cohen’s outstanding taxi medallion loans. On the calls, which in total
lasted more than an hour, Cohen stated in sum and substance that he did not have more than
$1.25 0,000 to pay toward the medallion loans. On the call, in the course of reviewing the failed
Cohen- transaction, Sterling Employee-3 questioned Cohen about the price

ys to have paid for each medallion, and whether there was a side agreement between
Cohen and (HH. Cohen denied that there was any side agreement with I
t. On or about January 31, 2018, Cohen emailed Sterling Employee-3 and proposed

paying $500,000 to bring the loans current and $750,000 to bring the principal balance to

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$20,500,000. Cohen also suggested revised monthly interest payment amounts. The signature
block on the email indicated that Cohen’s address was the address for Subject Premises-2. On or
about January 31, 2018, Sterling Employee-3 responded to Cohen and stated, in sum and
substance, that Cohen would need to pay the entirety of the overdue payments and pay down the
principal balance of the loan to $20,000,000 (in total, a payment of approximately $1,750,000),

and would need to make larger monthly interest payments.

 

u. On or about F ebruary 1, 201 8; Cohen emailed Sterling-Employee-3-and-proposed-———- as

| “{p]ayment of $1.250m which ALL can be used to pay down principal, if [Sterling] will waive
past due amounts,” but stated “I do NOT have more than the $1.250m.” (Emphasis in original.)
Cohen also stated, in sum and substance, that he had insufficient financial resources to post
additional collateral or pre-fund monthly payments. The signature block on the email indicated
that Cohen’s address was the address for Subject Premises-2. Based on my participation in an
interview with Sterling Employee-3, I have learned that since January 30, 2018, Sterling has
continued to renegotiate the medallion loans with Cohen based on Cohen’s representations about
his current financial position. In particular, according to Sterling Employee-3, Cohen and Sterling
have an agreement in principal to restructure Cohen’s loans based in part of Cohen’s agreement to
make a principal payment of approximately $750,000, to make a payment of $500,000 to become
current on interest payments, and to post $192,000 in cash collateral for his future monthly
payments on the loan. Cohen also agreed to pledge an interest he had in a property. Sterling
Employee-3 has stated that had Cohen indicated he had more than $1,250,000 available to him,
Sterling would have, among other things, negotiated for a larger reduction to the principal amount

of the loan.

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(ii) Cohen Made Material Misrepresentations About His Finances to Banks

Cohen Concealed from Sterling and Melrose Cash Derived from Consulting Work

17. As set forth in detail below, despite multiple written and oral representations by
Cohen to Sterling (and, by extension, Melrose'®) that he had insufficient funds to pay down the
principal balance of the medallion loans, make monthly interest payments, or pay past-due

amounts, it appears that between 2016 and the present, Cohen opened and maintained bank

a _aecounts-at-First-Republic_Bank.(“First_Republic”), and_then_received_millions_of dollars ________

consulting payments in these accounts, which he did not disclose to Sterling. Cohen set up these
accounts and received these funds during the very period in which he made disclosures to Sterling
about his personal finances (including his assets and liabilities) and his ability to make payments
on the medallion loans. In these disclosures to Sterling—and despite being asked about these bank
accounts by his accountant—Cohen misled the bank by claiming he had insufficient liquidity to
satisfy his obligations or meet the bank’s demands, while withholding information about these
ongoing revenue streams and liquid financial assets at First Republic.

18. Specifically, based on my review of documents and bank records produced
pursuant to a subpoena by First Republic, and my participation in and review of reports of
interviews with a First Republic sales manager (“First Republic Employee-1”) and a First Republic
senior managing director (“First Republic Employee-2”), I have learned, among other things, the

following:

 

16 Based on my review of a report of an interview conducted with an employee of Melrose, I
have learned that, pursuant to the participation agreement between Sterling and Melrose, Cohen’s
financial statements and other records in Sterling’s possession were forwarded to Melrose so that
Melrose could make a determination as to whether to approve of the Cohen-
transaction. Based on my review of reports of interviews with Melrose employees, | also know
that Cohen called employees at Melrose regarding the Cohen-(IY xansaction.

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a. Cohen and his wife have been customers of First Republic since approximately
June 2011. Cohen controls several checking and loan accounts at First Republic, some in his own
name and others in the names of corporate entities. According to First Republic’s know-your-
customer records on Cohen,!” his primary physical address is the address for Subject Premises-1.
b. On or about October 26, 2016, in Manhattan, New York, Cohen opened a new

checking account at First Republic in the name of Essential Consultants LLC (the “Essential

 

Consultants Account”). Cohen was the only authorized signatory on the account.—According-to--—--—

account opening documents, the primary address for Essential Consultants LLC was the address
for Subject Premises-1. When Cohen opened the Essential Consultants Account, First Republic
Employee-1 conducted an in-person interview of Cohen. In response to a series of know-your-
customer questions about the purpose of the account—the answers to which First Republic
Employee-1 entered into a form'’—Cohen stated, in sum and substance, that he was opening
Essential Consultants as a real estate consulting company to collect fees for investment consulting
work, and all of his consulting clients would be domestic individuals based in the United States.
Cohen also stated, in sum and substance, that his purpose in setting up the account was to keep the
revenue from his consulting business—which he said was not his main source of income—separate
from his personal finances. As set forth below, there is probable cause to believe that Cohen’s
statements about the intended purpose of the account and source of funds for the account were

false. Specifically, as described below, the account was not intended to receive—and does not

 

17 Certain financial institutions are required to conduct such procedures pursuant to the Bank
Secrecy Act and its implementing regulations. See 31 U.S.C. § 5318; 31 C.F.R. § 1020.220.

18 First Republic Employee-I first filled out the form on the day he interviewed Cohen, October
26, 2016. On or about December 19, 2016, at the request of bank compliance personnel, First
Republic Employee-1 updated the form to add more detail about Cohen’s statements.

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appear to have received—money in connection with real estate consulting work; in addition, the
account has received substantial payments from foreign sources.

c. Iknow from my review of First Republic bank records that were scheduled by an
FBI forensic accountant that after Cohen opened the Essential Consultants Account, Cohen
received payments into that account from foreign businesses and entities that do not reflect the

stated client profile for the residential and commercial real-estate consulting services. Specifically,

 

from my review of the Essential-Consultants-Account-schedule-and-public-sources,-L-know-the———-_-___..

following:

i. Beginning on or about January 31, 2017, Cohen began receiving monthly
payments of $83,333 into the Essential Consultants Account from an entity called Columbus Nova
LLC. According to public sources, Columbus Nova is an investment management firm controlled
by Renova Group, an industrial holding company based in Zurich, Switzerland that is controlled
by Russian national Viktor Vekselberg. From January 2017 to August 2017, the Essential
Consultants Account received seven payments totaling $583,332.98 from Columbus Nova LLC.

ii. Beginning on or about April 5, 2017, the Essential Consultants Account
began receiving payments from Novartis Investments, SARL, which I believe to be the in-house
financial subsidiary of the Swiss pharmaceutical company Novartis International AG (“Novartis”).
Between April 2017 and February 2018, the Essential Consultants Account received eleven wire
payments from a Swiss bank account held in the name of Novartis, each in the amount of $99,980,
for a total of $1,099,780.

iii. Beginning in or about April 2017, the Essential Consultants Account started
receiving wire payments from a bank account associated with the telecommunications company

AT&T Inc. (“AT&T”). Specifically, on or about April 14, 2017, AT&T sent $100,000 to the

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Essential Consultants Account and, from in or about June 2017 to in or about January 2018, the
Essential Consultants Account received ten $50,000 payments from AT&T. In total, AT&T sent
$600,000 to the Essential Consultants Account.

iv. Onor about May 10, 2017, June 9, 2017, July 10, 2017, and November 27,
2017, the Essential Consultants Account received four deposits in the amount $150,000 (totaling

$600,000) from a bank account in South Korea. The account holder from which the money was

 

sent is Korea Aéiospace Industries Ltd- (“KAI”). KAT isa South Korea-based-company~that——--____--
produces and sells fixed-wing aircraft, helicopter aircraft, and satellites to the United States
Department of Defense, among other customers.

v. On or about May 22, 2017, the Essential Consultants Account received a
$150,000 deposit from an account at Kazkommertsbank, a Kazakhstani bank. The listed account
holder at Kazkommertsbank was a second Kazakhstani bank named BTA Bank, AO. A message
accompanying the wire payment indicated that the payment was a “monthly consulting fee as per
Inv BTA-101 DD May 10, 2017 consulting agreement W/N DD 08 05 2017 CNTR W/NDD |
08/05/2017.”

vi. In total, from on or about January 31, 2017 to on or about February 1, 2018,
the Essential Consultants Account received approximately $3,033,112.98 in transfers and checks
from the aforementioned entities. As of on or about January 10, 2018, the balance in the Essential
Consultants Account was $1,369,474.23. Cohen’s withdrawals from the Essential Consultants
account reveal that it was used for largely personal purposes, including to pay, among other things,
American Express bills and fees from “the Core Club,” a private social club in New York.

d. On or about April 4, 2017, Cohen opened another new checking account at First

Republic, this one in the name of Michael D. Cohen & Associates, P.C. (the “MDC&A Account”).

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Cohen was the only authorized signatory on the account. According to account opening
documents, the primary address for MDC&A Account was the address for Subject Premises-1.
Among other things, the MDC&A Account received ten wire transfers and one check from an
account in the name of Squire Patton Boggs, a law firm. As noted above, Subject Premises-2 is
located inside the New York office of Squire Patton Boggs. In total, from on or about April 5,

2017, to on or about January 2, 2018, the MDC&A Account received $426,097.70 in deposits, and

 

thé balance in the-account-as-of January 2; 2018;-was $344;541.35:As discussed-below,-Gohe
never disclosed any of the balance in the Essential Consultants or MDC&A accounts to Sterling
during the negotiations with respect to the ag transaction or the subsequent loan
refinancing negotiations, including in his May 2017 Financial Statement and September 2017
Financial Statement.

19. Based on my review of emails that were seized pursuant to the Cohen Email
Warrants, and my review of reports of interviews with employees of AT&T and Novartis, it
appears that the aforementioned payments to the Essential Consultants Account and MDC&A
Account were for political consulting work, including consulting for international clients on issues
pending before the Trump administration. Specifically, from my review of emails from the Cohen
Gmail Account, the Cohen MDCPC Account, and public sources, I have learned the following:

a. On or about April 28, 2017, Cohen sent an email to an individual whom I believe
is affiliated with KAI. In the email, Cohen attached a “Consulting Agreement” between KAI and
Essential Consultants dated as of about May 1, 2017. The agreement indicates that Essential
Consultants had the address of Subject Premises-2. The document indicates that Essential
Consultants would render “consulting and advisory services, as requested” by KAI, and that KAI

would pay Essential Consultants “a consulting fee of One Million Two Hundred Thousand

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($1,200,000.00) US Dollars,” disbursed through eight $150,000 installments between May 2017
and December 2017. I have also reviewed invoices in amounts of $150,000 that Cohen emailed
to an individual whom I believe is affiliated with KAI. At the top of the invoices the address listed
for Essential Consultants is the address for Subject Premises-2.

b. On or about May 8, 2017, Cohen sent an email to an individual whom I believe is

affiliated with BTA Bank. The signature block on Cohen’s email listed “Essential Consultants

 

LLC” and “Michael D. Cohen & Associates, PC” and provided-the address for-Subj ect-Premises-_ 2.

2. In the email, Cohen attached a document purporting to be a “Consulting Agreement” between
BTA Bank and Essential Consultants dated as of about May 8, 2017. The agreement indicates that
Essential Consultants had the address of Subject Premises-2. The document indicates that
Essential Consultants would render “consulting and advisory services” to BTA Bank, and that
BTA Bank would pay Essential Consultants “a consulting fee of One Million Eight Hundred
- Thousand ($1,800,000.00) US Dollars,” disbursed through monthly payments of $150,000. On or
about May 10, 2017, Cohen sent an email to an employee of BTA Bank, and attached to the email
an invoice to BTA Bank in the name of Essential Consultants, with the address of Subject Premises-
2. The invoice contemplated a $150,000 payment to Essential Consultants for a “monthly
consulting fee.”

c. On or about January 23, 2017, Cohen appears to have entered into a consulting
agreement with AT&T, which contemplates that Essential Consultants “shall render consulting and
advisory services to [AT&T]’” and that AT&T would “advise [Essential Consultants] of those issues

and matters with respect to which AT&T Services desires [Essential Consultants]’s assistance and
advice.” The agreement indicates that Essential Consultants had the address of Subject Premises-

1. The contract calls for AT&T “to pay the Consultant for his services . .. a consulting fee of Fifty

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Thousand ($50,000) Dollars . . . per month.” Based on my review of reports of interviews with
AT&T employees, I have learned that AT&T retained Cohen to consult on political issues,
including net neutrality, the merger between AT&T and Time Warner, and tax reform.

d. On or about March 1, 2017, Cohen appears to have entered into a contract between
Novartis and Essential Consultants, which provides that Essential Consultants will “provide

consulting and advisory services to Novartis on matters that relate to the repeal and replacement of

 

 

the Affordable Care Act in the US and any~other—issues~mutually~agreeable-to- [Essential Ce

Consultants] and Novartis.” The contract provides for a “consulting fee of One Million Two
Hundred Thousand ($1,200,000) US dollars,” to be paid to Essential Consultants in equal monthly
installments over the course of a year. Based on my review of reports of interviews with Novartis
employees, I have learned that Novartis retained Cohen to provide political consulting services and
to gain access to relevant policymakers in the Trump Administration.

e. In ot about February 2017, Cohen began negotiating the terms of a “strategic
alliance” with Squire Patton Boggs. On or about March 4, 2017, Squire Patton Boggs emailed
Cohen a “strategic alliance agreement.” Under the terms of the agreement, Cohen agreed to
generate business for the law firm, and Squire Patton Boggs agreed to pay to Cohen “an annual
strategic alliance fee of $500,000, payable in twelve (12) equal monthly installments.” Squire
Patton Boggs also agreed to provide Cohen with “dedicated and segregated office space in [Squire
Patton Boggs’s] New York and Washington D.C. offices, which office space shall be physically
separate from [Squire Patton Boggs’s] offices and have locked doors and its own locked file
cabinets.” On or about April 3, 2017, Squire Patton Boggs announced on its website that is had
formed a “strategic alliance” with Michael D. Cohen & Associates and would “jointly represent

clients.”

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20. Despite the significant amount of money that Cohen received into the Essential
Consultants Account and the MDC&A Account, and the cash balance in both accounts, Cohen did
not disclose that information to Sterling or Melrose. Specifically, based on my review of documents
provided by Getzel (as noted above, Cohen’s accountant at the time), my participation in an

interview with Getzel, and my review of notes and LC ]

have learned the following:

 

meeting, Cohen told Getzel, in sum and substance, that he had set up a law practice called Michael
D. Cohen & Associates P.C., and a consulting company called Essential Consultants LLC. Cohen
told Getzel, in sum and substance, that he expected to earn $75,000 per month in connection with
his law practice, and that he expected gross revenues for the consulting business to be between five
and six million dollars annually.

b. In or about October 2017, if not earlier, Getzel was preparing a personal financial
statement for Cohen. On or about October 6, 2017, Getzel sent an email to Cohen in which Getzel
wrote that “[a]ttached is a draft of the new PFS as of September 30, 2017” and attached a draft of
the September 2017 Financial Statement. The draft statement reflected that as of September 30,
2017, Cohen had only $1,250,000 in cash, total assets of approximately $33,430,000 (comprised of
taxi medallion interests, real estate interests, and his personal residence and property), and liabilities
of approximately $45,630,000, leaving him purportedly over $12 million in debt. In the same email,
Getzel questioned Cohen, in sum and substance, about the fact that the financial statement did not
list any value associated with either the Essential Consultants Account or the MDC&A Account:

“fw]e did not add any value for you[r] two operating entities - Michael D. Cohen & Associates

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—~g-~Inv or-about- May 2017,-Getzel-met-with-Cohen-at Subj ect-Premises-2.—At-the

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POC [sic] and Essential Consultants LLC. Please advise whether or not these should be disclosed
and what value.”

c. Onor about October 6, 2017, Cohen called Getzel by telephone—which is reflected
on toll records for Cohen’s cellphone—and told Getzel, in sum and substance, not to include
Essential Consultants or MDC&A in the September 2017 Financial Statement because they had no

value. On or about October 6, 2017, following the call with Getzel, Cohen, using the Cohen

 

Account, responded to Getzel’s email with the answer “[I]ooks-good-to-me.”-Cohennever- directed___...

Getzel to make any changes to his cash position as listed in the September 2017 Financial
Statement. In a letter dated October 6, 2017, addressed to Getzel, Cohen stated, “I have reviewed
the attached statement of financial condition and find it to be correct and consistent with the
representations that I made to your firm. The attached is an accurate reflection of my assets,
liabilities and net worth (deficit) as of September 30, 2017.” Attached to that letter was the
September 2017 Financial Statement, which, as noted above, was then transmitted to Sterling in
connection with the proposed taxi medallion transaction between Sterling, Cohen, and ,

21. Based on my review of a report of an interview with Sterling Employee-1, I have
learned that Cohen did not disclose his income stream from Essential Consultants to Sterling
Employee-1 or, to his knowledge, anyone else at Sterling. According to Sterling Employee-1,
knowledge of such an income stream would have affected Sterling’s demands during the
negotiations, particularly with respect to the amount of a principal paydown of Cohen’s debt.

Cohen Understated His Available Cash

22. In addition to withholding the existence of his Essential Consultants income from

Sterling and Melrose, it appears that Cohen also substantially understated his available cash and

cash equivalents in his financial disclosures. Specifically, I know from my review of the September

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2017 Financial Statement that Cohen provided to Sterling that Cohen represented that he had
$1,250,000 in cash as of September 30, 2017. I also know that on or about January 30, 2018, in a
telephone call with Sterling Employee-3, and on February 1, 2018, in an email to Sterling
Employee-3, Cohen represented that he did not have more than $1,250,000 in cash. But, from my
review of a summary of bank records that were scheduled by forensic accountants, I have learned

that Cohen had approximately $5,000,000 in cash and cash equivalents as of September 30, 2017.

 

Additionally, as of February 1, 2018; Coben -hadapproximately-$6,000,000-in-cash-and. cash

equivalents. Specifically, from my review of the account schedule and bank records, T have learned.
the following:

a. Cohen has three checking and/or savings accounts at Capital One Bank, one of
which is in his wife’s name. As of September 30, 2017, Cohen had $1,105,680.35 in his savings
account, and $1,262,982.29 in total in the three accounts at Capital One Bank. As of February 1,
2018, Cohen had a total of $1,3 89,245.78 in these accounts.

b. Cohen has three accounts at Morgan Stanley in his name. As of September 30,
2017, the combined total in cash and cash equivalents in those three accounts was $1,270,600.41.
As of February 1, 2018, Cohen had $1,284.996.13 in these accounts.

c. As of September 30, 2017, Cohen had $260,689.18 in an account at Signature Bank.
As of February 1, 2018, Cohen had $261,517.55 in this account.

d. In addition to the Essential Consultants Account and MDC&A Account at First
Republic, Cohen also had two joint checking accounts with Laura Cohen at First Republic. In total,
as of September 30, 2017, Cohen had at least $1,876,209.27 in total in his four accounts at First

Republic. As of February 1, 2018, Cohen had $3,332,992.95 in these accounts.

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e. Cohen has an account at Bethpage Credit Union with $25,931.39 in it as of
September 30, 2017.

f As of September 30, 2017, Cohen had $17,542.54 in accounts at Sterling.

g. Cohen has two accounts at TD Bank—one in his name and one held jointly with his
wife. Cohen also has a safety deposit box at TD Bank—Subject Premises-3. The safety deposit

box was opened on December 13, 2017 in the names of Michael and Laura Cohen.

 

at Capital One Bank, City National Bank, Signature Bank, Sterling Bank, Bethpage Credit Union,
First Republic, and Morgan Stanley. As of February 1, 2018, Cohen had $6,268,732.59 in his
accounts at Capital One Bank, City National Bank, Signature Bank, First Republic, and Morgan
Stanley.”

23. Accordingly, based on the foregoing, it appears that Cohen’s written and oral
representations to Sterling and Melrose that he did not have more than $1,250,000 were false, and
that Cohen withheld information regarding approximately $5 million in funds from Sterling and
Melrose in order to secure favorable terms in his renegotiation of his medallion loan. Based on
my participation in an interview with Sterling Employee-2, and my review of reports of interviews
with Sterling Employee-1 and two Melrose employees, it is my understanding that that Sterling
and Melrose would view Cohen’s understating of his assets as material to its decision whether to

renegotiate Cohen’s medallion loans and on what terms, or to its decision whether approve of the
transfer of those loans to |]

19 Based on my review of the account schedules described above, I know that, as of the date of this
affidavit, the account balances for TD Bank have not yet been included in the schedule for either
date and the account balances for Sterling National Bank and Bethpage Credit Union have not yet
been included in the schedule for February 1, 2018. Thus, to the extent that these accounts have
positive balances, Cohen’s total balances in fact were even higher on these dates.

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h-—In-total-as-of September 30;-2017, Cohen had-at least-$4,713,935.08 in his accounts————--—_-»

 
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Cohen Has Unreported Interest Income

24. It appears that Cohen also hid from Sterling interest income that he was receiving in
connection with a six million dollar loan he made to another individual. Specifically, I know from
my review of the May 2017 Financial Statement and September 2017 Financial Statement that
Cohen provided to Sterling that Cohen did not disclose that he had made a note receivable in the
amount of approximately $6 million, or that he was earning approximately $60,000 per month in
~———_—\~initerest income in-connection-withthat-loanBut;-from-my-review of a. summary-of bank records...
that were reviewed by another law enforcement agent, my review of property records and
documents obtained pursuant to the Cohen Email Warrants, and my participation in an interview

with Getzel, I have learned the following:
a. Based on my review of property records, I have learned that on or about March 12,
2012, Cohen agreed to lend a
$2,000,000.7° It appears that the promissory note was unsecured by any real property. On or about
April 28, 2014, Cohen and || amended the promissory note, and restructured the loan to
increase the principal amount to approximately $5,000,000. Under the terms of the amended
promissory note, the loan was secured by (I apartment in Sunny Isles Beach, Florida. On
or about April 8, 2015, Cohen and HM restated the promissory note to increase the principal

amount to $6,000,000.7!

b. Based on my review of a copy of the restated note, which was obtained pursuant to

the Cohen Email Warrants, I have learned that under the terms of the amended and restated

 

® | Jeamed fiom Getzel that (Is

21 The note states that the loan is to ee husband and wife,
jointly and severally. For ease of reference, I refer simply to ° ‘yy cre*.

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promissory note, Cohen’s loan to (Ms an interest-only loan, and that the principal balance
of the loan bears interest at an annual rate of 12.25 percent. I also know that the amended and
restated promissory note includes a schedule of payments that require Po pay Cohen
approximately $61,250 per month beginning in April 2015 and ending in April 2019. The note also
requires thal cpay the principal balance of $6,000,000 on April 28, 2019.
c. Based on my review of bank records, I have learned that, consistent with the terms
+++ of-the--amended-and~—restated—promissory- -note;-[ has—made—monthly-payments— of ——_--.-__---=-
approximately $61,250 since April 2015. Specifically, based on my review of records maintained
by Capital One Bank, I have learned that from April 2015 to October 2015, Cohen received checks

from an entity called 5 totaling $61,250 per month, which he

deposited into his personal bank account at Capital One Bank.” It appears from my review of bank

records and public sources that Mis the owner of ha

From my review of records maintained by Capital One Bank, I have also learned that since October
2015, Cohen has received checks from an entity called pS totaling
$61,250 per month, which he deposited into his personal bank account at Capital One Bank. It

appears from my review of bank records and public sources that yy: also the owner of
DN 1 total, it appears that Cohen receives approximately $735,000 per year

in interest payments from f |

d. Based on my review of Cohen’s May 2017 and September 2017 Financial
Statements, my review of his 2015 and 2016 tax returns obtained via subpoena and from the Cohen

‘Email Warrants, and my participation in an interview with Getzel, I have learned that Cohen did

 

22 Ty April 2015, Cohen received a pro-rated payment. For all months thereafter, the total payment
equaled $61,250, but [Pp fien made the payment in multiple checks.

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not disclose this interest income he was receiving from wie Sterling or Melrose, or list it
on his tax returns. I have also learned that while this interest income is taxable, Cohen did not tell
Getzel—his accountant—about the income, and Getzel only learned about the income because he
began doing (MB axes in 2017.”

25. Accordingly, based on the foregoing, it appears that Cohen’s representations to

Sterling and Melrose that he did not have more than $1,250,000 were false, and that Cohen

 

withheld information relating to the interest income he is receiving from HI) in order-to___—______ _
secure favorable terms in his renegotiation of his medallion loan.
Cohen Had a Side Agreement With ||
26. As set forth in detail below, during the course of Cohen’s negotiations to sell his
interest in taxi medallions and the associated debt to | Cohen not only
misrepresented his financial position to Sterling, but also failed to disclose a side agreement he
had negotiated with I: it appears that pM ereea to pay an above-market price
for Cohen’s taxi cab medallions, and in exchange, Cohen agreed to pay proximately
$3.8 million in cash. Specifically, from my review of documents produced pursuant to a subpoena
by Sterling, and my participation in interviews with Sterling Employee-1, Sterling Employee-2,
and Sterling Employee-3, I have learned, among other things, the following:
a. On or about September 5, 2017, an executed term sheet was circulated by Sterling
Employee-1 to Cohen and | The term sheet listed Cohen’s address as the address for
Subject Premises-1. According to the term sheet, woud borrow $20,000,000

from Sterling and Melrose, to be secured by the medallions that Py was to acquire from

 

23 Accordingly, this interest income—which should have been reported as such on Cohen’s tax
returns—is included herein in calculations of Cohen’s true cash position.

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Cohen. At a price of $20 million for thirty-two taxi medallions, the proposed transaction valued
each medallion as worth $625,000. The term sheet also contemplated a $1,265,913 pay-down of
the principal balance of the loan. The term sheet made no mention of a $3.8 million payment from
Cohen to ME or any other form of payment or financial transaction between the parties.

b. Additionally, an internal Sterling credit memorandum, dated October 4, 2017,

describing the terms of the Cohen- [IH transaction and the new loan to (did

 

not mention any payments from Coherr to  including-a-$3.8-million-payment.— The ——_____ ee

memorandum also noted that the “loan amount of $20MM indicates a $625M purchase price per
medallion” but “it is recognized that this is not in line with current market values.” Indeed,
according to an internal Sterling memorandum dated February 5, 2018, in the month of January
2018, taxi medallions sold for amounts ranging from $120,000 to $372,000. According to Sterling
Employee-1 and Sterling Employee-2, they were never told that cree to a purchase
price of $625,000 in exchange for a lump sum payment from Cohen, or that Cohen would make

any payment to ia

c. On or about January 30, 2018, Sterling Employee-3 asked Cohen whether Cohen
had a side agreement with Py. pay yy: sum of money for entering into the
medallion transaction. Sterling Employee-3 asked Cohen about such an arrangement because,
according to Sterling Employee-3, the price that I was paying for each medallion
appeared to be well above the market price. Cohen stated, in sum and substance, that he had no
side agreement—and never had a side agreement—with [|

27. While Cohen nd did not disclose any payment from Cohen to
Pin communications with Sterling, it appears that such a payment was contemplated.

Indeed, based on my review of records maintained by Getzel, and my participation in an interview

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with Getzel, I have learned the following, in substance and in part, regarding the proposed side
payment from Cohen iii

a. On or about September 19, 2017, Getzel prepared a memorandum for Cohen

entitled, “Sale of NYC Medallion Entities and Debt Assumption” (the “Getzel Memorandum”).

The Getzel Memorandum summarized the proposed transaction between Cohen and P|

in part, as follows: “Michael and Laura Cohen will transfer ownership of their 13 NYC medallion

entities to a Buyer who will assume their bank iridebtedness; upon the [Cohens?}-paying down-the.

debt portfolio of the 13 entities by $500,000 and a cash payment to the Buyer of $3,800,000.”4
b. According to Getzel, Cohen told him the parameters of the deal, including the

payment of $3,800,000 to vu: Getzel did not know where Cohen was going to obtain
$3,800,000 to pay ma As noted above, Cohen had more than $5,000,000 in cash and
cash equivalents as of September 2017, but had only disclosed in his September 2017 Financial
Statement that he had $1.25 million in cash. |

28. Based on my review of records maintained by Sterling (as well as Melrose, the bank
with the participating interest in the loans) and reports of interviews of representatives of Sterling
(and Melrose), I have seen no evidence that Sterling, Melrose, or any other financial institution
involved in the potential deal with Cohen and I xa aware of the planned $3.8 million
side payment from Cohen Js

The Mlegal Campaign Contribution Scheme
29. The USAO and FBI are also investigating a criminal violation of campaign finance

laws by Michael Cohen. As set forth below, there is probable cause to believe that Cohen made

 

24 The reference to thirteen medallions appears to be an error by Getzel. Cohen and his wife
together owned sixteen corporations, which in turn owned 32 taxi medallions.

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an excessive in-kind contribution to the presidential election campaign of then-candidate Donald
Trump in the form of a $130,000 payment to Stephanie Clifford, an individual who was rumored
to have had an extramarital affair with Trump, in exchange for her agreement not to disclose that
alleged affair. As set forth below, there is probable cause to believe that this payment was intended
to keep Clifford from making public statements about the rumored affair on the eve of the 2016

presidential election, and thus constitutes a campaign contribution in excess of the applicable limit.

 

30. From my review of public sources, [have learned-the following:

a. In or around October 2011, there were rumors published on the gossip websites
TheDirty.com that Trump had bad an extramarital affair with Clifford, an adult film actress whose
screen name is Stormy Daniels, in or around July 2006. In or about October 2011, Life & Style
Magazine, a tabloid sold in supermarkets, also published an article, based on the report in
TheDirty.com, alleging an affair had occurred between Trump and Clifford. Both Tramp and
Clifford, through their representatives, issued denials in response to the articles.

b. Specifically, on or about October 11, 2011, Keith Davidson, who identified himself
as Clifford’s attorney, sent a cease and desist letter to TheDirty.com, demanding that the article
regarding Trump and Clifford be removed from the website. Additionally, on or about October
12, 2011, Cohen, who was then Executive Vice-President and Special Counsel to the Trump
Organization, stated to E! News that “ft]he totally untrue and ridiculous story . . . emanated from
a sleazy and disgusting website. ... The Trump Organization and Donald J. Trump will be bringing
a lawsuit .. . [and] Mr. Trump and the Trump Organization would like to thank and commend
Stormy Daniels and her attorneys for their honesty and swift actions.”

31. On or about June 16, 2015, Trump formally launched his 2016 presidential

campaign. On or about May 4, 2016, Trump became the presumptive Republican Party nominee

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for president, and on July 19, 2016, Trump officially became the nominee. Based on my review
of public sources, I have learned that while it does not appear that Cohen had an official title as
part of the Trump campaign, on multiple occasions. Cohen made public statements on behalf of
Trump or his campaign. For instance, on or about August 18, 2016, Cohen appeared on CNN to
defend Trump’s polling numbers.

32,  Onor about October 7, 2016, The Washington Post published online a video and

 

accompanying audio in which Trump referred to women im what the article described-as“‘vulgar——-_—___——.~
terms” in a 2005 conversation with Billy Bush, who was then the host of Access Hollywood. The
following day, on October 8, 2016, Trump appeared in a video in which he stated, among other
things, “I’ve said and done things I regret and words released today on this more than a decade old
video are one of them. Anyone who knows me knows these words don’t reflect who I am. I said
it. I was wrong and I apologize.” Based on my review of public sources, I also know that
representatives of the Trump Campaign stated, in sum and substance, that the Access Hollywood
comment was an old and isolated incident.

33. Based on my review of public sources, including an article published in Slate
magazine by a reporter who interviewed Clifford, I have learned that around this same time, in or
about October 2016, Clifford was in discussions with ABC’s Good Morning America show and
Slate magazine, among other media sources, to provide these media outlets with her statement
about her alleged relationship with Trump. According to the article in Slate, which the author
based on conversations with Clifford over the telephone and by text message, Clifford wanted to
be paid for her story or be paid by Trump not to disclose her accusation. As Cohen summarized

in a 2018 email obtained pursuant to the Cohen Email Warrants: “In October 2016, I was contacted

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by counsel for Ms. Clifford stating that news outlets, including ABC News, were pursuing the 2011
story of an alleged affair between Mr. Trump and Ms. Clifford.”

34. From my review of telephone toll records” and information produced. pursuant to
the iCloud Warrant and Cohen Email Warrants, I have learned that in the days following the Access
Hollywood video, Cohen exchanged a series of calls, text messages, and emails with Keith
Davidson, who was then Clifford’s attorney, David Pecker and Dylan Howard of American Media,
————— ne: (“AMI’), the publisher of the National Enquirer; Trump, and- Hope Hicks; who-was-then-——-——-=---
press secretary for Trump’s presidential campaign. Based on the timing of these calls, and the
content of the text messages and emails, I believe that at least some of these communications
concerned the need to prevent Clifford from going public, particularly in the wake of the Access
Hollywood story. In particular, I have learned the following:

a. On October 8, 2016, at approximately 7:20 p.m., Cohen received a call from Hicks.
Sixteen seconds into the call, Trump joined the call, and the call continued for over four minutes?’

Based on the toll records that the USAO has obtained to date, I believe that this was the first call

 

25 My attribution’ of certain telephone numbers to certain individuals as described in this
affidavit is based on my review of the vCard (virtual contact file) and text messages obtained from
Cohen’s telephone pursuant to the iCloud Warrant. .

26 Pecker is President of AMI and, according to his own statements in public reports, a personal
friend of Trump. Howard is the chief content officer of AMI, who according to public records
reports directly to Pecker.

271 believe that Trump joined the call between Cohen and Hicks based on my review of toll
records. Specifically, I know that a call was initiated between Cohen’s telephone number and
Trump’s telephone number at the same time the records indicate that Cohen was talking to Hicks.
After the Cohen-Trump call was initiated, it lasted the same period of time as the Cohen-Hicks
call. Additionally, the toll records indicate a “-1” and then Trump’s telephone number, which,
based on my training and experience, means that the call was either transferred to Trump, or that
Trump was added to the call as a conference or three-way call participant. In addition, based on
my conversations with an FBI agent who has interviewed Hicks, I have learned that Hicks stated,
in substance, that to the best of her recollection, she did not learn about the allegations made by
Clifford until early November 2016. Hicks was not specifically asked about this three-way call.

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Cohen had received or made to Hicks in at least multiple weeks, and that Cohen and Trump spoke
about once a month prior to this date — specifically, prior to this call on October 8, 2016, Cohen
and Trump had spoken once in May, once in June, once in July, zero times in August, and twice
in September.

b. Approximately ten minutes after the call ended, Hicks and Cohen spoke again for
about two minutes.

c. At 7:39 p.m., immediately after the-second:call-with- Hicks-ended, Cohen.called
David Pecker (as noted above, the President of American Media Inc., or AMI) and they connected
for thirty seconds. Approximately four minutes later, Cohen called Pecker again and they spoke
for more than a minute. Three minutes after ending his call with Pecker, Cohen received a call
from Dylan Howard (as noted above, the Chief Content Officer of AMD), and they spoke for
approximately a minute. According to toll records, it does not appear that Cohen and Howard
spoke regularly prior to October 8, 2016, as it had been over a month since they had called each
other.

d. At7:56 p.m., approximately eight minutes after his call with Howard ended, Cohen
called Hicks and they connected for two minutes. At approximately the same time this call ended,
Cohen received a call from Pecker, and they spoke for about two minutes. At 8:03 p.m., about
three minutes after ending his call with Pecker, Cohen called Trump, and they spoke for nearly
eight minutes.

e. At 8:39 p.m. and 8:57 p.m., Cohen received calls from Howard and spoke to him
for about four and six minutes, respectively. At 9:13 p.m., about ten minutes after Cohen and
Howard hung up from the second of these calls, Howard sent Cohen a text message that said:

“Keith will do it. Let’s reconvene tomorrow.” Based on my involvement in this investigation, I

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believe that when Howard wrote “Keith,” he was referring to Keith Davidson, the attorney for
Stephanie Clifford. At 3:31 a.m., now on October 9, 2016, Cohen sent Howard a text message in
response that said: “Thank you.” Eight minutes later, Cohen sent Howard a text message that said:
“Resolution Consultants LLC. is the name of the entity I formed a week ago. Whenever you wake,
please call my cell.”

f. The following day, on October 10, 2016, at 10:58 a.m., Howard sent a text message

 

‘to Cohen and Davidson, which stated: “Keith/Michael:-connecting-you-both- in-regards.to_that.__

business opportunity. Spoke to the client this AM and they’re confirmed to proceed with the
opportunity. Thanks. Dylan. Over to you two.” At 12:25 p.m., Davidson sent Cohen a text message
that stated: “Michael — if we are ever going to close this deal — In my opinion, it needs to be today.
Keith.” Davidson and Cohen then spoke by phone for about three minutes. Based on my
participation in this investigation, I believe that when Howard wrote that the “client” was
“confirmed to proceed with the opportunity,” he was referring to Clifford’s agreement in principle
to accept money from Cohen in exchange for her agreement not to discuss any prior affair with
then-candidate Trump.”

g. Based on my review of records obtained pursuant to the Cohen Email Warrants, I
know that on or about October 10, 2016, Clifford and Davidson appear to have signed a “side letter
agreement” that stated it was an exhibit to a “confidential settlement agreement and mutual

release” between “Peggy Peterson” and ‘David Dennison.” The purpose of the document,

 

28 As set forth below, AMI was also involved in a payment to model Karen McDougal.
However, because these communications were in close temporal proximity to the events involving
the negotiation of a payment to Clifford, the execution of the agreement with Clifford, and the
payment of money to Clifford, I believe that these communications were related to Clifford.
Additionally, based on my review of public statements by McDougal, I have learned that she
negotiated an agreement with AMI several months prior to these communications between Cohen
and Pecker, Howard, and Davidson.

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according to the agreement, was to define the “true name and identity” of persons named by
pseudonym in “confidential settlement agreement and mutual release.” The side letter agreement
specifies the identity of “Peggy Peterson” to be Clifford, but the space for “Dennison’s” identity
is blank. The agreement also includes a signature page for “Peterson,” “Dennison,” and their
attorneys. The signature page is signed by “Peterson” and his attorney, Davidson, but the

document is unsigned by “Dennison” and his attorney. Based on my involvement in this

 

investigation, I believe that Davidson -senit‘Cobien this-partially-signed~side-letter- agreement” in
order to facilitate the closing of a deal between Davidson’s client and Cohen or his client on
October 10, 2016.

35. It appears that on October 13, 2016, and the days that followed, Cohen took steps
to complete a transaction with Davidson, including attempting to open an account from which
Cohen could transfer funds to Davidson. Specifically, from my review of toll records, information
obtained pursuant to the iCloud Warrant and Cohen Email Warrants, records maintained by First
Republic, as well as my participation in interviews with First Republic employees, I have learned

the following:

a. Onthe morning of October 13, 2016, at 8:54 a.m., Cohen sent Pecker a text message ©

that stated: “I need to talk to you.” At 9:06 am., Pecker sent a text message to Cohen that stated,
“J called please call me back.” The tolls between Cohen and Pecker do not show a telephone call
between 8:54 am. and 9:06 a.m. However, based on my review of text messages, I have learned
that Cohen and Pecker communicate with each other over Signal, which is an encrypted
communications cellphone application that allows users to send encrypted text messages and make

encrypted calls.

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b. At9:23 a.m., Cohen sent an email that stated “call me” to First Republic Employee-
2. The email attached documents from the Secretary of State of Delaware indicating that Cohen
had formed a limited liability company called “Resolution Consultants LLC” on September 30,
2016. As noted above, “Resolution Consultants” is the name of the entity that Cohen had told
Eloward he had formed recently after Howard said Davidson would “do it.” At 10:44 a.m., Cohen

called First Republic Employee-2 and told him, in sum and substance, that he needed an account

 

in the name of “Resolution Consultants” opened immediately, and that he did not-want-an-address —— oo

on the checks written out of the account. Later that day, another employee at First Republic
emailed Cohen account opening paperwork to complete. Cohen returned the account opening
documents partially completed, but failed to provide a copy of his driver's license or passport, and
did not respond to the employee’s question of how he wanted to fund the account. As a result, the
account was never opened.

c. On October 17, 2016, Cohen incorporated Essential Consultants LLC in Delaware.
That same day, he filed paperwork to dissolve Resolution Consultants LLC.

36. Despite these steps taken by Cohen, it appears that the negotiation between Cohen
and Davidson was not progressing sufficiently fast enough for Davidson or his client, Clifford,
and they threatened to go public with Clifford’s allegations just days before the presidential
election. Specifically, based on my review of toll records, information obtained pursuant to the
iCloud Warrant, and public sources, I know the following:

a. According to an article in The Washington Post, which quoted emails sent from
Cohen’s email account hosted by the Trump Organization, on October 17, 2016, Davidson emailed

Cohen and threatened to cancel the aforementioned “settlement agreement” by the end of the day

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if Cohen did not complete the transaction.” According to the article, Davidson sent Cohen a
second email later in the day that stated in part, “Please be advised that my client deems her
settlement agreement canceled and void.” At 4:00 p.m. that day, Cohen called Davidson and they
spoke for over five minutes.

b. Cohen’s 4:00 p.m. call with Davidson and/or Davidson’s threats to cancel the

“settlement agreement” appear to have touched offa flurry of communications about the settlement

 

 

agreement and whether Clifford would go public. Specifically:
i. At 4:43 p.m., Howard sent Cohen a text message that stated: “I’m told

they’re going with DailyMail. Are you aware?” One minute later, Cohen responded: “Call me.”
Based on my involvement in this investigation, 1 understand Howard’s text to mean that he heard
that Clifford was going to take her story of an extramarital affair with Trump to the Daily Mail, a
tabloid newspaper.

ii. At 4:45 p.m., Howard called Cohen and they spoke for over two minutes.
Moments later, Davidson and Cohen spoke for about two minutes.

iii. At 5:03 p.m., Cohen attempted to call Trump, but the call only lasted eight
seconds. This was Cohen’s first call after he spoke with Davidson.

iv. At 5:25 p.m., Cohen texted Howard, stating: “Well???”

Vv. At 6:44 p.m., Howard responded to Cohen’s text, stating: “Not taking my
calls.” Cohen responded one minute later: “You’re kidding. Who are you trying to reach?”

Howard responded one minute later: “The ‘agen’ 2” Based on my involvement in this

 

29 Due to the partially covert nature of the investigation to this date, the USAO has not requested
documents from the Trump Organization or Davidson, and thus does not possess the email
referenced in this article.

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investigation, I understand Howard’s text messages to mean that he attempted to contact Davidson
about the matter involving Clifford, but that Davidson was not taking Howard’s calls.
vi. At 6:49 p.m., Cohen called Howard and they spoke for nearly four minutes.

c. The following day, on October 18, 2016, TheSmokingGun.com, a website that
publishes legal documents and mugshots, published an article called: “Donald Trump and the Porn
Superstar,” which alleged that Trump had an extramarital affair with Clifford. However, the
article noted that Clifford had declined to comment.

37. On or about October 25, 2016, the communications between Cohen, Davidson,
Howard and Pecker picked up again, apparently concerning a transaction involving Clifford.
Specifically, based on my review of toll records, information obtained pursuant to the Cohen Email
Warrants and iCloud Warrant, as well as my review of public sources, Ihave learned the following:

a. On October 25, 2016, at 6:09 p.m., Howard sent Cohen a text message stating:
“Keith calling you urgently. We have to coordinate something on the matter he’s calling you about
or its [sic] could look awfully bad for everyone.” One minute later, Davidson sent Cohen a text
message stating “Call me.” Cohen and Davidson called each other several times over the next half
hour but appear not to have connected. At 6:42 p.m., Cohen and Davidson spoke for about eight
minutes. At 7:11 p.m., they spoke for another two minutes.

b. The next morning, on or about October 26, 2016, at 8:26 a.m., Cohen called Trump
and spoke to him for approximately three minutes. At 8:34 a.m., Cohen called Trump again and
connected for a minute and a half.

c. At approximately 9:04 am.—less than thirty minutes after speaking with Trump-—
Cohen sent two emails to the person who had incorporated Resolution Consultants and Essential

Consultants for him, and stated “can you send me asap the filing receipt” and then, in the second

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email, “for Essential Consultants LLC.” That person responded with the filing receipt two minutes
later at 9:06 a.m. and with the certification of formation 23 minutes later, at 9:27 a.m.

d. Shortly after that, Cohen contacted First Republic Employee-2 and told him, in sum
and substance, that he decided not to open an account in the name of “Resolution Consulting” and
instead would be opening a real estate consulting company in the name of “Essential Consultants.”

Cohen told First Republic Employee-2 that he was at Trump Tower, and wanted to go to a First

Republic branch across the street to open the account, so First Republié Employee-2- called First-——— ——.

Republic Employee-1, a preferred banker at that branch, assist Cohen. At 11:00 a.m., First
Republic Employee-! called Cohen. I know from my participation in an interview with First
Republic Employee-1, that around the time of the call he went to Cohen’s office in Trump Tower—
on the same floor as the Trump Organization—and went through account opening questions,
including know your customer questions, with Cohen. In response to a series of know-your~
customer questions about the purpose of the account—the answers to which First Republic
Employee-1 entered into a form—Cohen stated, in sum and substance, that he was opening
Essential Consultants as a real estate consulting company to collect fees for investment consulting
work, and all of his consulting clients would be domestic individuals based in the United States.
Based on my review of records obtained from First Republic, it appears that this account (the
“Essential Consultants Account”) was created at a time between 11:00 a.m. and 1:00 p.m.

e. At 1:47 p.m., Cohen called Davidson and they spoke for approximately two
minutes. At approximately 1:49 p.m., Davidson emailed Cohen wiring instructions for an attorney
client trust account at City National Bank.

f£. After the Essential Consultants Account was opened on October 26, 2016, Cohen

transferred $131,000 from a home equity line of credit that Cohen had at First Republic to the

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Essential Consultants Account. Following the transfer, at approximately 4:15 p.m. on October 26,
2016, First Republic Employee-2’s assistant emailed Cohen at his Trump Organization email
address to tell him that the funds had been deposited into the Essential Consultants Account.
Cohen forwarded that email to the Cohen Gmail Account and then forwarded it to Davidson.

g. At 6:37 p.m., Cohen asked Pecker by text message, “Can we speak? Important.”

Cohen called Pecker at 6:49 p.m. and connected for thirty seconds. At 6:57 p.m., Cohen sent

 

Howard a text message, stating: “Please call me. Important.” Cohen called Howard at 7:00 p.m

and connected for about thirty seconds. At 7:06 p.m., Cohen called Pecker again and they spoke
for nearly thirteen minutes. At 7:24 p.m., Howard sent a text message to Cohen that: “He said
he’d call me back in 20 minutes. I told him what you are asking for his [sic] reasonable. [ll get
it sorted.” Approximately an hour later, at 8:23 p.m., Howard told Cohen by text message to
“check your Gmail for email from my private account.” In an email sent at 8:23 p.m. by Howard
to Cohen and Davidson, with the subject line “Confirmation,” Howard stated, “Thank you both
for chatting with me earlier. Confirming agreement on: - Executed agreement, hand-signed by
Keith’s client and returned via overnight or same-day FedEx to Michael, - Change of agreement
to reflect the correct LLC, - Transfer of funds on Thursday AM to be held in escrow until receipt
of agreement.” After receiving that email, at approximately 8:27 p.m., Cohen asked Howard by
text message, “Can you and David [Pecker] give me a call.” Howard promptly responded: ‘David
is not around I think. (ll call.” At 8:28 p.m., Howard called Cohen and they spoke for three
minutes.

38. On October 27, 2016, Cohen made a payment to Davidson of $130,000—with the
funds intended for Clifford—for the purpose of securing her ongoing silence with respect to the

allegations that she had an extramarital affair with Trump. Specifically, based on my review of

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toll records, bank records, and information obtained pursuant to the iCloud Warrant and Cohen
Email Warrants, I have learned the following:

a. At 9:47 am., Cohen sent Davidson an email, stating: “Keith, kindly confirm that
the wire received today, October 27, 2016 shall be held by you in your attorney’s trust account
until such time as directed for release by me, in writing. Additionally, please ensure that all
paperwork contains the correct name of Essential Consultants LLC. I thank you in advance for
your assistance and look forward to hearing from you later.”

b. At approximately 10:01 a.m., according to records provided by First Republic
Bank, Cohen completed paperwork to wire $130,000 from the Essential Consultants Account—
which had been funded a day prior from Cohen’s home equity line of credit—to the attorney client
trust account at City National Bank that Davidson had specified in the wiring instructions he sent
to Cohen. The wire transfer was made shortly thereafter.

c. At 10:02 a.m., Davidson responded to Cohen’s email from 9:47 a.m., stating: “T
confirm that I will work in good faith & that no funds shall be disbursed unless & until the plaintiff
personally signs all necessary settlement paperwork, (the form of which will match the prior
agreement). The settlement docs will name the correct corporation, (Essential Consultants LLC).
Plaintiff's signature will be notarized and returned to you via FedEx. Only after you receive FedEx
will I disburse. Fair?”

d. At 10:50 a.m., First Republic Employee-1 sent Cohen an email confirming that the
payment had been sent and providing him with the wire number.

39. On October 28, 2016, and the days that followed, Cohen finalized the transaction
with Davidson. Specifically, based on my review of toll records, information obtained pursuant

to the iCloud Warrant, public sources, and bank records, I know the following:

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a. On October 28, 2016, at 11:48 a.m., Cohen spoke to Trump for approximately five
minutes. Beginning at 1:21 p.m., Cohen attempted a series of phone calls to Davidson, Pecker,
and Howard throughout the day, although it appears he may only have connected with Howard.

b. Later that day, at approximately 7:01 p.m., Davidson stated to Cohen by text
message that “all is AOK. I should have signed, notarized docs on Monday. You should have

them on Tuesday.” Cohen thanked him and said “I hope we are good.” Davidson responded, “I

 

assure you. We are very good.” Howard also texted Cohen at 7:08 p.m., “Keith [Davidson] says

we are good.” Cohen then responded “OK” to Howard and “Excellent” to Davidson. At
approximately 10:30 p.m., Cohen spoke to Hicks for three minutes.

c. On October 31, 2016, Cohen called Howard at 8:22 p.m. and they spoke for over
three minutes. At 8:32 p.m., Cohen received text messages from both Howard and Davidson.
Howard said: “You'll have paperwork tomorrow says KD.” Davidson said: “We are AOK. You
will be receiving a package tomorrow.” Cohen responded “Thank you” to Howard and “Thanks
Keith. Will call you then” to Davidson. From my involvement in this investigation, I believe
Davidson was referring to a signed nondisclosure agreement when he told Cohen that he would
receive a package.

d. Based on my review of court filings that became public in 2018, I have learned that
on or about October 28, 2016, “EC, LLC and/or David Dennison” entered into a “confidential
settlement agreement and mutual release” with “Peggy Peterson,” pursuant to which “Peterson”
agreed not to disclose certain “confidential information pertaining to [Dennison]” in exchange for
$130,000. The agreement provided that “EC, LLC” would wire the funds to “Peterson’s” attorney,

who would then transfer funds to “Peterson.” Cohen signed the agreement on behalf of “EC,

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LLC.” The agreement stated that the address for “EC, LLC,” which was later referred to in the
agreement as “Essential Consultants, LLC,” was Cohen’s residence.

e. Consistent with the “confidential settlement agreement and mutual release,” on or
about November 1, 2016, Davidson transferred $96,645 from his attorney client trust account at
City National Bank to a bank account in Clifford’s name. The wire had the annotation “net

settlement.” On the same day, at approximately 9:48 a.m. Davidson sent Cohen a text message

 

with a picture of a FedEx delivery confirmation, stating that at approximately 9:09 a.m. a package
shipped by Davidson the previous day had arrived for Cohen at his Trump Organization
address. On the same day, at approximately 6:14 p.m., Davidson sent Cohen an email with an
audio file attached and said “Give this a lesson [sic] and then call me.” The audio attachment was
titled “Stormy.mp3” and was a five-minute recording of Davidson interviewing Clifford about
recent public allegations made by an adult film star named Jessica Drake regarding her alleged
past affair with Trump; in the recording, Clifford explained the reasons she believed that Drake
was not credible. Less than an hour later, at approximately 7:05 p.m., Cohen called Trump, but it
appears that they did not connect. Cohen then called a telephone number belonging to Kellyanne
Conway, who at the time was Trump’s campaign manager. They did not connect. At
approximately 7:44 p.m., however, Cohen received a return call from Conway, which lasted for
approximately six minutes.

40. On November 4, 2016, just three days after the Clifford transaction was completed
and just four days before the presidential election, the Wall Street Journal published an article
alleging that the National Enquirer had “Shielded Donald Trump” from allegations by Playboy
model Karen McDougal that she and Trump had an affair. The article alleged that AMI had agreed

to pay McDougal to bury her story. McDougal, like Clifford, had been represented by Davidson.

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Based on my review of toll records, information obtained pursuant to the Cohen Email Warrants
and iCloud Warrant, and public sources, it appears that Cohen spoke frequently to Davidson,
Howard, Pecker, and Hicks around the time of this article’s publication—just days before Election
Day—about the importance of preventing the McDougal and Clifford stories from gaining national
traction. Specifically, I have learned the following:

a. Between 4:30 and 8:00 p.m. on November 4, Cohen communicated several times

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with Howard, Peckér and Davidson. For instance, at approximately 4:49 p.m., Cohen sent Howard
a text message with a screenshot of an email forwarded to him by another Trump Organization
lawyer. The forwarded email was from a Wall Street Journal reporter, and asked for comment
from Trump and/or the campaign on the story. Cohen also spoke with Hicks several times,
including shortly before and/or after calls with Pecker, Howard and Davidson. Indeed, at
approximately 7:33 p.m., using two different cellphones subscribed to him, Cohen appears to have
been talking to Davidson and Hicks at the same time.

b. At approximately 8:51 p.m., Cohen sent Howard a message, stating: “She’s being
really difficult with giving Keith a statement. Basically went into hiding and unreachable.” One
minute later, Howard responded: “I'll ask him again. We just need her to disappear.” Cohen
responded, “She definitely disappeared but refuses to give a statement and Keith cannot push her.”
At approximately 8:55 p.m., Howard responded to Cohen’s text: “Let’s let the dust settle. We don’t
want to push her over the edge. She’s on side at present and we have a solid position and a plausible
position that she is rightfully employed as a columnist.” Based on my involvement in this
investigation, I believe Cohen and Howard were referring to Karen McDougal when they were

discussing “she” and “her.” Additionally, I believe Howard’s statement that “we have... a

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plausible position that she is rightfully employed as a columnist” was a reference to the fact that
AML had given McDougal payments for her role as a purported columnist for the company.

c. At approximately 8:58 p.m. on November 4, 2016, Howard attempted to reassure
Cohen about the effect of the forthcoming Wall Street Journal article, texting, “I think it’Il be ok
pal. I think it’ll fade into the distance.” Cohen responded, “He’s pissed.” Howard wrote back,
“Ym pissed! You're pissed. Pecker is pissed. Keith is pissed. Not much we can do.” Based on
my involvement in this investigation, I believe Cohen was referring to Trump when he stated “he’s
pissed.” Cohen asked Howard at approximately 9:00 p.m. how the Wall Street Journal could
publish its article if “everyone denies.” Howard responded, “Because there is the payment from
AML. It looks suspicious at best.”

d. At approximately 9:03 p.m., Hicks called Cohen and they spoke for two minutes.
At approximately 9:11 p.m., Cohen called Howard and spoke to him for five minutes. At
approximately 9:15 p.m., Hicks called Cohen and they spoke for nearly seven minutes. Again,
Cohen used different phones for these two calls, such that he appears to have been on both calls
for about a minute of overlap. At approximately 9:32 p.m., Cohen texted Pecker, “The boss just
tried calling you. Are you free?” A minute later, Cohen texted Howard, “Is there a way to find
David quickly?”

e. At approximately 9:50 p.m., the Wall Street Journal article was published online.
Howard and Hicks both sent web links for the article to Cohen. Over the next half hour, Cohen
and Howard exchanged several text messages commenting on how the story came across. The next
morning on November 5, 2016, at approximately 7:35 a.m., Cohen texted Hicks, “So far I see only
6 stories. Getting little to no traction.” Hicks responded, “Same. Keep praying! It’s working!”

Cohen wrote back, “Even CNN not talking about it. No one believes it and if necessary, I have a

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statement by Storm denying everything and contradicting the other porn stars statement. I wouldn’t
use it now or even discuss with him as no one is talking about this or cares!” Based on my
involvement in this investigation, I believe Cohen was referring to the above-referenced recorded
audio statement by Clifford that he obtained from Davidson, and was stating that such a statement
could be used to influence potential negative media relating to Trump, but was unnecessary at that

time. Based on a text message from Hicks to Cohen, I believe that later that morning, Pecker

 

spoke to Trump.

41. Onor about November 8, 2016, Trump won the election for President of the United
States.

42. On or about January 12, 2018, the Wall Street Journal first reported that Cohen
arranged a payment to Clifford, On or about January 22, 2018, Common Cause, a government
watchdog group, filed a complaint with the Federal Election Commission, alleging that Cohen had
violated campaign finance laws by making the payment to Clifford. Based on my review public
sources following that report, as well as emails obtained pursuant to the Cohen Email Warrants, I
have learned the following:

a. On or about January 23, 2018, the day after Common Cause filed its complaint,
Cohen began emailing himself drafts of statements describing his payment to Clifford.
Additionally, on January 23, 2018, Cohen emailed the following draft of that statement to an
individual who appears to be writing a book on Cohen’s behalf:
In October 2016, I was contacted by counsel for Ms. Clifford stating that
news outlets, including ABC news, were pursuing the 2011 story of an
alleged affair between Mr. Trump and Ms. Clifford. Despite the fact that
both parties had already denied the allegation, as Mr. Trump’s longtime
special counsel and protector, I took it upon myself to match the offer and
keep the story from breaking. \ knew the allegation to be false, but J am

also a realist who understands that just because something is false doesn’t
mean that it doesn’t create harm and damage. I could not allow this to

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occur. I negotiated a non-disclosure agreement with Ms. Clifford’s
counsel and tendered the funds. I did this through my Delaware LLC and
transferred personal funds to cover the agreement. I was not reimbursed
any monies from Mr. Trump, the Trump Organization, any third party or
the Presidential campaign. At no point did I ever advise Mr. Trump of my
communications or actions regarding this agreement. As outlandish and
unusual as this may appear, the Trumps have been like family to me for
over a decade. It’s what you do for family.
(Emphasis added.) Based on my involvement in this investigation, I believe that the above email
is an acknowledgement that the allegation of the affair had existed for some time (“...the 2011
story...”), but that Cohen was motivated to “keep the story from breaking” again in October 2016.
b. On or about February 13, 2018, Cohen said in a statement to The New York Times
that “Neither the Trump Organization nor the Trump campaign was a party to the transaction with
Ms. Clifford. The payment to Ms. Clifford was lawful, and was not a campaign contribution or a
campaign expenditure by anyone.” Cohen declined to answer follow-up questions including
whether Trump had been aware of the payment, why Cohen made the payment, or whether similar
payments had been made to other people.
c. On or about February 14, 2018, Cohen was asked by Zhe New York Times whether
Trump had reimbursed him, whether he and Trump had made any arrangement at the time of the
payment, or whether he had made payments to other women. Cohen stated in response, “I can’t
get into any of that.” On or about February 14, 2018, Cohen also stated to The Washington Post
that: “In a private transaction in 2016, I used my own personal funds to facilitate a payment of
$130,000 to Ms. Stephanie Clifford. Neither the Trump Organization nor the Trump campaign
was a party to the transaction with Ms. Clifford, and neither reimbursed me for the payment, either
directly or indirectly.”

43.  Onor about March 9, 2018, Cohen stated to ABC News that “the funds were taken

from my home equity line and transferred internally to my LLC account in the same bank.”

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44. Accordingly, for the foregoing reasons, there is probable cause to believe that
Cohen commnitted violations of the Campaign Finance Offenses by making an in-kind contribution
to Trump or the Trump campaign in the form of a $130,000 payment to Clifford on the eve of the
election. Indeed, while he denies having given an unlawful contribution, in his own statements
Cohen has admitted that he paid $130,000 of his “personal funds” to Clifford and that the payment

occurred less than two weeks before the election, as Trump was facing negative media allegations

 

about his behavior toward women, even though allegations of “an affair between-Trump-and-

Clifford existed since 2011. In addition, the communication records set forth above make evident
that Cohen communicated with members of the Trump campaign about his negotiation with
Clifford’s attorney and the need to preclude Clifford from making a statement that would have
reflected negatively on the candidate in advance of the forthcoming election.

C. Probable Cause Justifying Search of the Subject Premises and Subject Devices

45. Based on the foregoing, my review of records produced pursuant to subpoenas and
the Cohen Email Warrants, and the iCloud Warrant, and my training and experience, there is
probable cause to believe that the Subject Premises and Subject Devices have been used in
furtherance of the Subject Offenses and are likely to contain instrumentalities, evidence, and fruits
of the Subject Offenses. Specifically, there is probable cause to believe that Cohen permanently
resides at Subject Premises-1 and, at least in part, works at both Subject Premises-1 and Subject
Premises-2, and that those locations contain evidence relating to the Sterling taxi medallion
transaction, Cohen’s assets, Cohen’s consulting work for Essential Consultants LLC, and his
payment to Clifford. Additionally, there is probable cause to believe that Subject Premises-3
contains evidence of Cohen’s assets and his payment to Clifford. Finally, there is probable cause

to believe that Subject Premises-4, in which Cohen is temporarily residing, contains electronic

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devices, including Subject Device-1 and Subject Device-2, which, in turn, contain evidence of the
Subject Offenses, such as evidence relating to the Sterling taxi medallion transaction, Cohen’s
assets, Cohen’s consulting work for Essential Consultants LLC, and his payment to Clifford.

46. First, there is probable cause to believe that Cohen lives and operates his businesses,
at least in part, at Subject Premises-1. Specifically, from my review of property records, I know

that Michael Cohen and Laura Cohen own (in trust) Subject Premises-1. From my review of

 

Cohen’s tax returns, I know he lists his primary residence-as Subj éct-Premises-1—A dditionally,____.

from my review of emails produced pursuant to the Cohen Email Warrants, I know that Cohen
routinely refers to Subject Premises-1 as his home. For example, on or about September 28, 2017
and October 6, 2017, Cohen emailed individuals that his home address is the address for Subject
Premises-1. I also know from my review of emails that Cohen receives package delivery
notifications that list Cohen’s address as the address for Subject Premises-1. Cohen has also
provided the address of Subject Premises-1 as the address for Essential Consultants and Michael
D. Cohen & Associates, P.C. For example, the certificates of incorporation and account opening
documents at First Republic for both entities list their addresses as the address for Subject
Premises-1. See supra {f 18(b), 18(d). The consulting agreement between Essential Consultants
and AT&T also indicated the address for Essential Consultants is the address for Subject Premises-
1. See supra { 19(c).

47, There is also probable cause to believe that Subject Premises-1 is likely to contain
instrumentalities, evidence, and fruits of the Subject Offenses. Specifically, from my review of
emails produced pursuant to subpoena and the Cohen Email Warrants and iCloud Warrant, as well

as my training and experience, I know the following:

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a. According to records maintained by Sterling, the address for all of Cohen’s taxi
medallion LLCs is the address for Subject Premises-1. See supra 4 16(c). Additionally, the
medallion loan documents indicate that any mailings related to the loans should be sent to Subject
Premises-1. See id. Based on my training and experience, as well as my review of public sources,
I know that individuals keep records of properties and assets in which they have ownership

interests. Accordingly, I submit that Subject Premises-1 likely contains evidence of Cohen’s

 

ownership of the taxi medallion LLCs; the-revenue-that-those-medallions~generate,- and..the=-—-_____...

transaction with Sterling in 2014 to re-finance the medallion loans that were then with Capital One
Bank.

b. From my review of records maintained by Sterling, I also know that Sterling
addressed documents relating to the I transaction and Cohen’s attempts to modify the
terms of the medallion loans to Subject Premises-1. For instance, Sterling addressed the
transaction term sheet, see supra 4 16(1), and its demand letter and notice of default, see supra |
16(q), to Subject Premises-1. Accordingly, Subject Premises-1 likely contains evidence
concerning the HP sensaction and Cohen’s negotiations with Sterling. Some of those
records—such as records relating to a payment from Cohen to We concealed from
Sterling and cannot be obtained via subpoena to Sterling. Additionally, even where documents
were sent to Cohen by Sterling (and therefore are available from Sterling via subpoena), the fact
that they may be found in Subject Premises-1 will be relevant to Cohen’s possession or knowledge
of the documents.

c. From my review of records maintained by First Republic, I know that Cohen
provided the address for Subject Premises-1 as the mailing addresses for the Essential Consultants

Account and MDC&A Account. See supra F{ 18(b), 18(e). Accordingly, it is likely that Subject

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Premises-1 contains records relating to the Essential Consultants Account and MDC&A Account,
including, among other things, account opening documents, bank statements, documents provided
as part of the know-your-customer process, any notes made by Cohen when he was opening the
accounts, wire transfer records, and canceled checks. Even where these records can be obtained
from First Republic, the fact that they may be found in Subject Premises-1 will be relevant to,

among other things, Cohen’s ownership of the accounts, or his knowledge of transactions or the

 

existence of funds in accounts.

d. Based on my review of records maintained by Capital One Bank, TD Bank, Morgan
Stanley, City National Bank, Signature Bank, and Bethpage Credit Union, I know that Cohen
provided the address for Subject Premises-1 as the mailing for his accounts at each of these
financial institutions. Accordingly, it is likely that Subject Premises-1 contains records relating to
these accounts, including, among other things, bank statements that list account balances. The
existence of these records in Subject Premises-1 will be relevant to, among other things, Cohen’s
ownership of the accounts and his knowledge of the balances in these accounts.

e. Additionally, Cohen may have records of other bank accounts or assets that were
not disclosed to Sterling and are not presently known by law enforcement. For example, as
described above, Cohen has received interest income since 2015 that he has not disclosed to
_ Sterling or paid taxes on. Also, on Cohen’s August 2014 Financial Statement, see supra q 16(e),
he disclosed $10,000,000 in “investments in overseas entities.°2° The value of these investments
was omitted from subsequent financial statements. However, for the reasons outlined above, there

is probable cause to believe that Cohen omitted the value of those investments from his 2017

 

30 Based on my participation in an interview with Sterling Employee-3, I have learned that
Cohen told Sterling Employee-3 that the reference to “investments in overseas entities” on his
2014 Financial Statement was to serve merely as a “placeholder” for potential future investments.

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financial statements in order to understate his assets. As Subject Premises-1 is Cohen’s primary

residence and he uses Subject Premises-1 as the mailing address for bank records, there is probable

- cause to believe that account statements for unknown bank accounts or assets concealed from
Sterling are likely to be found in Subject Premises-1.

f. Based on my review of records maintained by AT&T and produced pursuant to the

Cohen Email Warrants, I know that the address Cohen provided to AT&T for Essential Consultants

 

| is the address for Subject Premises-1. See supra J 19(c). Therefore; there is probable-cause-to-—---__---
believe that Subject Premises-1 will contain evidence concerning the operation of Essential
Consultants or money that Cohen received, through Essential Consultants, from AT&T.
Additionally, because Cohen used the address for Subject Premises-1 for at least one consulting
arrangement involving Essential Consultants, there is probable cause to believe that Subject
Premises-1 may contain records of other consulting arrangements that Cohen, through Essential
Consultants, has with other individuals or entities.

g. Based on my review of records maintained by Getzel’s accounting firm, and emails
produced pursuant to the Cohen Email Warrants, I have learned that Getzel’s accounting firm sent
documents to Subject Premises-1 and used the address for Subject Premises-1 as the address listed
on Cohen’s personal and corporate tax returns. See supra { 16(n). For instance, on ot about
October 6, 2017, an employee at Getzel’s accounting firm emailed Cohen that she had sent
Cohen’s September 2017 Financial Statement by FedEx to Cohen’s attention. Accordingly,
Cohen’s tax records are likely to be found in Subject Premises-1.

h. Based on my review of bank records and publicly-available documents, I know that
Cohen used $130,000 from a home equity line of credit on Subject Premises-1 to pay Clifford. I

also know that on the settlement and nondisclosure agreement between “Peggy Peterson” and “EC,

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LLC,” the address for Essential Consultants is Subject Premises-1. Accordingly, Subject
Premises-1 is likely to contain evidence of the Campaign Finance Offenses, including settlement
and nondisclosure agreements, payment records, written and email correspondence, and records
pertaining to the home equity line of credit.

i. Based on my review of emails produced pursuant to the Cohen Email Warrants and

iCloud Warrant, I know that Cohen used at least one Apple iPhone, an Apple iPad Mini, and a

 

MacBook Pro to access his iCloud account. Based on my review of location records-provided-by—

Apple pursuant to the iCloud Warrant, { know that electronic devices linked to Cohen’s iCloud
account were used at Subject Premises-1 to, among other things, place telephone calls and backup
files to Cohen’s iCloud account. Accordingly, there is probable cause to believe that Subject
Premises-1 contains electronic devices, including certain Apple products, that for reasons
discussed below are likely to contain evidence of the Subject Offenses.

j. Based on my review of emails produced pursuant to the Cohen Email Warrants, I
understand that Subject Premises-1 recently sustained water damage to certain parts of the
premises, and that Cohen has engaged contractors to perform certain remediation work on the
premises. In addition, as set forth above, I believe that Cohen and his family are temporarily
residing at Subject Premises-4 in the Loew’s Regency Hotel, which is approximately two blocks
from Subject Premises-1. However, based on my review of a work order sent to Cohen’s email
by a contractor, I understand that the first phase of the work order called for the contractor to “Pack
& Remove all items & furnishings in Living Room, Kitchen, Sons Room & Dining Room” and
store them off-site. In addition, based on my review of drawings sent to Cohen by the contractor,
it appears that the work is primarily being done in these rooms. Thus, I believe that the

construction — to the extent it is still ongoing — would not necessarily have caused Cohen to move

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all documents or evidence responsive to the warrant out of Subject Premises-1, because it does not
appear that work is being done to the portion of Subject Premises-1, such as a home office or
Cohen’s own room, where such documents or evidence would most likely be found?!

48. Second, there is probable cause to believe that Cohen uses Subject Premises-2 as
office space, and also that Subject Premises-2 contains certain electronic devices. Specifically,

from my review of the “strategic alliance agreement” between Squire Patton Boggs and Cohen,

 

and my review of the press réleasé on Squire Patton Boggs’ s website; T know that Cohen has-aa———--—

office at Subject Premises-2. See supra {J 18(d), 19(c). Indeed, I have learned that pursuant to
Cohen’s agreement with the law firm, he has “dedicated and segregated office space” in Squire
Patton Boggs’s offices on the 23rd floor of 30 Rockefeller Plaza, and that the space is “physically
separate” from the firm’s offices and has “locked doors and its own locked file cabinets.” See
supra {| 19(e). Additionally, I know that under the terms of the agreement, Cohen agreed to
“arrange for [his] own computer server system that is not connected to [Squire Patton Boggs’s]
computer network system.” I know from my participation in an interview with Getzel, who met
Cohen at Subject Premises-2 in 2017, that Subject Premises-2 is an office with a door, it appears
to be used only by Cohen, and it contains, among other things, a computer and paper files.
According to Getzel, when Getzel saw Cohen at Subject Premises-2, he had two cellular
telephones in Subject Premises-2. I also know from my review of emails produced pursuant to the

Cohen Email Warrants that Cohen uses the address for Subject Premises-2 in the signature block

 

31 As noted below, based on my training and experience, I believe that individuals who travel or
stay in hotels for short-term periods commonly bring some items with them, such as portable
electronic devices or sensitive items, meaning that Cohen has likely taken some evidence from
Subject Premises-1 to Subject Premises-4. Nevertheless, given the temporary nature of Cohen’s
stay at Subject Premises-4 and the scope of the work being done at Subject Premises-1, I believe
it is unlikely that Cohen has taken all evidence that would be subject to seizure out of Subject
Premises-1.

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on his emails. Based on my review of notes of a call between Cohen and First Republic Employee-
2 (which notes were taken by another First Republic employee, who was participating in the call
and taking notes), I know that, on or about November 15, 2017, Cohen told First Republic
Employee-2 that he had a new office at 30 Rock. Moreover, I know from an article in Vanity Fair
published on or about February 14, 2018, that Cohen was interviewed by the magazine in Subject
Premises-2 in or about February 2018.

49, There is
instrumentalities, evidence, and fruits of the Subject Offenses. Specifically, from my review of
emails produced pursuant to subpoena and the Cohen Email Warrants and iCloud Warrant, as well
as my training and experience, I know the following:

a. According to records maintained by Sterling, when Cohen was emailing with
Sterling Employee-3 in 2018 about a modification to his existing loan from Sterling, Cohen listed
his address in his email as the address for Subject Premises-2. See supra | 16(t), 16(u).
Accordingly, Subject Premises-2 likely contains evidence concerning Cohen’s loan modification
negotiations with Sterling.

b. Based on my review of records obtained pursuant to the Cohen Email Warrants, I
know that the address Cohen provided to KAI and BTA for Essential Consultants is the address
for Subject Premises-2. See supra Ff 19(a), 19(b). Therefore, there is probable cause to believe
that Subject Premises-2 will contain evidence concerning the operation of Essential Consultants
or money that Cohen received, through Essential Consultants, from KAI and BTA, among other
entities with which Cohen had a consulting arrangement. Additionally, based on my review of
emails sent in 2018 that were obtained pursuant to the Cohen Email Warrants, I know that Cohen

continues to enter into consulting arrangements through Essential Consultants, and agreements

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‘also probable catise to believe that Subject Premises=2 is likely to-contain-————

 
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relating to those arrangements indicate that Essential Consultants is located at Subject Premises-
2. Additionally, because Cohen used the address for Subject Premises-2 for multiple consulting
arrangements involving Essential Consultants, there is probable cause to believe that Subject
Premises-2 may contain records of other unknown consulting arrangements that Cohen has with
other individuals or entities.

c. Based on my review of records maintained by Getzel’s accounting firm, and emails

 

produced pursuant to the Cohen Email Warrants, as well as my participation in an interview-with————— —

Getzel, I have learned that Getzel visited Subject Premises-2 to meet with Cohen about his taxes.
See supra § 20(a). At that meeting, Getzel discussed with Cohen whether Cohen should disclose
Essential Consultants on his personal financial statement to banks. According, there is probable
cause to believe that Subject Premises-2 will contain evidence relating to Cohen’s taxes, or notes
of his conversation with Getzel. Moreover, the fact that Cohen used Subject Premises-2 for a
meeting regarding his personal financial matters provides probable cause to believe that documents
and information regarding his finances will be found in Subject Premises-2.

d. Based on my participation in an interview with Getzel, I know that Cohen maintains
a computer in Subject Premises-2. From my review of IP data produced pursuant to a subpoena
and pen register to Google, it appears that Cohen is logging into his Gmail account from Subject
Premises-2. Accordingly, there is probable cause to believe that Subject Premises-2 contains
electronic devices, that for reasons discussed below are likely to contain evidence of the Subject
Offenses.

e. Based upon my training and experience, I have learned that individuals who
maintain businesses typically keep records relating to the business—such as contracts with clients

and records of payments—at the business’ identified location. 1 am not aware of any addresses

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associated with Essential Consultants other than Subject Premises-1 and Subject Premises-2.
Accordingly, there is probable cause to believe that Subject Premises-1 and Subject Premises-2
will contain business records for Essential Consultants.

50. Third, there is probable cause to believe that Subject Premises-3 is likely to contain
instrumentalities, evidence, and fruits of the Subject Offenses. In particular:

a. As noted above, Cohen has two bank accounts at TD Bank. In or about November

 

2017, as Cohen was receiving substantial income from consulting work—which he did not disclose
to Sterling—Cohen opened the safety deposit box at TD Bank, which is Subject Premises-3. In
light of the aforementioned evidence that Cohen conceals assets, including assets at TD Bank,
there is probable cause to believe that Subject Premises-3 contains financial assets, objects of value
and/or documents relating to such assets or objects of value that Cohen likely did not disclose to
Sterling. Indeed, based on my training and experience, I am aware that people often conceal
valuable items in safety deposit boxes. Accordingly, there is probable cause to believe that Subject
Premises-3 will contain evidence of the Bank Fraud Offenses.

b. In addition, based on my review of records produced by TD Bank, I know that
Cohen has accessed the vault in which Subject Premises-3 is stored on two occasions. The first
such occasion was on November 10, 2017. Cohen signed into the vault at approximately 5:35 and
out of vault at approximately 5:39 on that date.** Based on my review of toll records, I know that
Cohen’s first call after he signed out of the safety deposit box — approximately 45 minutes later —
was to Keith Davidson. Specifically, at 6:25 p.m. Cohen called Davidson and they spoke for less

than a minute; three minutes later, Davidson called Cohen back and they spoke for approximately

 

32 The entry in the bank’s log book does not specify whether this is A.M. or P.M. However, I infer
that it is P.M., because it is unlikely that the bank would have been open at 5:35 and 5:39 a.m.

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22 minutes. The second such occasion was on February 2, 2018, which is during the time period
numerous media reports about Cohen’s payment to Clifford were being published, and is one day
after it appears that Cohen’s family moved into Subject Premises-4, as set forth above. The timing
of Cohen’s two visits to the vault — one shortly before a call to Keith Davidson and the other around
the time that Cohen came under media scrutiny in connection with the payment to Davidson’s

client — gives rise to probable cause to believe that Subject Premises-3 will contain evidence of the

 

Campaign Finance Offenses, such as documents relevant to the~ Cohen’s dealing with Keit
Davidson and the payment to Clifford, including documents or evidence that Cohen did not want
to leave in his apartment where construction workers would be present.”

51. Based on my review of emails obtained pursuant to the Cohen Email Warrants and
cell phone location information, I believe that Cohen is temporarily residing in Subject Premises-
4, See supra Tf 3(d). There is also probable cause to believe that Subject Premises-4 contains
instrumentalities and evidence of the Subject Offenses, including, the following:

a. As described above, it appears that Cohen moved to Subject Premises-4 on or about
February 1, 2018, at which time numerous media reports about Cohen’s involvement in the
payment to Clifford were being published. See supra J§ 3(d). During this time same period,
Cohen was frequently corresponding with the media and sent himself and others statements about
his involvement in the payment to Clifford. See supra {ff 42(a)-(c). Thus, there is probable cause
that Cohen took at least some documents and evidence relating to the Clifford payment with him

to Subject Premises-4, in order to reference and consult them in connection with these statements.

 

33 As noted above, Subject Premises-3 is approximately five inches by ten inches. Accordingly, I
do not believe that it would fit a large volume of hard copy documents; however, a small number
of hard-copy documents, or a large volume of documents contained on a flash drive or other
portable storage device, would fit in Subject Premises-3.

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b. As described above, at the time Cohen moved to Subject Premises-4, he was also
in the midst of ongoing negotiations with Sterling regarding the refinancing of his medallion debts.
For example, on January 30, 2018, Cohen had a lengthy phone call with Sterling Employee-3 about
his finances and the proposed restructuring, and on February 1, 2018, Cohen sent an email to
Sterling Employee-3 claiming that he did not have more than $1.25 million in cash. See supra {f]

16(u). Thus, there is probable cause that Cohen took at least some documents and evidence relating

 

to his ongoing negotiations with Sterling with him to Subject Premises-4, in order to relerence and
consult them in connection with these negotiations.

c. As described above, Cohen used at least one Apple iPhone, an Apple iPad Mini,
and a MacBook Pro to access his iCloud account, and these electronic devices linked to Cohen’s
iCloud account were used at Subject Premises-1 — Cohens’ permanent residence — to place
telephone calls and backup files to Cohen’s iCloud account. See supra Jf 47(i). Although Cohen’s
stay at Subject Premises-4 is temporary, based on my training and experience I know that
individuals who travel or stay in hotels for short-term periods commonly bring portable electronic
devices with them, such as cellular phones, tablets, or laptops. Accordingly, there is probable
cause to believe that Subject Premises-4, where Cohen currently appears to be residing, contains
electronic devices, including Subject Device-1, Subject Device-2, and/or certain Apple products,
that for the reasons discussed herein are likely to contain evidence of the Subject Offenses.

d. Moreover, as set forth above, based on cellphone location information I know that
Subject Device-1 and Subject Device-2 were in the vicinity of Subject Premises-4 as recently as
this morning (April 8, 2018). As set forth above, there is probable cause to believe that Cohen
used the Subject Devices in furtherance of the Subject Offenses, including to communicate with

Sterling employees regarding the medallion transaction, with First Republic employees regarding

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the Essential Consultants Account, with his accountant regarding his finances, and with
individuals, such as Davidson, Howard and Pecker, involved in the $130,000 payment to Clifford.

52. Although Cohen appears to be residing currently in Subject Premises-4, it is
unknown whether Cohen will be physically present within Subject Premises-4 at the moment the
warrant sought herein are executed. If Cohen is within Subject Premises-4 at that moment, Subject

Device-1 and Subject Device-2 — his cellphones — will likely also be within Subject Premises-4.

 

 

If Cohen is not within Subject Premises-4 at that moment, the devices will likely be orrhis person;-—--—~

wherever he is located (which, based on location data for Subject Device-1 and Subject Device-2
as recently as today, is likely to be in the Souther District of New York). As such, this warrant
seeks separate authority to seize Subject Device-1 and Subject Device-2, in the event that those
devices are not located within Subj ect Premises-4 (or another Subject Premises) at the moment the
warrants sought herein are executed.

D. Probable Cause Justifying Search of ESI

53. Based on the foregoing, there is probable cause to believe that Subject Premises-1,
Subject Premises-2 and Subject Premises-4 contain electronic devices that are likely to contain
evidence, fruits, and instrumentalities of the Subject Offenses (and, as set forth above, that Subject
Device-1. and Subject Device-2 are themselves electronic devices that are likely to contain
evidence of the Subject Offenses). Specifically, based on my review of information produced
pursuant to the Cohen Email Warrants, the iCloud Warrant, and subpoenas, as well as pen register
data, I submit that there is probable cause that Subject Premises-1 contains an Apple iPad Mini, a
MacBook Pro, and has, at various times, contained Apple cellphones; similarly, there is probable

cause that Subject Premises-2 contains a computer and has, at various times, contained Apple

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cellphones. These devices are likely to include evidence, fruits, and instrumentalities of the
Subject Offenses for the following reasons:

a. As described throughout this affidavit, Cohen used email to send and receive
communications related to the Subject Offenses. In particular, Cohen used email to send and
receive communications with Sterling, First Republic, Getzel, the entities to which he is providing

consulting services, Davidson, and Howard, among others. While some of these emails have

already been obtained Via subpoenas and search warrants, I know from my training and experience

that individuals can and do delete emails from their Internet-based inboxes but retain copies of
those emails on their hard drives. I also know that individuals often have multiple email accounts,
some of which may not be known to law enforcement, and as a result electronic devices can bea
unique repository of all emails relevant to certain Subject Offenses. Indeed, from my involvement
in this investigation, I know that Cohen had an email account with the Trump Organization, but
the USAO and FBI have not been able to obtain the contents of that account to date. Thus, emails
relevant to the Subject Offenses are likely stored on electronic devices in Subject Premises-1,
Subject Premises-2 and/or Subject Premises-4.

b. Additionally, Subject Premises-1, Subject Premise-2 and Subject Premises-4 likely
contain electronic copies of documents relevant to the Subject Offenses. Indeed, I know from my
training and experience that individuals often retain copies of important documents on their
computers or other electronic devices capable of storing information, including cellphones (such
as the Subject Devices) and tablets. Here, there are a number of documents that Cohen has likely
retained that will be relevant to the Subject Offenses. For example, electronic devices may include

documentation of Cohen’s true net worth, a listing of his assets, an accounting of his available

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cash, consulting agreements with third parties, and documentation of his payment to Clifford,
among other evidence of the Subject Offenses.

c. Third, I know from my review of emails obtained pursuant to the Cohen Email
Warrants that Cohen sent up online banking with First Republic. Based on my training and
experience, | know that individuals who set up online banking often receive electronic notices

concerning financial transactions and, on occasion, save records of their financial transactions to

 

their devices. ‘Accordingly, there is probable cause to believe that Cohen’s électronic devices
contain evidence of banking activity, including the existence of bank accounts or assets that Cohen
did not disclose to Sterling or Melrose.

d. Fourth, from my review of records produced by Apple, I know that Cohen
communicates using text message as well as encrypted communications applications. These
applications that Cohen has downloaded onto a phone include, but are not limited to, WhatsApp,
Signal, and Dust. I know from my review of toll records and text messages that, in particular,
Cohen communicated with Pecker using these encrypted applications. Accordingly, there is
probable cause to believe that Cohen’s cellphones — the Subject Devices — will contain encrypted
messages that are not otherwise accessible relating to the Subject Offenses.

54. Based on my training and experience, I know that individuals who engage in
financial crimes commonly use computers to communicate with co-conspirators, keep financial
ledgers, and retain fraudulent documents. As a result, they often store data on their computers
related to their illegal activity, which can include logs of online or cellphone-based “chats” with
co-conspirators; email correspondence, contact information of co-conspirators, including
telephone numbers, email addresses, and identifiers for instant messaging and social medial

accounts; bank account numbers; and/or records of uses of funds.

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55.

Based on my training and.experience, I also know that, where computers are used

in furtherance of criminal activity, evidence of the criminal activity can often be found months or

even years after it occurred. This is typically true because:

56.

Electronic files can be stored on a hard drive for years at little or no cost and users thus
have little incentive to delete data that may be useful to consult in the future.

Even when a user does choose to delete data, the data can often be recovered months
or years later with the appropriate forensic tools. When a file is “deleted” on a home -
computer, the data contained in the file does not actually disappear, but instead remains
on the hard drive, in “slack space,” until it is overwritten by new data that cannot be ©
stored elsewhere on the computer. Similarly, files that have been viewed on the Internet
are generally downloaded into a temporary Internet directory or “cache,” which is only
overwritten as the “cache” fills up and is replaced with more recently viewed Internet
pages. Thus, the ability to retrieve from a hard drive or other electronic storage media
depends less on when the file was created or viewed than on a particular user’s

operating system, storage capacity, and computer habits.

In the event that a user changes computers, the user will typically transfer files from
the old computer to the new computer, so as not to lose data. In addition, users often
keep backups of their data on electronic storage media such as thumb drives, flash
memory catds, CD-ROMs, or portable hard drives.

Based on the foregoing, I respectfully submit there is probable cause to believe that

Cohen engaged in the Subject Offenses, and that evidence of this criminal activity is likely to be

found in the Subject Premises, on computers and electronic media found in the Subject Premises,

and on the Subject Devices. In particular, there is probable cause to believe that the Subject

Premises and Subject Devices will contain evidence, fruits, and instrumentalities of violations of

the Subject Offenses, as more fully described in Section II of Attachments A, B, C, D, E and F to

the proposed warrants, including the following:

a. Evidence necessary to establish the occupancy or ownership of the Subject

Premises, including without limitation, utility and telephone bills, mail envelopes, addressed

correspondence, bank statements, identification documents, and keys.

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b. Evidence relating to Sterling, Melrose, and/or taxi medallions.

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c. Evidence relating to a plan, proposal, or agreement for Cohen and/or entities
associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to Py aor entities associated with him.

d. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

e. Evidence relating to Essential Consultants, LLC, including any documents that

 

indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

f. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

g. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records.

h. Evidence relating to agreements, loans, and/or financial transactions between
Cohen af and any payments wy. Cohen.

i. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,

and any communications related to such agreements.

j. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or

payments to Stephanie Clifford or Karen McDougal.

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k. Evidence of communications involving Michael Cohen, American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal. |

1. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

m. Evidence of communications with Donald Trump and/or agents or associates of the

 

Trump Campaign about the Access Hollywood tape and other potential sources of negative >
publicity involving Trump’s relationship in the run up to the election.

n. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

o. Evidence relating to Cohen’s knowledge of the campaign finance laws, carapaign
‘contribution reporting requirements, and campaign contribution limits.

p. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances;

g. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account, or the purpose or nature of any

financial transactions involving that financial institution;

t. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

Iii. Procedures for Searching ESI
A. Execution of Warrant for ESI

57. Federal Rule of Criminal Procedure 41(e)(2)(B) provides that a warrant to search

for and seize property “may authorize the seizure of electronic storage media or the seizure or

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copying of electronically stored information .. . for later review.” Consistent with Rule 41, this
application requests authorization to seize any computer devices and storage media and transport
them to an appropriate law enforcement facility for review. This is typically necessary for a number
of reasons:

e First, the volume of data on computer devices and storage media is often impractical
for law enforcement personnel to review in its entirety at the search location.

e Second, because computer data is particularly vulnerable to inadvertent or intentional
modification or destruction, computer devices are ideally examined in a ‘controiled
environment, such as a law enforcement laboratory, where trained personnel, using
specialized software, can make a forensic copy of the storage media that can be
subsequently reviewed in a manner that does not change the underlying data.

e Third, there are so many types of computer hardware and software in use today that it
can be impossible to bring to the search site all of the necessary technical manuals and
specialized personnel and equipment potentially required to safely access the
underlying computer data.

e Fourth, many factors can complicate and prolong recovery of data from a computer
device, including the increasingly common use of passwords, encryption, or other
features or configurations designed to protect or conceal data on the computer, which
often take considerable time and resources for forensic personnel to detect and resolve.

58. As discussed herein, Squire Patton Boggs is a functioning law firm that conducts

legitimate business unrelated to Cohen’s commission of the Subject Offenses. Subject Premises-
2 is an office located inside of Squire Patton Boggs’s New York office. In order to execute the
warrant in the most reasonable fashion, law enforcement personnel will attempt to investigate on
the scene of what computers or storage media, if any, must be seized or copied, and what computers
or storage-media need. not-be seized or.copied. Law enforcement personnel will speak with Squire
Patton Boggs personnel on the scene as may be appropriate to determine which files and electronic
devices within Subject Premises-2 belong to or were used by Cohen. While, based on the
foregoing, it does not appear that Cohen shared electronic devices or a server with Squire Patton

Boggs, where appropriate, law enforcement personnel will copy data, rather than physically seize

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computers, to reduce the extent of any disruption of Squire Patton Boggs’s operations. If, after
inspecting the seized computers off-site, it is determined that some or all of this equipment is no
longer necessary to retrieve and preserve the evidence, the Government will return it.

59, Additionally, because Cohen is an attorney, and claims to serve as a personal
attorney for Trump, the review of evidence seized from the Subject Premises and Subject Devices

will be conducted pursuant to established screening procedures to ensure that the law enforcement

 

personnel involved in the investigation, including attorneys for the Government; collect evidence——-_—-—--
in amamner reasonably designed to protect any attorney-client or other applicable privilege. When
appropriate, the procedures will include use ofa designated “filter team,” separate and apart from
the investigative team, in order to review potentially privileged communications and determine
which communications to release to the investigation and prosecution team.

B. Accessing ESI on the Subject Devices

60. As described above, the Subject Devices are both Apple brand devices.

61. I know from my training and experience, as well as from information found in
publicly available materials including those published by Apple, that some models of Apple
devices such as iPhones and iPads offer their users the ability to unlock the device via the use of a
fingerprint or thumbprint (collectively, “fingerprint”) in lieu of a numeric or alphanumeric
passcode or password. This feature is called Touch ID. I also know that the Apple iPhone X offers
its users the ability to unlock the device via the use of facial recognition (through infrared and
visible light scans) in lieu of a numeric or alphanumeric passcode or password. This feature is
called Face ID.

62.  Ifauser enables Touch ID on a given Apple device, he or she can register up to 5

fingerprints that can be used to unlock that device. The user can then use any of the registered

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fingerprints to unlock the device by pressing the relevant finger(s) to the device’s Touch ID sensor,
which is found in the round button (often referred to as the “home” button) found at the bottom
center of the front of the device. If a user enables Face ID on a given Apple device, he or she can
unlock the device by raising the iPhone to his or her face, or tapping the screen. In my training
and experience, users of Apple devices that offer Touch ID or Face ID often enable it because it is

considered to be a more convenient way to unlock the device than by entering a numeric or

 

alphanumeric passcode or password, as well as a more secure way to protect the device’s contents.

63. | Insome circumstances, Touch ID or Face ID cannot be used to unlock a device that
has either security feature enabled, and a passcode or password must be used instead. ‘These
circumstances include: (1) when the device has just been turned on or restarted; (2) when more
than 48 hours has passed since the last time the device was unlocked; (3) when the passcode or
password has not been entered in the last 6 days, and the device has not been unlocked via Touch
ID in the last 8 hours or the device has not been unlocked via Face ID in the last 4 hours; (4) the
device has received a remote lock command; or (5) five unsuccessful attempts to unlock the device
via Touch ID or Face ID are made.

64. The passcodes or passwords that would unlock the Subject Devices are not known
to law enforcement. Thus, it will likely be necessary to press the fingers of the user of the Subject
Devices to the devices’ Touch ID sensor, or hold the Subject Devices in front of the user’s face to
activate the Face ID sensor, in an attempt to unlock the devices for the purpose of executing the
search authorized by this warrant. Attempting to unlock the relevant Apple devices via Touch ID
with the use of the fingerprints of the user, or via Face ID by holding the device in front of the
user’s face, is necessary because the government may not otherwise be able to access the data

contained on those devices for the purpose of executing the search authorized by this warrant.

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65. Based on these facts and my training and experience, it is likely that Cohen is the
user of the Subject Devices, and thus that his fingerprints are among those that are able to unlock
the Subject Devices via Touch ID or his face is able to unlock the Subject Devices via Face ID,

66. Although I do not know which of a given user’s 10 fingerprints is capable of
unlocking a particular device, based on my training and experience I know that it is common for a

user to unlock a Touch ID-enabled Apple device via the fingerprints on thumbs or index fingers.

 

Tn the event that law enforcement is unable to unlock the Subject Devices as described above
within the five attempts permitted by Touch ID, this will simply result in the device requiring the
entry ofa password or passcode before it can be unlocked.

67.  Lalso know from my training and experience, and my review of publicly available
materials published by Apple that Apple brand devices, such as the Subject Devices, have a feature
that allows a user to erase the contents of the device remotely. By logging into the Internet, the
user or any other individual who possesses the user’s account information can take steps to
completely wipe the contents of the device, thereby destroying evidence of criminal conduct, along
with any other information on the device. The only means to prevent this action is to disable the
device’s ability to connect to the Internet immediately upon seizure, which requires either access
to the device itself to alter the settings, or the use of specialized equipment that is not consistently
available to law enforcement agents at every arrest.

68. Due to the foregoing, I request that the Court authorize law enforcement to press
the fingers (including thumbs) of Cohen to the Touch ID sensors the Subject Devices, or hold the
Subject Devices in front of Cohen’s face, for the purpose of attempting to unlock the Subject

Devices via Touch ID or Face ID in order to search the contents as authorized by this warrant.

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C. Review of ESI

69. Following seizure of any computer devices and storage media and/or the creation
of forensic image copies, law enforcement personnel (including, in addition to law enforcement
officers and agents, and depending on the nature of the ESI and the status of the investigation and
related proceedings, attorneys for the government, attorney support staff, agency personnel

assisting the government in this investigation, and outside technical experts under government

 

control) will review thé ESI contained therein for information responsive to the warrant.

70. In conducting this review, law enforcement personnel may use various techniques
to determine which files or other ESI contain evidence or fruits of the Subject Offenses. Such
techniques may include, for example:

e surveying directories or folders and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e conducting a file-by-file review by “opening” or reading the first few “pages” of such
files in order to determine their precise contents (analogous to performing a cursory
examination of each document in a file cabinet to determine its relevance);

e “scanning” storage areas to discover and possibly recover recently deleted data or
deliberately hidden files; and

e performing electronic keyword searches through all electronic storage areas to
determine the existence and location of data potentially related to the subject matter of
the investigation™; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

 

34 Keyword searches alone are typically inadequate to detect all relevant data. For one thing,
keyword searches work only for text data, yet many types of files, such as images and videos, do
not store data as searchable text. Moreover, even as to text data, there may be information properly
subject to seizure but that is not captured by a keyword search because the information does not
contain the keywords being searched.

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71. Law enforcement personnel will make reasonable efforts to restrict their search to
data falling within the categories of evidence specified in the warrant. Depending on the
circumstances, however, law enforcement personnel may need to conduct a complete review of all
the ESI from seized devices or storage media to evaluate its contents and to locate all data
responsive to the warrant.

D. Return of ESI

 

72. Vf the Government determines that the electronic devices-are no longer necessary

to retrieve and preserve the data, and the devices themselves are not subject to seizure pursuant to
Federal Rule of Criminal Procedure 41(c), the Government will return these items, upon request.
Computer data that is encrypted or unreadable will not be returned unless law enforcement
personnel have determined that the data is not (i) an instrumentality of the offense, (ii) a fruit of
the criminal activity, (iii) contraband, (iv) otherwise unlawfully possessed, or (v) evidence of the

Subject Offenses.

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IV. Conclusion and Ancillary Provisions

73. Based on the foregoing, I respectfully request the court to issue a warrant to seize

the items and information specified in Attachments A, B, C, D, E and F to this affidavit and to the.

Search and Seizure Warrants.
74, In light of the confidential nature of the continuing investigation, I respectfully
request that this affidavit and all papers submitted herewith be maintained under seal until the

Court orders otherwise.

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Special Agent
FBI

 

Sworn to before me on
8th day of Apri 2018 &Y PELE PHOrke

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TON: CRON B. PITMAN - o77
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ATTACHMENT A
L Premises to be Searched—Subject Premises-1

The premises to be searched (“Subject Premises-1”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

Apartment Whocated inside the building at 502 Park Avenue, New York, New York
10022. The building located at 502 Park Avenue is a 32-floor brick residential building. Subject
Premises-1 is located on the (Ef the building.

II. Items to Be Seized

A. Evidence, Fruits, and Instrumentalities of the Subject Offenses |

The items to be seized from Subject Premises-1 are evidence, fruits, and instrumentalities
of violations of 18 U:S.C. §§ 371 (conspiracy, as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)G) (illegal campaign
contributions) (the “Subject Offenses”), described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to ae: entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

ec. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
ot evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

f, Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen and |i 20¢/0r entities controlled by the

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[LT and any payments by Py. Cohen, from January

1, 2012 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or

payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,

David Pecker, and/or Dylan” Howard about Donald-Trump, the~Frump-Campaign,- Stephanie -———-—__=

Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

1. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-1 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section IIL.A of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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belonging to Michael Cohen or in his possession, an Apple iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants. In lieu of seizing any such computer devices

or storage media, this warrant also authorizes the copying of such devices or media for later review.

The items to be seized from Subject Premises-1 also include:

1,

Any items or records needed to access the data stored on any seized or copied

computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2.

Any items or records that may facilitate a forensic examination of the computer

devices or storage media, including any hardware or software manuals or other information
———---+-eoncerning the configuration-of the seized-or- copied-computer. devices_or.storage media.

3.

Any evidence concerning the identities or locations of those persons with access to,

control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

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surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

 
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Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
ILA and ILB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

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ATTACHMENT B
I. Premises to be Searched——Subject Premises-2

The premises to be searched (“Subject Premises-2”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

An office belonging to or assigned to Michael Cohen located on the 23rd floor of the
building at 30 Rockefeller Plaza, New York, New York 10112, inside of the offices of the law firm
Squire Patton Boggs. The building located at 30 Rockefeller Plaza is a 66-floor office building
that spans the entire block between Sixth Avenue and Rockefeller Plaza.

i. Items to Be Seized

A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

The items to be seized from Subject Premises-2 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005

(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344 -

(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)()(A)G) (illegal campaign
contributions) (the “Subject Offenses”) described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to yy or etttities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
ot evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

o. Evidence relating to agreements, loans, and/or financial transactions between
Cohen andl NNN 2"d/or entities controlled Py

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Po and any payments vy. Cohen, from January

1, 2012 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j.Evidence_of. communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

1. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the .
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

gq. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-2 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section IL.A of this Attachment above, including, but not limited to, any desktop and
laptop computers, any Apple iPhone or other cellphone or smartphone belonging to Michael Cohen

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or in his possession, portable hard drives, disk drives, thumb drives, and personal digital assistants.
In lieu of seizing any such computer devices or storage media, this warrant also authorizes the
copying of such devices or media for later review.

The items to be seized from Subject Premises-2 also include:

1. Any items or records needed to access the data stored on any seized or copied
computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information
concerning the configuration of the seized or copied computer devices or storage media.

 

3. Any evidence concerning the identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

e scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

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Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
.A and ILB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

 

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ATTACHMENT C
I. Premises to be Searched—Subject Premises-3

The premises to be searched (“Subject Premises-3”) are described as follows, and include
all locked and closed containers found therein:

A safe deposit box located inside the TD Bank branch location at 500 Park Avenue, New
York, New York 10019, marked as box A The safe deposit box is in the name of Michael
Cohen and Laura Cohen.

Il. Items to Be Seized
A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

The items to be seized from Subject Premises-3 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)() (illegal campaign
contributions) (the “Subject Offenses”), described as follows:

1. Evidence relating to Michael Cohen’s net worth, available cash and cash
equivalents, assets, monthly and annual income, and income sources, from January 1, 2013 to the
present.

2. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

3. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

4. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

5. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

6. Evidence of communications with Donald Trump and/or agents or associates of the

Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

7. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

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8. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

9. Any portable electronic storage device.
B. Search of Seized Electronic Devices

Probable cause exists to search any seized electronic storage device for the items set
forth in Section II(A)(1)-(8), above.

C. Review of ESI

Following seizure of any electronic storage device, law enforcement personnel (which may
include, in addition to law enforcement officers and agents, attorneys for the government, attorney
support staff, agency personnel assisting the government in this investigation, and outside
technical experts under government control) are authorized to review the ESI contained therein for
information responsive to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

e scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

® reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
ILA and ILB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices if necessary to evaluate its contents and to
locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect

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any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address

potential privileges.

 

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ATTACHMENT D
I. Premises to be Searched—Subject Premises-4

The premises to be searched (“Subject Premises-4”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

Room 1728 located inside the Loews Regency Hotel at 540 Park Avenue, New York, New
York 10065. The building is a luxury hotel located on Park Avenue and 61st Street. Subject
Premises-4 is located on the 17th floor of the hotel.

If. Items to Be Seized
A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

The items to be seized from Subject Premises-4 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy, as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(@)(1)(A) and 30109(d)(1)(A)() (illegal campaign
contributions) (the “Subject Offenses”), described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including tof dior entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen and TN and/or entities controlled by Po

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a any payments by yr Cohen, from January
1, 2012 to the present.
h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or

payments to Stephanie Clifford or Karen McDougal.

j._Evidence of communications between Michael Cohen and American Media, Inc.,

David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie ~~

Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

1. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-4 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section ILA of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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belonging to Michael Cohen or in his possession, an Apple iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants. In lieu of seizing any such computer devices
or storage media, this warrant also authorizes the copying of such devices or media for later review.

The items to be seized from Subject Premises-4 also include:

1. Any items or records needed to access the data stored on any seized or copied
computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information

 

concerning the configuration of the seized or copied computer devices or storage media.

3. Any evidence concerning the identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

e scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

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Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
ILA and ILB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to
address potential privileges.

 

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ATTACHMENT E
I. Device Subject to Search and Seizure — Subject Device-1

The device that is the subject of this search and seizure warrant (“Subject Device-1”) is
described as follows:

An Apple iPhone serviced by AT&T with the telephone number

During the execution of this search warrant, law enforcement personnel are authorized to
depress the fingerprints and/or thumbprints of Michael Cohen onto the Touch ID sensor of Subject

Device-1, or hold Subject Device-1 in front of Cohen’s face to activate the Face ID sensor, in order _

 

 

to gain access to thé contents of any such device as authorized by this warrant.

If. Review of ESI on the Subject Device

Law enforcement personnel (including, in addition to law enforcement officers and agents,
and depending on the nature of the ESI and the status of the investigation and related proceedings,
attorneys for the government, attorney support staff, agency personnel assisting the government in
this investigation, and outside technical experts under government control) are authorized to
review the ESI contained on Subject Device-1 for evidence, fruits, and instrumentalities of
violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005 (false
bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344 (bank
fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign contributions)
(the “Subject Offenses”) described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or

liabilities, to others, including to andor entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents or
communications that indicate the nature and purpose of payments made to or from Essential
Consultants or the nature of any work done by Cohen or any other individuals in connection with
Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
or communications that indicate the nature and purpose of payments made to or from Michael D.
Cohen & Associates, or evidence of the purpose of accounts opened in the name of Michael D.
Cohen & Associates.

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f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

gs. Evidence relating to agreements, loans, and/or financial transactions between
Cohen and andor entities controlled by

Sq and any payments by (Io Coben, from January
1, 2012 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
——agents-or-legal-_representatives, including. any nondisclosure agreements and related documents,
and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

1. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account, or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

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If the Government determines that Subject Device-1 is no longer necessary to retrieve and
preserve the data on the device, and that Subject Device-1 is not subject to seizure pursuant to
Federal Rule of Criminal Procedure 41(c), the Government will return Subject Device-1, upon
request.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

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ATTACHMENT F
I. Device Subject to Search and Seizure — Subject Device-2

The device that is the subject of this search and seizure warrant (“Subject Device-2”) is
described as follows:

An Apple iPhone serviced by AT&T with the telephone number,

During the execution of this search warrant, law enforcement personnel are authorized to
depress the fingerprints and/or thumbprints of Michael Cohen onto the Touch ID sensor of Subject
Device-2, or hold Subject Device-2 in front of Cohen’s face to activate the Face ID sensor, in order
to gain access to the contents of any such device as authorized by this warrant.

Il. Review of ESI on the Subject Device

Law enforcement personnel (including, in addition to law enforcement officers and agents,
and depending on the nature of the ESI and the status of the investigation and related proceedings,
attorneys for the government, attorney support staff, agency personnel assisting the government in
this investigation, and outside technical experts under government control) are authorized to
review the ESI contained on Subject Device-2 for evidence, fruits, and instrumentalities of
violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005 (false
bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344 (bank
fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign contributions)
(the “Subject Offenses”) described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to andor entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents or
communications that indicate the nature and purpose of payments made to or from Essential
Consultants or the nature of any work done by Cohen or any other individuals in connection with
Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
or communications that indicate the nature and purpose of payments made to or from Michael D.
Cohen & Associates, or evidence of the purpose of accounts opened in the name of Michael D.
Cohen & Associates.

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f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

s. Evidence relating to agreements, loans, and/or financial transactions between
Cohen and andor entities controlled by
and any payments by [IIo Cohen, from January

i, 2012 tO tne present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents-or_legal-representatives,.including.any_nondisclosure_agreements_and_related_ documents,
and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

1. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

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If the Government determines that Subject Device-2 is no longer necessary to retrieve and
preserve the data on the device, and that Subject Device-2 is not subject to seizure pursuant to
Federal Rule of Criminal Procedure 41(c), the Government will return Subject Device-2, upon
request.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a mamner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use ofa designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

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AO 106 (Rev. 06/09) Application for a Search Warrant

 

UNITED STATES DISTRICT COURT

for the
Southern District of New York

Tn the Matter of the Search of

(Briefly describe the property to be searched

or identify the person by name and address) Case No.

Four Premises and Two Electronic Devices, See
Attached Affidavit and Riders

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
ee penalty of perjury_that L have reason to believe that on the following person or property (identify the person or describe the

b , wwe its location):
Py Burt He dhe searched | ge Bie [ES lpeatiort evices, See Attached Affidavit and Riders

 

located in the Southern District of New York , there is now concealed (identify the

person or describe the property to be seized):

 

PLEASE SEE ATTACHED AFFIDAVIT AND RIDERS.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
of evidence of a crime;
wm contraband, fruits of crime, or other items illegally possessed;
Mf property designed for use, intended for use, or used in committing a crime;

Ca person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. s 371, 1005, 1014, Conspiracy, false bank entries, false statements to a financial institution,
1343 and 1344, and wire fraud, bank fraud, and
52 USC 30116 and 30109 illegal campaign contributions

The application is based on these facts:

PLEASE SEE ATTACHED AFFIDAVIT AND RIDER.

ow Continued on the attached sheet.

Delayed notice of days (give exact ending date if more than 30 days: ) is requested.
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

 

Printed name and title
Sworn to before me and signed in my presence.
Date: 04/08/2018 [s/ Hn Cy A 4 Vow
Jidge ’s signature
City and state: N Cu Voc KN Y Hon. Henry B. Pitman, U.S. Magistrate Judge
! | i}

Printed name and title

 

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In the Matter of the Application of the United : TO BE FILED UNDER SEAL
States of America for a Search and Seizure :

Warrant for the Premises Known and Described : Agent Affidavit in Support of
as (1) 502 Park Avenue, JEINew : Application for Search and Seizure
York, New York 10022, (2) Michael Cohen’s : Warrant

Office at 30 Rockefeller Plaza, 23rd Floor, New :
xe New York 10112, (3) Safe Deposit Box # :
Located at the TD Bank Branch at 500 Park :
__.. Avenue, New York, New York 10019, and (4) :
Loews Regency Hotel, 540 Park Avenue, Room :
1728, New York, New York 10065, and Any :
Closed Containers/Items Contained Therein, and :
the Electronic Devices Known and Described as :

(1) an Apple iPhone with Phone Number [od
and (2) an Apple iPhone with Phone :

Number {is
Reference No. 2018R00127

SOUTHERN DISTRICT OF NEW YORK) ss.:
oT Special Agent, Federal Bureau of Investigation, being duly sworn,
deposes and says:

I. Introduction
A. Affiant

1. Tam a Special Agent with the Federal Bureau of Investigation (“FBI”). I have been
a Special Agent with the FBI since 2009. In the course of my experience and training in these
positions, I have participated in criminal investigations into federal offenses involving a wide array
of financial crimes, including frauds on financial institutions, as well as into offenses involving
public corruption. I also have training and experience executing search warrants, including those
involving electronic evidence.

2. I make this Affidavit in support of an application pursuant to Rule 41 of the Federal

Rules of Criminal Procedure for a warrant to search the premises specified below (the “Subject

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Premises”) and the electronic devices specified below (the “Subject Devices”) for, and to seize,
the items and information described in Attachments A, B, C, D, E and F. This affidavit is based
upon my personal knowledge; my review of documents and other evidence; my conversations with
other law enforcement personnel; and my training, experience and advice received concerning the
use of electronic devices in criminal activity and the forensic analysis of electronically stored

information (“ESI”). Because this affidavit is being submitted for the limited purpose of

 

establishing probable cause, it does not include all the facts that I have learned during the course”

of my investigation. Where the contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported in substance and in part, except where
otherwise indicated.

B. The Subject Premises and Subject Devices

3. Subject Premises-1, Subject Premises-2, Subject Premises-3 and Subject Premises-
4 (collectively, the “Subject Premises”) are particularly described as:
a. Subject Premises-1 is Apartment PP tocated inside the building at 502
Park Avenue, New York, New York 10022. The building located at 502 Park Avenue is a 32-
floor brick residential building. Subject Premises-1 is located on the) s00r of the building.
Based on my review of New York City property records, I have learned that Michael Cohen and
Laura Cohen own Subject Premises-1.! Additionally, as described below, Subject Premises-1 is
Cohen’s full-time residence.
b. Subj ect Premises-2 is an office located on the 23rd floor of the building at

30 Rockefeller Plaza, New York, New York 10112. The building located at 30 Rockefeller Plaza

 

1 As noted infra, I have learned that on or about October 28, 2015, Cohen transferred Subject
Premises-1 into a trust.

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is a 66-floor office building that spans the entire block between Sixth Avenue and Rockefeller
Plaza. Subject Premises-2 is located on the 23rd floor of the building inside of the offices of the
law firm Squire Patton Boggs. The office is assigned to Michael Cohen. As described below,
Michael Cohen works and conducts meetings at Subject Premises-2.

C. Subject Premises-3 is a safety deposit box located inside the TD Bank

branch location at 500 Park Avenue, New York, New York 100 19. Based on my review of records

 

maintained by TD Bank, I have learned that the safety deposit box 1s approximately five inches by
ten inches in size, and is marked as bowl The safety deposit box is in the name of Michael
Cohen and Laura Cohen.

d. Subject Premises-4 is Room 1728 located inside the Loews Regency Hotel
at 540 Park Avenue, New York, New York 10065. The building is a luxury hotel located on Park
Avenue and 61st Street. Subject Premises-4 is located on the 17th floor of the hotel. Based on my
review of emails obtained pursuant to search warrants described below, I have learned that on or
about January 5, 2018, Cohen received an email from an employee of Loews Regency, which
included a price quote for a long-term stay suite based on a three-month stay from January 8 to
April 8, 2018.2 On or about January 29, 2018, Cohen sent an email to a Loews Regency employee,
stating, in pertinent part: “I just spoke to my wife and she has scheduled the move for Thursday.
Please mark down that we will be taking possession on Thursday, February Ist.” Based on my
review of cell phone location data, I have learned that, over the past 24 hours, two cellular phones

used by Cohen have been located in the vicinity of Subject Premises-4. In particular, on or about

 

2 Although the quoted price contemplated a three-month stay from January 8 to April 8, it appears
that Cohen did not move in until February 1, and as of today, April 8, cellphone location
information demonstrates that Cohen’s cellular phones are in still in the vicinity of Subject
Premises-4.

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April 8, 2018, law enforcement agents using a “triggerfish” device identified Room 1728 as the
room within the hotel in which the Subject Devices are most likely present."
€, Therefore, I believe that Cohen is temporarily residing in Subject
Premises-4.
4. Subject Device-1 and Subject Device-2 (collectively, the “Subject Devices”) are

particularly described as:

 

 

a. Subject Device-| is an Apple iPhone serviced by AT&T with the telephone number
Ld Based on my review of records maintained by AT&T, I have learned that Subject
Device-1 is subscribed to Michael Cohen. Based on my review of cellphone location information
maintained by AT&T, I have learned that Subject Device-1 is presently located in the Southern
District of New York.
b. Subject Device-2 is an Apple iPhone serviced by AT&T with the telephone number
[| Based on my review of records maintained by AT&T, [have learned that Subject
Device-2 is subscribed to Michael Cohen. Based on my review of cellphone location information
maintained by AT&T, I have learned that Subject Device-2 is presently located in the Southern
District of New York.
c, Based on my training, experience, and research, and from consulting the
manufacturer’s and service providers’ advertisements and product technical specifications
available online, I know that the Subject Devices have capabilities that allow them to, among other

things: make and receive telephone calls; save and store contact information; send and receive

 

3 Based on my conversations with these agents, I understand that it is also possible that the Subject
Devices are one floor below, in Room 1628. However, as noted, I understand that Cohen received
a price quote for a long-term stay suite and is residing there with his family. Based on my
conversations with FBI agents conducting surveillance, I understand that Room 1728 appears to
be a suite, whereas Room 1628 appears to be a standard room.

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emails and text messages; download and run mobile telephone applications, including encrypted
call and messaging application such as WhatsApp, Signal, and Dust; take, send, and receive
pictures and videos; save and store notes and passwords; and store documents.

C. The Subject Offenses

5. For the reasons detailed below, I believe that there is probable cause to believe that

the Subject Premises and Subject Devices contain evidence, fruits, and instrumentalities of ~

 

violations of 18 U.S.C. §§ 1005 (false bank entries), 1014 (false statements to—a~financial> ~~~
institution), 1343 (wire fraud), and 1344 (bank fraud) (collectively, the “Bank Fraud Offenses”),
52 U.S.C. §§ 30116(a)(1)(A) and 30109@)—)(A)C) (illegal campaign contributions) (the
“Campaign Finance Offenses”), and 18 U.S.C. §§ 371 (conspiracy as it pertains to the other.
Subject Offenses) (collectively, the “Subject Offenses”).

D. Prior Applications

6. The FBI and the United States Attorney’s Office for the Southern District of New
York (“USAO”) have been investigating several courses of criminal conduct by Michael Cohen.
Cohen is an attorney who currently holds himself out as the personal attorney for President Donald
Trump, and who previously served for over a decade as an executive in the Trump Organization,
an international conglomerate with real estate and other holdings.

7. In connection with an investigation then being conducted by the Office of the
Special Counsel (“SCO”), the FBI sought and obtained from the Honorable Beryl A. Howell, Chief
United States District Judge for the District of Columbia, three search warrants for emails and
other content information associated with two email accounts used by Cohen, and one search

warrant for stored content associated with an iCloud account used by Cohen. Specifically:

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a. On or about July 18, 2017, the FBI sought and obtained a search warrant for
emails in the account HP aenait.com (the “Cohen Gmail Account”) sent or received
_ between January 1, 2016 and July 18, 2017 (the “First Cohen Gmail Warrant”).

b. On or about August 8, 2017, the FBI sought and obtained a search warrant
for content stored in the iCloud account associated with Apple ID I aenaitcom (the

“Cohen iCloud Account” and the “Cohen iCloud Warrant”).

 

 

C. On or about November 13, 2017, the FBI sought and obtained-a-search~—

warrant for emails in the Cohen Gmail Account sent or received between June 1, 2015 and
November 13, 2017 (the “Second Cohen Gmail Warrant”). |
d. On or about November 13, 2017, the FBI sought and obtained a search
warrant for emails in the account ss (the “Cohen MDCPC Account”)-sent or
received between the opening of the Cohen MDCPC Account’ and November 13, 2017 (the “First
Cohen MDCPC Warrant’). |
8. The SCO has since referred certain aspects of its investigation into Cohen to the
USAO, which is working with the FBI’s New York Field Office. As part of that referral, on or
about February 8, 2018, the SCO provided the USAO with all non-privileged emails and other
content information obtained pursuant to the First Cohen Gmail Warrant, Second Cohen Gmail

Warrant, and Cohen MDCPC Warrant. On or about March 7, 2018, the SCO provided the USAO

 

4 Based on my review of this warrant and the affidavit in support of it, I know that the warrant did
not specify a time period, but the affidavit indicated that, pursuant to court order, the service
provider had provided non-content information for the Cohen MDCPC Account that indicated that
the account contained emails from the approximate period of March 2017 through the date of the
warrant.

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with all non-privileged content obtained pursuant to the Cohen iCloud Warrant.? A filter team
working with the SCO had previously reviewed the content produced pursuant to these warrants
for privilege.

9. On or about February 28, 2018, the USAO sought and obtained search warrants for
emails in the Cohen Gmail Account and the Cohen MDCPC Account, among other accounts, sent

- or received between November 14, 2017 and February 28, 2018 (the “Third Cohen Gmail Warrant”

subject to an ongoing review for privilege by an SDNY filter team.°

10. The emails search warrants described above are referred to collectively as the
“Cohen Email Warrants.”

11. On or about April 7, 2018, the USAO and FBI sought and obtained a warrant for
prospective and historical cellphone location information for Subject Device-1 and Subject
Device-2. On or about April 8, 2018, the USAO and FBI sought and obtained authority to employ
an electronic technique, commonly known as a “triggerfish,” to determine the location of Subject
Device-1 and Subject Device-2.

Il. Probable Cause
A. Overview

12. The United States Attorney’s Office for the Southern District of New York and FBI
are investigating, among other things, schemes by Target Subject Michael Cohen (a) to defraud

multiple banks from in or about 2016 up to and including the present, and (b) to make an illegal

 

5 The SCO had previously provided a subset of this non-privileged content on or about February
2, 2018.

6 On or about February 28, 2018 and April 7, 2018, the USAO and FBI sought and obtained Rule
41 search warrants authorizing the search of emails and content obtained pursuant to previously
issued warrants for additional subject offenses.

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campaign contribution in October 2016 to then-presidential candidate Donald Trump. As noted,
Cohen is an attorney who currently holds himself out as the personal attorney for President Donald
Trump, and who previously served for over a decade as an executive in the Trump Organization,
an international conglomerate with real estate and other holdings.

13. The investigation has revealed that Cohen has made affirmative misrepresentations

in and omitted material information from financial statements and other disclosures that Cohen

 

provided to ‘multiple banks in connection with a transaction intended to relieve Cohen of
approximately $22 million in debt he owed on taxi medallion loans from the banks. As set forth
in detail below, in these financial statements, and in his oral and other written statements to these
banks, Cohen appears to have (i) intentionally misrepresented his ability to pay cash by failing to
disclose cash he began receiving in 2017 from new consulting work; (ii) significantly understated
his total holdings of cash and cash equivalents; (iil) failed to disclose tens of thousands of dollars
he received in monthly interest income, and (iv) failed to inform the banks from which he was
seeking debt relief that he had agreed to make a $3.8 million cash payment to a third party, a
| in connection with |] acquisition of the taxi medallions securing Cohen’s
debt. By making these misrepresentations and material omissions, Cohen avoided making
monthly payments on his loans, and attempted to fraudulently induce the banks to relieve him of
certain repayment obligations and personal guarantees that Cohen and his wife had signed.

14. Additionally, the investigation has revealed that shortly before the 2016
presidential election, Cohen made a payment of $130,000 from a limited liability corporation
(“LLC”) to Stephanie Clifford, an individual who is alleged to have had an extramarital affair with
then-candidate Trump. This payment-was made to Clifford in exchange for an agreement not to

make any public disclosures about her alleged affair with Trump. As set forth below, there is

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probable cause to believe that Cohen made this payment to Clifford for the purpose of influencing
the presidential election, and therefore that the payment was an excessive in-kind contribution to
the Trump campaign.

15. Based on my review of emails obtained from the Cohen Email Warrants,
information obtained pursuant to the iCloud Warrant, and documents produced pursuant to

subpoenas, as well as my review of public sources, | have learned that Cohen has used the Subject

 

Premises to (a) receive documents related to the transaction intended to relieve Cohen of his taxi
medallion debt, (b) receive documents and/or conduct meetings related to his consulting work, (c)
receive documents and/or conduct meetings relating to his finances and assets, some of which, as
noted above and as detailed further herein, he has concealed from the banks in connection with the
refinancing of his taxi medallion debt, (d) receive and send documents relating to his payment to
Clifford, and (e) house and operate electronic devices that were utilized in connection with, among
other things, the taxi medallion transaction, Cohen’s consulting work, and his payment to Clifford.
Specifically, as described below, Subject Premises-1 likely contains evidence concerning Cohen’s
taxi medallion loans, his negotiations with banks, his personal finances, his consulting work, his
tax returns, and his payment to Clifford, as well as electronic devices containing such evidence,
all of which constitute or contain evidence of the Subject Offenses. Additionally, as described
below, Subject Premises-2 likely contains evidence relating to Cohen’s consulting work, his
finances, and his payment to Clifford, as well as electronic devices containing such evidence.
Subject Premises-3, as described below, likely contains evidence relating to Cohen’s assets and
finances, including assets that may not have been disclosed to banks in connection with the
refinancing of Cohen’s taxi medallion debt or documents relating to such assets, and documents

or evidence related to Cohen’s payment to Clifford. Subject Premises-4 likely contains electronic

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devices, including Subject Device-1 and Subject Device-2, which themselves contain evidence of
the Subject Offenses, including concerning Cohen’s taxi medallion loans, his negotiations with
banks, his personal finances, his consulting work, his tax returns, and his payment to Clifford.
Accordingly, and as set forth in more detail below, there is probable cause to believe that the
Subject Premises and Subject Devices will include evidence of the Subject Offenses.

B. Probable Cause Regarding Subjects’ Commission of the Subject Offenses’

 

 

The Bank Fraud Scheme

(i) Cohen’s Statements to Sterling National Bank

16. Asset forth in detail below, in 2014, Cohen, through LLCs controlled by him and
his wife, Laura Cohen, entered into a series of loans from Sterling National Bank (“Sterling”) and
the Melrose Credit Union (“Melrose”), secured by taxi medallions, for approximately $20 million.
Though entered into by LLCs, the loans were also secured by personal guarantees in the names of
both Cohen and his wife. Over time, as the taxi industry weakened and the medallions lost value,
Cohen sought to renegotiate the terms of those loans and/or relieve himself from their obligations,
including the personal guarantees. As part of that effort, Cohen made a series of representations
to Sterling and Melrose about his net worth, assets, available cash and income, among other things.
Specifically, based on my review of records maintained by Sterling and Melrose, and public
sources concerning the taxi industry and the value of taxi medallions, as well as my participation

in interviews with a Sterling executive vice-president (the “Sterling Employee-1”) and two other

 

7 In the following recitation of probable cause, I frequently refer to phone calls or text messages
involving Cohen. The text messages described herein as sent or received by Cohen were all sent
or received from the telephone numbers associated with Subject Device-1 or Subject Device-2.
The vast majority of the phone calls described herein made or received by Cohen were made or
received by the telephone numbers associated with Subject Device-1 or Subject Device-2, although
in certain limited instances Cohen used a landline or other phone.

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Sterling employees (“Sterling Employee-2” and “Sterling Employee-3”), I have learned, among
other things, the following:

a. Taxi medallions are small metal plaques affixed to taxis. Without a medallion, it
is illegal to operate a taxi in cities with medallion systems, such as New York City. Cohen and his
wife own multiple LLCs that collectively own 32 taxi medallions (each LLC owns two

medallions). Cohen’s purchase of these New York taxi medallions was originally financed. by

 

loans from Capital One bank, for which the medallions served as collateral” Cohen was not a taxt

operator, and leased his medallions to a third party. That third party made monthly payments to
Cohen, who in turn used some of those proceeds to make his monthly loan payments to Capital
One.

“b. In early 2014, Cohen became a customer of Sterling when he sought to refinance a
mortgage on a rental property that he owned. In or around April 2014, Cohen raised with Sterling
the prospect of refinancing his taxi medallion loans, which were then at Capital One. By in or about
September 2014, Cohen began negotiating a lending transaction with Sterling that would allow
Cohen to pay off his loans at Capital One and borrow more money from the then-increase in value
of the medallions. According to Sterling Employee-1, in 2014, prior to the recent upheaval in the
taxi industry—as a result of the emergence of ride-sharing services, such as Uber—taxi medallion
loans were viewed by banks and investors as safe, short term credits, as the market value of taxi
medallions was consistently rising. Consequently, taxi medallion loans—like the loans held by
Cohen—were frequently refinanced at increasing amounts as the value of the medallions rose.

According to Sterling Employee-1, borrowers typically cashed out the increase in the loan amount

 

8 One of these companies, Mad Dog Cab Corp., was jointly owned by Sondra Cohen, who I
believe is Cohen’s mother.

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and used the additional funds for other purposes. Cohen appears to have followed this approach in
2014, when he agreed to refinance his medallion loans for approximately $22 million, which—
according to letters from Capital One in Sterling’s files—was greater than his previous debt at
Capital One Bank ($21 million, of which $14.6 million was a line of credit to Cohen). This allowed
Cohen to cash out the proceeds from the transaction.

c. Based on my review of records maintained by Sterling, I have learned that on or

 

 

about December 8, 2014, each of Cohen’s sixteen taxi medallion LLCs entered into loan agreements ~~~

and promissory notes with Sterling for the principal sum of $1,375,000, with repayment due on
December 8, 2016. Each loan was signed by Michael or Laura Cohen, depending on who was the
sole shareholder of the LLC. The address listed for each of the LLCs was the address for Subject
Premises-1. The loans were also each secured by a security agreement, dated the same day, making
the medallions collateral for the notes. To give Sterling additional security, Michael and Laura
Cohen signed personal guarantees and confessions of judgment, giving Sterling the right to pursue
collection against the Cohens’ personal assets were their corporations to default under the loan
agreements. The personal guaranty agreements stated that the LLCs had offices at the address for
Subject Premises-1, and contained a notice provision that stated that any notices required by the
agreements should be mailed to Subject Premises-1. In total, Sterling agreed to lend approximately
$22 million to the Cohens’ companies.

d. Pursuant to participation agreements, Sterling transferred 45 percent of Cohen’s

taxi medallion debt to Melro se.2

 

9 Melrose, which had a business principally focused on taxi medallion loans, is now in
conservatorship by the National Credit Union Administration (“NCUA”).

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e. In evaluating Cohen’s requested refinancing of the taxi medallions, Sterling (and
Melrose, consistent with its participation in the deal) conducted due diligence. At Sterling’s
request, Cohen provided Sterling with a statement of financial condition, dated August 1, 2014
(the “August 2014 Financial Statement”), which indicated that Cohen had $100,740,000 in total
assets, $23,550,000 in total liabilities, and a net worth of $77,190,000.° From my review of a

Sterling credit memorandum, dated September 29, 2014, I know that Sterling viewed the

 

transaction favorably because, accounting for loan payments, cash flows from the medallions were ——

projected to be positive, the value of the collateral (as estimated by Sterling) exceeded $42 million,
and the net worth of Cohen—who was the direct obligor under the guarantee agreements—was
over $77 million. An internal Sterling credit and risk rating analysis report, dated October 20,
2014, recommended approval of the loans for substantially the same reasons.

f. Based on my review of records maintained by Sterling and public sources, I have
learned that over time, the collateral backing Cohen’s loans (taxi medallions) lessened in value due
to the rise in ride-sharing companies. Additionally, Cohen began falling behind on loan payments
to Sterling and Melrose. I know from records maintained by Sterling and an interview with Sterling
Employee-2 that, beginning in or around September 2015, Cohen told Sterling, in sum and
substance, that the individual leasing Cohen’s medallions had fallen behind in making payments to
Cohen, and that as a result, the monthly cash flow from his taxi medallions had been reduced,
leaving him with a shortfall of approximately $16,000 each month. For instance, I have reviewed
an email from Sterling Employee-2, dated September 9, 2015, summarizing a call with Cohen—

which according to the email and toll records for Cohen’s cellphone occurred on September 8,

 

10 Cohen subsequently provided Sterling with a revised statement of financial condition, also
dated August 1, 2014, which reported assets of $99,420,000, total liabilities of $23,550,000, and a
net worth of $75,870,000.

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2015—during which Cohen told Sterling Employee-2, in sum and substance, about his cash flow
problems and a monthly shortfall of approximately $16,000. In that same email, Sterling
Employee-2 commented that despite Cohen’s statements, his personal financial information
“indicate[d] a strong ability to make up the difference in payments.” Cohen, however, according
to Sterling Employee-2, pushed the bank for a reduction in Cohen’s monthly payments.

g. From my review of records maintained by Sterling and my participation in an

 

“Interview with Sterling “Employee-2; T have leamed-that-Cohen and Sterling Employee=2-spoke——————
again on September 28, 2015, and that during the call Cohen stated, in sum and substance, that the
individual to whom Cohen leases the medallions had again reduced monthly payments to Cohen. I
know from my review of records maintained by Sterling that between in or about September 2015
and November 2015, Sterling raised the possibility—both internally and with Cohen—of Cohen
posting his real estate holdings, personal residence, or some other collateral as additional security
for the banks.!! According to these records, however, Cohen resisted these requests. From my
review of loan documents and records maintained by Sterling, I know that in or about November
2015, as a result of Cohen’s representation that he was not earning sufficient returns on his
medallions to cover monthly interest payments, Sterling and Melrose agreed to amend their loans
with Cohen by, among other things, reducing the interest rate Cohen paid to Melrose and extending
the loan maturity date to December 8, 2017.

h. Iknow from interviews with Sterling Employee-1 and Sterling Employee-2, as well
as emails I have reviewed, that in or about October 2016, Cohen told Sterling Employee-1 that _

Cohen had a potential buyer of his taxi medallions, named Fred Weingarten, who would agree to

 

‘1 Based on my review of property records, I know that on or about October 28, 2015, around
the time period when Sterling raised the possibility of Cohen posting his personal residence—
Subject Premises-1—as collateral, Cohen transferred Subject Premises-1 into atrust.

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assume Cohen’s debt with Sterling and Melrose. Based on my review of records maintained by
Sterling, as well as the interviews with Sterling Employee-1 and Sterling Employee-2 referenced
above, I know that by or before October 2016, Cohen had entered into negotiations to sell his sixteen
corporate taxi medallion entities to LC eee
for the balance of the loans, which at the time was $21,376,000. I know from my review of records

maintained by Sterling, and my participation in an interview with Sterling Employee-2, that as a

 

condition of the transfer of the medallion loans—and because Sterling was unfamiliar wir (I) ——-— ee

II siertne requested that Cohen make a substantial principal payment on the loan, of
approximately one million dollars, prior to the transfer. Cohen rejected this request initially. But
on or about January 31, 2017, Cohen told Sterling Employee-1, in sum and substance, that he would
make a one million dollar principal reduction payment in order to move forward with the medallion
transfer deal with |] Indeed, in an email sent by Cohen to Sterling Employee-2 on or
about February 22, 2017, Cohen confirmed that he “agreed to pay down 1 million from the loan
amount.”

i. Pursuant to the participation agreements between Sterling and Melrose, Sterling
was required to secure Melrose’s agreement to participate in the transfer of the taxi medallion debt
from Cohen to ~~. On or about April 17, 2017, Sterling sent a memorandum to
Melrose summarizing the terms of the proposed transaction, and noting the requirement that
Melrose agree to the terms. On or about May 2, 2017, Sterling Employee-1 told |
that Melrose had agreed to the deal in principle, and that Sterling would be sending the parties a
term sheet shortly.

j. In order for the banks to conduct diligence and evaluate the proposed transaction

fully, they requested financial information from the parties. On or about June 7, 2017, Sterling

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Employee-1 emailed Cohen to request an “ypdated personal financial statement,” completed.
jointly with Cohen’s wife, and Cohen’s most recent federal income tax return. On or about June
8, 2017, Cohen emailed Sterling Employee-| a Sterling personal financial statement form that had
been filled out by hand, which referenced a statement of financial condition, dated May 1, 2017
(the “May 2017 Financial Statement”) that was also attached. The May 2017 Financial Statement

included a cover letter from Cohen’s accountant, Jeffrey Getzel, stating, in sum and substance, that

 

the information in the statement came from Cohen and that Getzel had not confirmed its accuracy
or completeness. The May 2017 Financial Statement stated that Cohen had total assets of
$41,955,000, total liabilities of $39,130,000, and a net worth of $2,825,000. The May 2017
Financial Statement indicated that Cohen’s assets were comprised of $1,250,000 in cash,
$26,155,000 in closely held companies (such as the taxi medallion entities and his real estate
holdings), $3,200,000 in real estate investments, and his $11,000,000 personal residence.”

k. Based on my review of reports of law enforcement interviews of Sterling
Employee-1, I have learned that Sterling Employee-1 reviewed the May 2017 Financial Statement
with Cohen to, among other things, verify its accuracy, and Sterling Employee-1 asked Cohen about
specific line items on the financial statement, including the cash amount, value of medallions, and
total liabilities. Cohen stated to Sterling Employee-1, in sum and substance, that the May 2017
Financial Statement was accurate.

1, On or about August 16, 2017, Sterling Employee-1 emailed Cohen and Allen

Weingarten, attaching a non-binding term sheet memorializing the potential transaction between

 

12 Based on my review of Cohen’s financial statements, I know that the precipitous decline in
assets from his 2014 financial statement to his 2017 financial statements can be explained
primarily by reported depreciation in the value of Cohen’s real estate assets and medallion
investments.

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Sterling, Melrose, Cohen, of The term sheet included a cover letter addressed

to Cohen at Subject Premises-1. The parties negotiated the provisions of the term sheet and, on or

about September 5, 2017, Sterling Employee-I sent Dy nc Cohen a copy of the

executed term sheet. According to the term sheet, De borrow $20,000,000

from Sterling and Melrose, to be secured by the medallions that vas to acquire from

Cohen.

 

 

is what would remain after the $20,000,000 payment on the outstanding loan balance) would be
repaid by Cohen and the two banks, with Cohen paying fifty percent and the banks dividing the
remaining half of the balance. Based on my review of an internal Sterling credit memorandum,
dated October 4, 2017, the parties reached a preliminary agreement that Cohen would pay $632,956
of the remaining $1,265,912 principal loan balance, and Sterling and Melrose would absorb
$357,167 and $275,789, respectively, in the form of charge-offs. According to Sterling Employee-
1, Sterling was willing to divide the repayment of the outstanding principal balance—despite its
prior insistence that Cohen make a principal pay-down of at least one million dollars—because
Cohen represented on a telephone cal! with Sterling Employee-1, in sum and substance, that he had
insufficient liquidity to pay the full outstanding principal balance. As part of the agreement, Sterling
and Melrose also agreed to relieve Cohen and his wife of ‘the personal guarantees that they made
on behalf of the LLCs. Thus, after completing the I ansaction, Cohen would no longer
have had any outstanding obligations to Sterling or Melrose.

n. Based on my review of emails sent by Sterling employees, I have learned that
because the transaction between the parties was subject to full credit underwriting by Sterling and

Melrose (as well as Melrose’s regulators at NCUA), in August and September 2017, Sterling

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required and requested additional financial statements and tax returns for Cohen and [|
for its credit underwriting process. In response to Sterling’s requests, on or about September 25,
2017, Cohen emailed Sterling Employee-2 a copy of his 2016 tax return. The tax return listed
Cohen’s mailing address as Subject Premises-1. Additionally, on or about October 5, 2017, Cohen
re-sent Sterling Employee-2 a copy of his May 2017 Financial Statement. A day later, on October

6, 2017, Cohen emailed Sterling Employee-2 a statement of financial condition, dated September

 

30, 2017 (the “September 2017 Financial Statement”). ,

o. Like the May 2017 Financial Statement, the September 2017 Financial Statement
included a cover letter from Jeffrey Getzel, Cohen’s accountant, stating, in sum and substance, that
the information in the statement came from Cohen, and that Getzel had not confirmed its accuracy
or completeness. The September 2017 Financial Statement stated that Cohen had total assets of
$33,430,000, total liabilities of $45,630,000, and a negative net worth of $12,200,000. Notably,
unlike Cohen’s May 2017 Financial Statement, the September 2017 Financial Statement
represented to Sterling that Cohen had a negative net worth. The September 2017 Financial
Statement indicated that Cohen’s assets were comprised of $1,250,000 in cash, $17,630,000 in
closely held companies (including the taxi ‘medallion entities and his real estate holdings), M4

$3,200,000 in real estate investments, and his $11,000,000 personal residence (which, for the first

 

13 Based on my review of Cohen’s financial statements, I know that this further decline in
assets can be explained primarily by reported depreciation in the value of Cohen’s real estate assets
and medallion investments.

14 Notably, the September 2017 Financial Statement valued each of Cohen’s thirty-two New
York taxi medallions at approximately $180,187.50, which was considerably less than the
$650,000 valuation ascribed to each medallion in the Cohen-Weingarten term sheet.

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time, he indicated was held by a trust).!° The September 2017 Financial Statement included assets
and liabilities not held in Cohen’s name, such as various entities associated with his taxi medallions
and some of his real estate investment entities.

p. From my participation in an interview with Sterling Employee-2, and my review of
records maintained by Sterling, I have also learned that around the time Cohen provided Sterling

with these financial statements—i.e., in or around September 2017—Cohen stopped paying

 

 

 

monthly loan paymenits on his taxi medallion loans altogether. According to Sterling Employee- ~~

2, Cohen informed Sterling, in sum and substance, that he had insufficient funds to pay the monthly
principal and interest payments on his medallion loans. By in or about December 2017, Sterling
and Melrose had not been paid approximately $276,937.92 in monthly principal and interest
payments on the medallion loans. Based on Cohen’s financial condition as conveyed in the
September 2017 Financial Statement, and his delinquency in making payments to Sterling, among
other things, the bank’s credit underwriting committee determined (and memorialized in a
December 2017 memorandum) that the Cohen- [IY ransaction was favorable for the bank
— that is, that PO would be a better borrower than Cohen.

gq. On or about December 26, 2017, Sterling sent Cohen a demand letter requesting
the immediate receipt of past-due loan payments. The demand letter was addressed to Cohen at

Subject Premises-1. On December 29, 2017, Sterling sent Cohen a letter stating that he was in

default under the loans between Sterling and Cohen’s medallion corporations. The notice of

default was addressed to Cohen at Subject Premises-1. Cohen did not make an immediate payment

on the loans, but instead sent an e-mail to Sterling Employee-1 on or about January 24, 2018,

 

15 Based on my review of property records maintained by the City of New York, and my
participation in an interview with Getzel, I know that in 2015, Cohen transferred his residence to
a trust. He did not disclose that transaction to Getzel or Sterling until in or about September 2017.

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stating that during the closing of the Cohen- III xansaction, Cohen would “bring all
payments up to date as well as deposit the payoff differential.” Cohen also requested by email on
January 24, 2018, that at the closing of the Cohen- IY transaction, Sterling provide a letter
stating that all of Cohen’s debts have been satisfied and that Cohen’s personal guarantees of the

medallion loans had been terminated.

r. The Cohen-\ IY cansaction, however, did not close. On or about January

 

 

29, 2018, the [| attorney emailed attorneys for | Sterling and stated that “at this tiie
there is no deal with Michael Cohen. Some of the numbers have changed and we are not prepared
to go forward.”

s, Based on my participation in the interview with Sterling Employee-2 and my
review of records maintained by Sterling, I know that after the Cohen: sca! fell apart,
Sterling assigned Cohen’s loans to Sterling Employee-3, who specializes in. collecting on
defaulting loans. From my participation in an interview with Sterling Employee-3, my review of
telephone call notes taken by Sterling Employee-3, and my review of telephone records, I know
that Sterling Employee-3 spoke several times to Cohen on or about January 30, 2018 about paying
down and/or restructuring Cohen’s outstanding taxi medallion loans. On the calls, which in total
lasted more than an hour, Cohen stated in sum and substance that he did not have more than

$1,250,000 to pay toward the medallion loans. On the call, in the course of reviewing the failed

 

concn transaction, ‘Sterling Employee-3 questioned Cohen about the price

ae .: to have paid for each medallion, and whether there was a side agreement between
Cohen and ; Cohen denied that there was any side agreement with fr | .

t. On or about January 31, 2018, Cohen emailed Sterling Employee-3 and proposed

paying $500,000 to bring the loans current and $750,000 to bring the principal balance to

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$20,500,000. Cohen also suggested revised monthly interest payment amounts. The signature
block on the email indicated that Cohen’s address was the address for Subject Premises-2. On or
about January 31, 2018, Sterling Employee-3 responded to Cohen and stated, in sum and
substance, that Cohen would need to pay the entirety of the overdue payments and pay down the
principal balance of the loan to $20,000,000 (in total, a payment of approximately $1,750,000),

and would need to make larger monthly interest payments.

 

u:—On-or-about February-1,2018,-Cohen-emailed-Sterling Employee-3-and_proposed————.____—
“Tplayment of $1.250m which ALL can be used to pay down principal, if [Sterling] will waive
past due amounts,” but stated “I do NOT have more than the $1.250m.” (Emphasis in original.)
Cohen also stated, in sum and substance, that he had insufficient financial resources to post
additional collateral or pre-fund monthly payments. The signature block on the email indicated
that Cohen’s address was the address for Subject Premises-2. Based on my participation in an
interview with Sterling Employee-3, I have learned that since January 30, 2018, Sterling has
continued to renegotiate the medallion loans with Cohen based on Cohen’s representations about
his current financial position. In particular, according to Sterling Employee-3, Cohen and Sterling
have an agreement in principal to restructure Cohen’s loans based in part of Cohen’s agreement to
make a principal payment of approximately $750,000, to make a payment of $500,000 to become
cutrent on interest payments, and to post $192,000 in cash collateral for his future monthly
payments on the loan. Cohen also agreed to pledge an interest he had in a property. Sterling
Employee-3 has stated that had Cohen indicated he had more than $1,250,000 available to him,
Sterling would have, among other things, negotiated for a larger reduction to the principal amount

of the loan.

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(ii) Cohen Made Material Misrepresentations About His Finances to Banks

Cohen Concealed from Sterling and Melrose Cash Derived from Consulting Work

17. As set forth in detail below, despite multiple written and oral representations by
Cohen to Sterling (and, by extension, Melrose!®) that he had insufficient funds to pay down the
principal balance of the medallion loans, make monthly interest payments, or pay past-due

amounts, it appears that between 2016 and the present, Cohen opened and maintained bank

 

accounts at First Republic Bank (“First Republic”); and then received-millions-of-dollars- in-——---
consulting payments in these accounts, which he did not disclose to Sterling. Cohen set up these
accounts and received these funds during the very period in which he made disclosures to Sterling
about his personal finances (including his assets and liabilities) and his ability to make payments
on the medallion loans. In these disclosures to Sterling—and despite being asked about these bank
accounts by his accountant—Cohen misled the bank by claiming he had insufficient liquidity to
satisfy his obligations or meet the bank’s demands, while withholding information about these
ongoing revenue streams and liquid financial assets at First Republic.

18. Specifically, based on my review of documents and bank records produced
pursuant to a subpoena by First Republic, and my participation in and review of reports of
interviews with a First Republic sales manager (“First Republic Employee-1”) and a First Republic
senior managing director (“First Republic Employee-2”), I have learned, among other things, the

following:

 

16 Based on my review of a report of an interview conducted with an employee of Melrose, I
have learned that, pursuant to the participation agreement between Sterling and Melrose, Cohen’s
financial statements and other records in Sterling’s possession were forwarded to Melrose so that
Melrose could make a determination as to whether to approve of the Cohen-’
transaction. Based on my review of reports of interviews with Melrose employees, I also know
that Cohen called employees at Melrose regarding the Cohen- 9H transaction.

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a. Cohen and his wife have been customers of First Republic since approximately
June 2011. Cohen controls several checking and loan accounts at First Republic, some in his own
name and others in the names of corporate entities. According to First Republic’s know-your-
customer records on Cohen,” his primary physical address is the address for Subject Premises-1.
b.. On or about October 26, 2016, in Manhattan, New York, Cohen opened a new

checking account at First Republic in the name of Essential Consultants LLC (the “Essential

 

 

Consultants Account”). Cohen was the only authorized signatory on the account. According to
account opening documents, the primary address for Essential Consultants LLC was the address
for Subject Premises-1. When Cohen opened the Essential Consultants Account, First Republic
Employee-1 conducted an in-person interview of Cohen. In response to a series of know-your-
customer questions about the purpose of the account—the answers to which First Republic
Employee-1 entered into a form!8—Cohen stated, in sum and substance, that he was opening
Essential Consultants as a real estate consulting company to collect fees for investment consulting
work, and all of his consulting clients would be domestic individuals based in the United States.
Cohen also stated, in sum and substance, that his purpose in setting up the account was to keep the
revenue from his consulting business —which he said was not his main source of income—separate
from his personal finances. As set forth below, there is probable cause to believe that Cohen’s
statements about the intended purpose of the account and source of funds for the account were

false. Specifically, as described below, the account was not intended to receive—and does not

 

17 Certain financial institutions are required to conduct such procedures pursuant to the Bank
Secrecy Act and its implementing regulations. See 31 U.S.C, § 5318; 31 C.F.R. § 1020.220.

18 First Republic Employee-1 first filled out the form on the day he interviewed Cohen, October
26, 2016. On or about December 19, 2016, at the request of bank compliance personnel, First
Republic Employee-1 updated the form to add more detail about Cohen’s statements.

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appear to have received—money in connection with real estate consulting work; in addition, the
account has received substantial payments from foreign sources.

c. I know from my review of First Republic bank records that were scheduled by an
FBI forensic accountant that after Cohen opened the Essential Consultants Account, Cohen
received payments into that account from foreign businesses and entities that do not reflect the

stated client profile for the residential and commercial real-estate consulting services. Specifically,

 

 

from my review of the Essential Consultants Account schedule and public sources, T know the
following:

i. Beginning on or about January 31, 2017, Cohen began receiving monthly
payments of $83,333 into the Essential Consultants Account from an entity called Columbus Nova
LLC. According to public sources, Columbus Nova is an investment management firm controlled
by Renova Group, an industrial holding company based in Zurich, Switzerland that is controlled
by Russian national Viktor Vekselberg. From January 2017 to August 2017, the Essential
Consultants Account received seven payments totaling $583,332.98 from Columbus Nova LLC.

ii. Beginning on or about April 5, 2017, the Essential Consultants Account
began receiving payments from Novartis Investments, SARL, which I believe to be the in-house
financial subsidiary of the Swiss pharmaceutical company Novartis International AG (“Novartis”).
_ Between April 2017 and February 2018, the Essential Consultants Account received eleven wire
payments from a Swiss bank account held in the name of Novartis, each in the amount of $99,980,
for a total of $1,099,780.

iii. Beginning in or about April 2017, the Essential Consultants Account started
receiving wire payments from a bank account associated with the telecommunications company

AT&T Inc. (“AT&T”). Specifically, on or about April 14, 2017, AT&T sent $100,000 to the

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Essential Consultants Account and, from in or about June 2017 to in or about January 2018, the
Essential Consultants Account received ten $50,000 payments from AT&T. In total, AT&T sent
$600,000 to the Essential Consultants Account.
iv. Onor about May 10, 2017, June 9, 2017, July 10, 2017, and November 27,
2017, the Essential Consultants Account received four deposits in the amount $150,000 (totaling
$600,000) from a bank account in South Korea. The account holder from which the money was
sent_is_Korea-Aerospace_Industries_Ltd_CKAI”)... KALis-a-South_Korea-based _company_that_. ee
produces and sells fixed-wing aircraft, helicopter aircraft, and satellites to the United States
Department of Defense, among other customers.
| v. On or about May 22, 2017, the Essential Consultants Account received a
$150,000 deposit from an account at Kazkommertsbank, a Kazakhstani bank. The listed account
holder at Kazkommertsbank was a second Kazakhstani bank named BTA Bank, AO. A message
accompanying the wire payment indicated that the payment was a “monthly consulting fee as per

Inv BTA-101 DD May 10, 2017 consulting agreement W/N DD 08 05 2017 CNTR W/NDD

~ 08/05/2017.”

Vi. In total, from on or about January 31, 2017 to on or about February 1, 2018,
the Essential Consultants Account received approximately $3,033,112.98 in transfers and checks
from the aforementioned entities. As of on or about January 10, 2018, the balance in the Essential
Consultants Account was $1,369,474.23. Cohen’s withdrawals from the Essential Consultants
account reveal that it was used for largely personal purposes, including to pay, among other things,
American Express bills and fees from “the Core Club,” a private social club in New York.

d. On or about April 4, 2017, Cohen opened another new checking account at First

Republic, this one in the name of Michael D. Cohen & Associates, P.C. (the “MDC&A Account”).

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Cohen was the only authorized signatory on the account. According to account opening
documents, the primary address for MDC&A Account was the address for Subject Premises-I.
Among other things, the MDC&A Account received ten wire transfers and one check from an
account in the name of Squire Patton Boggs, a law firm. As noted above, Subject Premises-2 is
located inside the New York office of Squire Patton Boggs. In total, from on or about April 5,

2017, to on or about January 2, 2018, the MDC&A Account received $426,097.70 in deposits, and

 

 

the balance in the account as of January 2, 2018, was $344,54 1.35. As discussed below, Cohen
never disclosed any of the balance in the Essential Consultants or MDC&A accounts to Sterling
during the negotiations with respect to the |] transaction or the subsequent loan
refinancing negotiations, including in his May 2017 Financial Statement and September 2017
Financial Statement.

19. Based on my review of emails that were seized pursuant to the Cohen Email
Warrants, and my review of reports of interviews with employees of AT&T and Novartis, it
appears that the aforementioned payments to the Essential Consultants Account and MDC&A
Account were for political consulting work, including consulting for international clients on issues
pending before the Trump administration. Specifically, from my review of emails from the Cohen
Gmail Account, the Cohen MDCPC Account, and public sources, I have learned the following:

a. On or about April 28, 2017, Cohen sent an email to an individual whom I believe
is affiliated with KAI. In the email, Cohen attached a “Consulting Agreement” between KAI and
Essential Consultants dated as of about May 1, 2017. The agreement indicates that Essential
Consultants had the address of Subject Premises-2. The document indicates that Essential
Consultants would render “consulting and advisory services, as requested” by KAI, and that KAI

would pay Essential Consultants “a consulting fee of One Million Two Hundred Thousand

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($1,200,000.00) US Dollars,” disbursed through eight $150,000 installments between May 2017
and December 2017. I have also reviewed invoices in amounts of $150,000 that Cohen emailed
to an individual whom I believe is affiliated with KAI. At the top of the invoices the address listed
for Essential Consultants is the address for Subject Premises-2. |

b. On or about May 8, 2017, Cohen sent an email to an individual whom I believe is

affiliated with BTA Bank. The signature block on Cohen’s email listed “Essential Consultants

 

LLC” and “Michael D. Cohen & Associates, PC” and provided the address for Subjéct Premises-
2. In the email, Cohen attached a document purporting to be a “Consulting Agreement” between
BTA Bank and Essential Consultants dated as of about May 8, 2017. The agreement indicates that
Essential Consultants had the address of Subject Premises-2. The document indicates that
Essential Consultants would render “consulting and advisory services” to BTA Bank, and that
BTA Bank would pay Essential Consultants “a consulting fee of One Million Eight Hundred
Thousand ($1,800,000.00) US Dollars,” disbursed through monthly payments of $150,000. On or
about May 10, 2017, Cohen sent an email to an employee of BTA Bank, and attached to the email
an invoice to BTA Bank in the name of Essential Consultants, with the address of Subject Premises-
2. The invoice contemplated a $150,000 payment to Essential Consultants for a “monthly
consulting fee.”

c, On or about January 23, 2017, Cohen appears to have entered into a consulting
agreement with AT&T, which contemplates that Essential Consultants “shall render consulting and
advisory services to [AT&T]” and that AT&T would “advise [Essential Consultants] of those issues
and matters with respect to which AT&T Services desires [Essential Consultants]’s assistance and
advice.” The agreement indicates that Essential Consultants had the address of Subject Premises-

1. The contract calls for AT&T “to pay the Consultant for his services ...a consulting fee of Fifty

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Thousand ($50,000) Dollars . .. per month.” Based on my review of reports of interviews with
AT&T employees, I have learned that AT&T retained Cohen to consult on political issues,
including net neutrality, the merger between AT&T and Time Warner, and tax reform.

d. Onor about March 1, 2017, Cohen appears to have entered into a contract between
Novartis and Essential Consultants, which provides that Essential Consultants will “provide
consulting and advisory services to Novartis on matters that relate to the repeal and replacement of

the -Affordable—Care—Act--in—the US—and.-any—other—issues- mutually_agreeable—to—[Essential——____________..
Consultants] and Novartis.” The contract provides for a “consulting fee of One Million Two
Hundred Thousand ($1,200,000) US dollars,” to be paid to Essential Consultants in equal monthly
installments over the course of a year. Based on my review of reports of interviews with Novartis .
employees, I have learned that Novartis retained Cohen to provide political consulting services and
to gain access to relevant policymakers in the Trump Administration.

e. In or about February 2017, Cohen began negotiating the terms of a “strategic
alliance” with Squire Patton Boggs. On or about March 4, 2017, Squire Patton Boggs emailed
Cohen a “strategic alliance agreement.” Under the terms of the agreement, Cohen agreed to
generate business for the law firm, and Squire Patton Boggs agreed to pay to Cohen “an annual
strategic alliance fee of $500,000, payable in twelve (12) equal monthly installments.” Squire
Patton Boggs also agreed to provide Cohen with “dedicated and segregated office space in [Squire
Patton Boggs’s] New York and Washington D.C. offices, which office space shall be physically
separate from [Squire Patton Boggs’s] offices and have locked doors and its own locked file
cabinets.” On or about April 3, 2017, Squire Patton Boggs announced on its website that is had
formed a “strategic alliance” with Michael D. Cohen & Associates and would “jointly represent

clients.”

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20. Despite the significant amount of money that Cohen received into the Essential
Consultants Account and the MDC&A Account, and the cash balance in both accounts, Cohen did
not disclose that information to Sterling or Melrose. Specifically, based on my review of documents
provided by Getzel (as noted above, Cohen’s accountant at the time), my participation in an
interview with Getzel, and my review of notes a as:
have learned the following:

a._-In_or_about_-May-2017,.Getzel_met.with_Cohen_at_Subject-Premises-2._At_the

 

meeting, Cohen told Getzel, in sum and substance, that he had set up a law practice called Michael
D. Cohen & Associates P.C., and a consulting company called Essential Consultants LLC. Cohen
told Getzel, in sum and substance, that he expected to earn $75,000 per month in connection with
his law practice, and that he expected gross revenues for the consulting business to be between five
and six million dollars annually.

b. In or about October 2017, if not earlier, Getzel was preparing a personal financial
statement for Cohen. On or about October 6, 2017, Getzel sent an email to Cohen in which Getzel
wrote that “[a|ttached is a draft of the new PFS as of September 30, 2017” and attached a draft of
the September 2017 Financial Statement. The draft statement reflected that as of September 30,
2017, Cohen had only $1,250,000 in cash, total assets of approximately $33,430,000 (comprised of
taxi medallion interests, real estate interests, and his personal residence and property), and liabilities
of approximately $45,630,000, leaving him purportedly over $12 million in debt. Inthe same email,
Getzel questioned Cohen, in sum and substance, about the fact that the financial statement did not
list any value associated with either the Essential Consultants Account or the MDC&A Account:

“wie did not add any value for you[r] two operating entities - Michael D. Cohen & Associates

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POC [sic] and Essential Consultants LLC. Please advise whether or not these should be disclosed
and what value.”

c. Onor about October 6, 2017, Cohen called Getzel by telephone—which is reflected
on toll records for Cohen’s cellphone—and told Getzel, in sum and substance, not to include
Essential Consultants or MDC&A in the September 2017 Financial Statement because they had no

value. On or about October 6, 2017, following the call with Getzel, Cohen, using the Cohen

 

] Account, responded to Getzel’s email with the answer “[[]ooks good to me.” Cohen never directed
Getzel to make any changes to his cash position as listed in the September 2017 Financial
Statement. Ina letter dated October 6, 2017, addressed to Getzel, Cohen stated, “I have reviewed
the attached statement of financial condition and find it to be correct and consistent with the
representations that I made to your firm. The attached is an accurate reflection of my assets,
liabilities and net worth (deficit) as of September 30, 2017.” Attached to that letter was the
September 2017 Financial Statement, which, as noted above, was then transmitted to Sterling in
connection with the proposed taxi medallion transaction between Sterling, Cohen, and

21. Based on my review of a report of an interview with Sterling Employee-1, I have
learned that Cohen did not disclose his income stream from Essential Consultants to Sterling
Employee-1 or, to his knowledge, anyone else at Sterling. According to Sterling Employee-1,
knowledge of such an income stream would have affected Sterling’s demands during the
negotiations, particularly with respect to the amount of a principal paydown of Cohen’s debt.

Cohen Understated His Available Cash
22. In addition to withholding the existence of his Essential Consultants income from
Sterling and Melrose, it appears that Cohen also substantially understated his available cash and

cash equivalents in his financial disclosures. Specifically, I know from my review of the September

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2017 Financial Statement that Cohen provided to Sterling that Cohen represented that he had
$1,250,000 in cash as of September 30, 2017. I also know that on or about January 30, 2018, in a
‘telephone call with Sterling Employee-3, and on February 1, 2018, in an email to Sterling
Employee-3, Cohen represented that he did not have more than $1,250,000 in cash. But, from my
review of a summary of bank records that were scheduled by forensic accountants, I have learned

that Cohen had approximately $5,000,000 in cash and cash equivalents as of September 30, 2017.

 

Additionally, as of February 1, 2018, Cohen had approximately $6,000,000-in-cash-and cash” a
equivalents. Specifically, from my review of the account schedule and bank records, I have learned
the following:

a. Cohen has three checking and/or savings accounts at Capital One Bank, one of
which is in his wife’s name. As of September 30, 2017, Cohen had $1,105,680.35 in his savings
account, and $1,262,982.29 in total in the three accounts at Capital One Bank. As of February 1,
2018, Cohen had a total of $1,389,245.78 in these accounts.

b. Cohen has three accounts at Morgan Stanley in his name. As of September 30,
2017, the combined total in cash and cash equivalents in those three accounts was $1,270,600.41.
As of February 1, 2018, Cohen had $1,284.996.13 in these accounts.

c. As of September 30, 2017, Cohen had $260,689.18 in an account at Signature Bank.
As of February 1, 2018, Cohen had $261,517.55 in this account.

d. In addition to the Essential Consultants Account and MDC&A Account at First
Republic, Cohen also had two joint checking accounts with Laura Cohen at First Republic. In total,
as of September 30, 2017, Cohen had at least $1,876,209.27 in total in his four accounts at First

Republic. As of February 1, 2018, Cohen had $3,332,992.95 in these accounts.

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e. Cohen has an account at Bethpage Credit Union with $25,931.39 in it as of
September 30, 2017.

f. As of September 30, 2017, Cohen had $17,542.54 in accounts at Sterling.

g. Cohen has two accounts at TD Bank—one in his name and one held jointly with his
wife. Cohen also has a safety deposit box at TD Bank—Subject Premises-3. The safety deposit

box was opened on December 13, 2017 in the names of Michael and Laura Cohen.

 

h-—Intotal;-as of September 30,2017, Cohen had at least $4,713,935.08 in his accounts— a
at Capital One Bank, City National Bank, Signature Bank, Sterling Bank, Bethpage Credit Union,
First Republic, and Morgan Stanley. As of February 1, 2018, Cohen had $6,268,732.59 in his
accounts at Capital One Bank, City National Bank, Signature Bank, First Republic, and Morgan
Stanley.”

23. Accordingly, based on the foregoing, it appears that Cohen’s written and oral
representations to Sterling and Melrose that he did not have more than $1,250,000 were false, and
that Cohen withheld information regarding approximately $5 million in funds from Sterling and
Melrose in order to secure favorable terms in his renegotiation of his medallion loan. Based on
my participation in an interview with Sterling Employee-2, and my review of reports of interviews
with Sterling Employee-1 and two Melrose employees, it is my understanding that that Sterling
and Melrose would view Cohen’s understating of his assets as material to its decision whether to

renegotiate Cohen’s medallion loans and on what terms, or to its decision whether approve of the

transfer of those loans to |]

19 Based on my review of the account schedules described above, I know that, as of the date of this
affidavit, the account balances for TD Bank have not yet been included in the schedule for either
date and the account balances for Sterling National Bank and Bethpage Credit Union have not yet
been included in the schedule for February 1, 2018. Thus, to the extent that these accounts have
positive balances, Cohen’s total balances in fact were even higher on these dates.

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Cohen Has Unreported Interest Income
24. It appears that Cohen also hid from Sterling interest income that he was receiving in
connection with a six million dollar loan he made to another individual.. Specifically, I know from
my review of the May 2017 Financial Statement and September 2017 Financial Statement that
Cohen provided to Sterling that Cohen did not disclose that he had made a note receivable in the

amount of approximately $6 million, or that he was earning approximately $60,000 per month in —

~—~trterest income in connection with that toan> But; from my review-of a summary-of bank- records

that were reviewed by another law enforcement agent, my review of property records and
documents obtained pursuant to the Cohen Email Warrants, and my participation in an interview
with Getzel, I have learned the following:

a. Based on my review of property records, I have learned that on or about March 12,
2012, Cohen agreed to lend yh eprrcximately
$2,000,000.2° It appears that the promissory note was unsecured by any real property. On or about
April 28, 2014, Cohen and amended the promissory note, and restructured the loan to
increase the principal amount to approximately $5,000,000. Under the terms of the amended
promissory note, the loan was secured is apartment in Sunny Isles Beach, Florida. On
or about April 8, 2015, Cohen and I estates the promissory note to increase the principal
amount to $6,000,000.”

b. Based on my review of a copy of the restated note, which was obtained pursuant to

the Cohen Email Warrants, I have learned that under the terms of the amended and restated

 

1 leamed trom Geel thet [as

21 The note states that the loan is iii husband and wife,

jointly and severally. For ease of reference, I refer simply to ‘i herein.

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promissory note, Cohen’s loan to ay: an interest-only loan, and that the principal balance
of the loan bears interest at an annual rate of 12.25 percent. I also know that the amended and
restated promissory note includes a schedule of payments that require : pay Cohen
approximately $61,250 per month beginning in April 2015 and ending in April 2019. The note also
requires that i eray the principal balance of $6,000,000 on April 28, 2019.

c. Based on my review of bank records, I have learned that, consistent with the terms

 

of the amended and restated promissory note, I as tratemonttty- payments~of———-—
approximately $61,250 since April 2015. Specifically, based on my review of records maintained
by Capital One Bank, I have learned that from April 2015 to October 2015, Cohen received checks

from an entity calc 5) totaling $61,250 per month, which he

deposited into his personal bank account at Capital One Bank.” It appears from my review of bank

records and public sources thal is the owner of Po

From my review of records maintained by Capital One Bank, I have also learned that since October
2015, Cohen has received checks from an entity called [| totaling
$61,250 per month, which he deposited into his personal bank account at Capital One Bank. It

appears from my review of bank records and public sources nail is also the owner of ;

as In total, it appears that Cohen receives approximately $735,000 per year
in interest payments from |]

d. Based on my review of Cohen’s May 2017 and September 2017 Financial
Statements, my review of his 2015 and 2016 tax returns obtained via subpoena and from the Cohen

Email Warrants, and my participation in an interview with Getzel, I have learned that Cohen did

 

22 In April 2015, Cohen received a pro-rated payment. For all months thereafter, the total payment
equaled $61,250, but [ often made the payment in multiple checks.

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not disclose this interest income he was receiving from yy. Sterling or Melrose, or list it
on his tax returns. I have also learned that while this interest income is taxable, Cohen did not tell
Getzel—his accountant—about the income, and Getzel only learned about the income because he
began doing -~ axes in 2017.7

Accordingly, based on the foregoing, it appears that Cohen’s representations to

Sterling and Melrose that he did not have more than $1,250,000 were false, and that Cohen

 

 

- withheld information relating to the interest income he is receiving from yy: order to

secure favorable terms in his renegotiation of his medallion loan.

Cohen Had a Side Agreement wil

26. As set forth in detail below, during the course of Cohen’s negotiations to sell his

 

interest in taxi medallions and the associated debt to [| Cohen not only
misrepresented his financial position to Sterling, but also failed to disclose a side agreement he
had negotiated with it appears that areed to pay an above-market price
for Cohen’s taxi cab medallions, and in exchange, Cohen agreed to pay I oproximacery
$3 .8 million in cash. Specifically, from my review of documents produced pursuant to a subpoena
by Sterling, and my participation in interviews with Sterling Employee-1, Sterling Employee-2,
‘ and Sterling Employee-3, I have learned, among other things, the following: |

a. On or about September 5, 2017, an executed term sheet was circulated by Sterling
Employee-1 to Cohen and il The term sheet listed Cohen’s address as the address for

Subject Premises-1. According to the term shect TI: would borrow $20,000,000

from Sterling and Melrose, to be secured by the medallions that I was to acquire from

 

23 Accordingly, this interest income—which should have been reported as such on Cohen’s tax
returns—is included herein in calculations of Cohen’s true cash position.

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Cohen. At a price of $20 million for thirty-two taxi medallions, the proposed transaction valued
each medallion as worth $625,000. The term sheet also contemplated a $1,265,913 pay-down of
the principal balance of the loan. The term sheet made no mention of a $3.8 million payment from
Cohen to P| or any other form of payment or financial transaction between the parties.

b. Additionally, an internal Sterling credit memorandum, dated October 4, 2017,

describing the terms of the concn cansacsion and the new loan to Po did

 

not mention any payments from Cohen to P| including a $3.8 million payment:~The~~———
memorandum also noted that the “loan amount of $20MM indicates a $625M purchase price per
medallion” but “it is recognized that this is not in line with current market values.” Indeed,
according to an internal Sterling memorandum dated February 5, 2018, in the month of January
2018, taxi medallions sold for amounts ranging from $120,000 to $372,000. According to Sterling
Employee-1 and Sterling Employee-2, they were never told thal agreed to a purchase
price of $625,000 in exchange for a lump sum payment from Cohen, or that Cohen would make

- any payment to 7

c. On or about January 30, 2018, Sterling Employee-3 asked Cohen whether Cohen

had a side agreement with IIo pay yy sum of money for entering into the

medallion transaction. Sterling Employee-3 asked Cohen about such an arrangement because,

according to Sterling Employee-3, the price that yy. paying for each medallion

appeared to be well above the market price. Cohen stated, in sum and substance, that he had no

side agreement—and never had a side agreement—with F

27. While Cohen and cia not disclose any payment from Cohen to
ia communications with Sterling, it appears that such a payment was contemplated.

Indeed, based on my review of records maintained by Getzel, and my participation in an interview

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with Getzel, I have learned the following, in substance and in part, regarding the proposed side
payment from Cohen to [|
a. On or about September 19, 2017, Getzel prepared a memorandum for Cohen .
entitled, “Sale of NYC Medallion Entities and Debt Assumption” (the “Getzel Memorandum”).
The Getzel Memorandum summarized the proposed transaction between Cohen and

in part, as follows: “Michael and Laura Cohen will transfer ownership of their 13 NYC medallion

 

entities to a Buyer who will assume their bank indebtedness, upon the [Cohens’] paying down the ~~~
debt portfolio of the 13 entities by $500,000 and a cash payment to the Buyer of $3,800,000.”

b. According to Getzel, Cohen told him the parameters of the deal, including the
payment of $3,800,000 to ye Getzel did not know where Cohen was going to obtain
$3,800,000 to pay [ As noted above, Cohen had more than $5,000,000 in cash and
cash equivalents as of September 2017, but had only disclosed in his September 2017 Financial
Statement that he had $1.25 million in cash.

28. Based on my review of records maintained by Sterling (as well as Melrose, the bank
with the participating interest in the loans) and reports of interviews of representatives of Sterling
(and Melrose), I have seen no evidence that Sterling, Melrose, or any other financial institution
involved in the potential deal with Cohen and as aware of the planned $3.8 million
side payment from Cohen to [

. The Illegal Campaign Contribution Scheme
99. The USAO and FBI are also investigating a criminal violation of campaign finance

laws by Michael Cohen. As set forth below, there is probable cause to believe that Cohen made

 

24 The reference to thirteen medallions appears to be an error by Getzel. Cohen and his wife
together owned sixteen corporations, which in turn owned 32 taxi medallions.

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an excessive in-kind contribution to the presidential election campaign of then-candidate Donald
Trump in the form of a $130,000 payment to Stephanie Clifford, an individual who was rumored
to have had an extramarital affair with Trump, in exchange for her agreement not to disclose that
alleged affair. As set forth below, there is probable cause to believe that this payment was intended
to keep Clifford from making public statements about the rumored affair on the eve of the 2016

presidential election, and thus constitutes a campaign contribution in excess of the applicable limit.

 

 

30. From my review of public sources, T have learned: the following:

a. In or around October 2011, there were rumors published on the gossip websites
TheDirty.com that Trump had had an extramarital affair with Clifford, an adult film actress whose
screen name is Stormy Daniels, in or around July 2006. In or about October 2011, Life & Style
Magazine, a tabloid sold in supermarkets, also published an article, based on the report in
TheDirty.com, alleging an affair had occurred between Trump and Clifford. Both Trump and
Clifford, through their representatives, issued denials in response to the articles.

b. Specifically, on or about October 11, 2011, Keith Davidson, who identified himself
as Clifford’s attorney, sent a cease and desist letter to TheDirty.com, demanding that the article
regarding Trump and Clifford be removed from the website. Additionally, on or about October
12, 2011, Cohen, who was then Executive Vice-President and Special Counsel to the Trump
Organization, stated to E/ News that “[t]he totally untrue and ridiculous story... emanated from
a sleazy and disgusting website. ... The Trump Organization and Donald J. Trump will be bringing
a lawsuit .. . [and] Mr. Trump and the Trump Organization would like to thank and commend
Stormy Daniels and her attorneys for their honesty and swift actions.”

31. On or about June 16, 2015, Trump formally launched his 2016 presidential

campaign. On or about May 4, 2016, Trump became the presumptive Republican Party nominee

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for president, and on July 19, 2016, Trump officially became the nominee. Based on my review
of public sources, I have learned that while it does not appear that Cohen had an official title as
part of the Trump campaign, on multiple occasions Cohen made public statements on behalf of
Trump or his campaign. For instance, on or about August 18, 2016, Cohen appeared on CNN to
defend Trump’s polling numbers.

32. On or about October 7, 2016, The Washington Post published online a video and

accompanying audio in-which Trump-referred_to-women-in-what-the_article.described_as “vulgar—————____.
terms” in a 2005 conversation with Billy Bush, who was then the host of Access Hollywood. The
following day, on October 8, 2016, Trump appeared in a video in which he stated, among other
things, “I’ve said and done things I regret and words released today on this more than a decade old
video are one of them. Anyone who knows me knows these words don’t reflect who I am. I said
it. I was wrong and I apologize.” Based on my review of public sources, I also know that
representatives of the Trump Campaign stated, in sum and substance, that the Access Hollywood
comment was an old and isolated incident.

33. Based on my review of public sources, including an article published in Slate
magazine by a reporter who interviewed Clifford, I have learned that around this same time, in or
about October 2016, Clifford was in discussions with ABC’s Good Morning America show and
Slate magazine, among other media sources, to provide these media outlets with her statement
about her alleged relationship with Trump. According to the article’ in Slate, which the author
based on conversations with Clifford over the telephone and by text message, Clifford wanted to
be paid for her story or be paid by Trump not to disclose her accusation. As Cohen summarized

in a 2018 email obtained pursuant to the Cohen Email Warrants: “In October 2016, I was contacted

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by counsel for Ms. Clifford stating that news outlets, including ABC’ News, were pursuing the 2011
story of an alleged affair between Mr. Trump and Ms. Clifford.”

34. From my review of telephone toll records” and information produced pursuant to
the iCloud Warrant and Cohen Email Warrants, I have learned that in the days following the Access
Hollywood video, Cohen exchanged a series of calls, text messages, and emails with Keith

Davidson, who was then Clifford’s attorney, David Pecker and Dylan Howard of American Media,

Inc- (“AME”), the-publisher of the-National Enquirer?6 Trump;-and-Hope Hicks; who-was-then-———

press secretary for Trump’s presidential campaign. Based on the timing of these calls, and the
content: of the text messages and emails, I believe that at least some of these communications
concerned the need to prevent Clifford from going public, particularly in the wake of the Access
Hollywood story. In particular, I have learned the following:

a. On October 8, 2016, at approximately 7:20 p.m., Cohen received a call from Hicks.
Sixteen seconds into the call, Trump joined the call, and the call continued for over four minutes?’

Based on the toll records that the USAO has obtained to date, I believe that this was the first call

 

25 My attribution of certain telephone numbers to certain individuals as described in this
affidavit is based on my review of the vCard (virtual contact file) and text messages obtained from
Cohen’s telephone pursuant to the iCloud Warrant.

26 Pecker is President of AMI and, according to his own statements in public reports, a personal
friend of Trump. Howard is the chief content officer of AMI, who according to public records
reports directly to Pecker.

21T believe that Trump joined the call between Cohen and Hicks based on my review of toll
records. Specifically, I know that a call was initiated between Cohen’s telephone number and
Trump’s telephone number at the same time the records indicate that Cohen was talking to Hicks.
After the Cohen-Trump call was initiated, it lasted the same period of time as the Cohen-Hicks
call. Additionally, the toll records indicate a “-1” and then Trump’s telephone number, which,
based on my training and experience, means that the call was either transferred to Trump, or that
Trump was added to the call as a conference or three-way call participant. In addition, based on
my conversations with an FBI agent who has interviewed Hicks, I have learned that Hicks stated,
in substance, that to the best of her recollection, she did not learn about the allegations made by
Clifford until early November 2016. Hicks was not specifically asked about this three-way call.

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Cohen had received or made to Hicks in at least multiple weeks, and that Cohen and Trump spoke
about once a month prior to this date — specifically, prior to this call on October 8, 2016, Cohen
and Trump had spoken once in May, once in June, once in July, zero times in August, and twice
in September.

b. Approximately ten minutes after the call ended, Hicks and Cohen spoke again for

about two minutes.

 

c. At 7:39 p.m., immediately after the second call with Hicks ended,-Cohen called ~~~
David Pecker (as noted above, the President of American Media Inc., or AMI) and they connected
for thirty seconds. Approximately four minutes later, Cohen called Pecker again and they spoke
for more than a minute. Three minutes after ending his call with Pecker, Cohen received a call
from Dylan Howard (as noted above, the Chief Content Officer of AMI), and they spoke for
approximately a minute. According to toll records, it does not appear that Cohen and Howard
spoke regularly prior to October 8, 2016, as it had been over a month since they had called each
other. |

d. At7:56 p.m., approximately eight minutes after his call with Howard ended, Cohen
called Hicks and they connected for two minutes. At approximately the same time this call ended,
Cohen received a call from Pecker, and they spoke for about two minutes. At 8:03 p.m., about
three minutes after ending his call with Pecker, Cohen called Trump, and they spoke for nearly
eight minutes.

e. At 8:39 p.m. and 8:57 p.m., Cohen received calls from Howard and spoke to him
for about four and six minutes, respectively. At 9:13 p.m., about ten minutes after Cohen and
Howard hung up from the second of these calls, Howard sent Cohen a text message that said:

“Reith will do it. Let’s reconvene tomorrow.” Based on my involvement in this investigation, I

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believe that when Howard wrote “Keith,” he was referring to Keith Davidson, the attorney for
Stephanie Clifford. At 3:31 a.m., now on October 9, 2016, Cohen sent Howard a text message in
response that said: “Thank you.” Hight minutes later, Cohen sent Howard a text message that said:
“Resolution Consultants LLC. is the name of the entity I formed a week ago. Whenever you wake,
please call my cell.”

f. The following day, on October 10, 2016, at 10:58 a.m., Howard sent a text message

 

to Cohen and Davidson, which stated: *éith/Michael: connecting you both in regards to that

business opportunity. Spoke to the client this AM and they’re confirmed to proceed with the
opportunity. Thanks. Dylan. Over to you two.” At 12:25 p.m., Davidson sent Cohen a text message
that stated: “Michael — if we are ever going to close this deal — In my opinion, it needs to be today.
Keith.” Davidson and Cohen then spoke by phone for about three minutes. Based on my
participation in this investigation, I believe that when Howard wrote that the “client” was
“confirmed to proceed with the opportunity,” he was referring to Clifford’s agreement in principle
to accept money from Cohen in exchange for her agreement not to discuss any prior affair with
then-candidate Trump.”*

g. Based on my review of records obtained pursuant to the Cohen Email Warrants, |
know that on or about October 10, 2016, Clifford and Davidson appear to have signed a “side letter
agreement” that stated it was an exhibit to a “confidential settlement agreement and mutual

release” between “Peggy Peterson” and “David Dennison.” The’ purpose of the document,

 

28 As set forth below, AMI was also involved in a payment to model Karen McDougal.
However, because these communications were in close temporal proximity to the events involving
the negotiation of a payment to Clifford, the execution of the agreement with Clifford, and the
payment of money to Clifford, I believe that these communications were related to Clifford.
Additionally, based on my review of public statements by McDougal, I have learned that she
negotiated an agreement with AMI several months prior to these communications between Cohen
and Pecker, Howard, and Davidson.

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according to the agreement, was to define the “true name and identity” of persons named by
pseudonym in “confidential settlement agreement and mutual release.” The side letter agreement
specifies the identity of “Peggy Peterson” to be Clifford, but the space for “Dennison’s” identity
is blank. The agreement also includes a signature page for “Peterson,” “Dennison,” and their
attorneys. The signature page is signed by “Peterson” and his attorney, Davidson, but the

document is unsigned by “Dennison” and his attorney. Based on my involvement in this

 

 

investigation, I believe that Davidson sent Cohen this partially-signed “side letter agreement” in
order to facilitate the closing of a deal between Davidson’s client and Cohen or his client on
October 10, 2016.

35. It appears that on October 13, 2016, and the days that followed, Cohen took steps
to complete a transaction with Davidson, including attempting to open an account from which
Cohen could transfer funds to Davidson. Specifically, from my review of toll records, information
obtained pursuant to the iCloud Warrant and Cohen Email Warrants, records maintained by First
Republic, as well as my participation in interviews with First Republic employees, I have learned
the following:

a. Onthe morning of October 13,2016, at 8:54 a.m., Cohen sent Pecker a text message
that stated: “I need to talk to you.” At 9:06 a.m., Pecker sent a text message to Cohen that stated,
“T called please call me back.” The tolls between Cohen and Pecker do not show a telephone call
between 8:54 a.m. and 9:06 a.m. However, based on my review of text messages, I have learned
that Cohen and Pecker communicate with each other over Signal, which is an encrypted
communications cellphone application that allows users to send encrypted text messages and make

encrypted calls.

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b. At9:23 a.m., Cohen sent an email that stated “call me” to First Republic Employee-
2. The email attached documents from the Secretary of State of Delaware indicating that Cohen
had formed a limited liability company called “Resolution Consultants LLC” on September 30,
2016. As noted above, “Resolution Consultants” is the name of the entity that Cohen had told

Howard he had formed recently after Howard said Davidson would “do it.” At 10:44 a.m., Cohen

called First Republic Employee-2 and told him, in sum and substance, that he needed an account

+ in the-name-of “Resolution-Consultants”opened immediately, and_that he did not-want.an-address —

on the checks written out of the account. Later that day, another employee at First Republic
emailed Cohen account opening paperwork to complete. Cohen returned the account opening
documents partially completed, but failed to provide a copy of his driver’s license or passport, and
did not respond to the employee’s question of how he wanted to fund the account. As a result, the
account was never opened.

c. On October 17, 2016, Cohen incorporated Essential Consultants LLC in Delaware.
That same day, he filed paperwork to dissolve Resolution Consultants LLC.

36. Despite these steps taken by Cohen, it appears that the negotiation between Cohen
and Davidson was not progressing sufficiently fast enough for Davidson or his client, Clifford,
and they threatened to go public with Clifford’s allegations just days before the presidential
election. Specifically, based on my review of toll records, information obtained pursuant to the
iCloud Warrant, and public sources, I know the following:

a. According to an article in The Washington Post, which quoted emails sent from
Cohen’s email account hosted by the Trump Organization, on October 17, 2016, Davidson emailed

Cohen and threatened to cancel the aforementioned “settlement agreement” by the end of the day

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if Cohen did not complete the transaction2® According to the article, Davidson sent Cohen a
second email later in the day that stated in part, “Please be advised that my client deems her
settlement agreement canceled and void.” At 4:00 p.m. that day, Cohen called Davidson and they
spoke for over five minutes.

b. Cohen’s 4:00 p.m. call with Davidson and/or Davidson’s threats to cancel the

“settlement agreement” appear to have touched off a flurry of communications about the settlement

 

i. At 4:43 p.m., Howard sent Cohen a text message that stated: “I’m told
they’re going with DailyMail. Are you aware?” One minute later, Cohen responded: “Call me.”
Based on my involvement in this investigation, I understand Howard’s text to mean that he heard
that Clifford was going to take her story of an extramarital affair with Trump to the Daily Mail, a
tabloid newspaper.

il. At 4:45 p.m., Howard called Cohen and they spoke for over two minutes.
Moments later, Davidson and Cohen spoke for about two minutes.

iii. At 5:03 p.m., Cohen attempted to call Trump, but the call only lasted eight
seconds. This was Cohen’s first call after he spoke with Davidson.

iv. At 5:25 p.m., Cohen texted Howard, stating: “Well???”

v. At 6:44 p.m., Howard responded to Cohen’s text, stating: “Not taking my
calls.’ Cohen responded one minute later: “You’re kidding. Who are you trying to reach?”

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Howard responded one minute later: “The ‘agent. Based on my involvement in this

 

29 Due to the partially covert nature of the investigation to this date, the USAO has not requested
documents from the Trump Organization or Davidson, and thus does not possess the email
referenced in this article. ,

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investigation, [ understand Howard’s text messages to mean that he attempted to contact Davidson
about the matter involving Clifford, but that Davidson was not taking Howard’s calls.

vi. At 6:49 p.m., Cohen called Howard and they spoke for nearly four minutes.

c. The following day, on October 18, 2016, TheSmokingGun.com, a website that

publishes legal documents and mugshots, published an article called: “Donald Trump and the Porn

Superstar,” which alleged that Trump had an extramarital affair with Clifford.. However, the

article noted that Clifford had declined to comment.

 

37, On or about October 25, 2016, the communications between Cohen, Davidson,
Howard and Pecker picked up again, apparently concerning a transaction involving Clifford.
Specifically, based on my review of toll records, information obtained pursuant to the Cohen Email
Warrants and iCloud Warrant, as well as my review of public sources, I have learned the following:

a. On October 25, 2016, at 6:09 p.m., Howard sent Cohen a text message stating:
“Keith calling you urgently. We have to coordinate something on the matter he’s calling you about
or its [sic] could look awfully bad for everyone.” One minute later, Davidson sent Cohen a text
message stating “Call me.” Cohen and Davidson called each other several times over the next half
hour but appear not to have connected. At 6:42 p.m., Cohen and Davidson spoke for about eight
minutes. At 7:11 p.m., they spoke for another two minutes.

b. The next morning, on or about October 26, 2016, at 8:26 a.m., Cohen called Trump
and spoke to him for approximately three minutes. At 8:34 a.m., Cohen called Trump again and
connected for a minute and a half.

c. At approximately 9:04 a.m.—less than thirty minutes after speaking with Trump—
Cohen sent two emails to the person who had incorporated Resolution Consultants and Essential

Consultants for him, and stated “can you send me asap the filing receipt” and then, in the second

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email, “for Essential Consultants LLC.” That person responded with the filing receipt two minutes
later at 9:06 a.m. and with the certification of formation 23 minutes later, at 9:27 a.m.

d. Shortly after that, Cohen contacted First Republic Employee-2 and told him, in sum
and substance, that he decided not to open an account in the name of “Resolution Consulting” and
instead would be opening a real estate consulting company in the name of “Essential Consultants.”

Cohen told First Republic Employee-2 that he was at Trump Tower, and wanted to go to a First

 

Republic branch across the street to open the account, so First Republic Employee-2 called First
Republic Employee-1, a preferred banker at that branch, assist Cohen. At 11:00 a.m., First
Republic Employee-! called Cohen. I know from my participation in an interview with First
Republic Employee-1, that around the time of the call he went to Cohen’s office in Trump Tower—
on the same floor as the Trump Organization—and went through account opening questions,
including know your customer questions, with Cohen. In response to a series of know-your-
customer questions about the purpose of the account—the answers to which First Republic
Employee-1 entered into a form—Cohen stated, in sum and substance, that he was opening
_ Essential Consultants as a real estate consulting company to collect fees for investment consulting
work, and all of his consulting clients would be domestic individuals based in the United States.
Based. on my review of records obtained from First Republic, it appears that this account (the
“Fssential Consultants Account”) was created at a time between 11:00 a.m. and 1:00 p.m.

e. At 1:47 p.m., Cohen called Davidson and they spoke for approximately two
minutes. At approximately 1:49 p.m., Davidson emailed Cohen wiring instructions for an attorney
client trust account at City National Bank.

f. After the Essential Consultants Account was opened on October 26, 2016, Cohen

transferred $131,000 from a home equity line of credit that Cohen had at First Republic to the

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Essential Consultants Account. Following the transfer, at approximately 4:15 p.m. on October 26,
2016, First Republic Employee-2’s assistant emailed Cohen at his Trump Organization email
address to tell him that the funds had been deposited into the Essential Consultants Account.
Cohen forwarded that email to the Cohen Gmail Account and then forwarded it to Davidson.

g. At 6:37 p.m., Cohen asked Pecker by text message, “Can we speak? Important.”

Cohen called Pecker at 6:49 p.m. and connected for thirty seconds. At 6:57 p.m., Cohen sent

 

Howard a text message, stating: “Please call me. Important.” Cohen called Howard at‘7:00 pam
and connected for about thirty seconds. At 7:06 p.m., Cohen called Pecker again and they spoke
for nearly thirteen minutes. At 7:24 p.m., Howard sent a text message to Cohen that: “He said
he’d call me back in 20 minutes. I told him what you are asking for his [sic] reasonable. [ll get
it sorted.” Approximately an hour later, at 8:23 p.m., Howard told Cohen by text message to
“check your Gmail for email from my private account.” In an email sent at 8:23 p.m. by Howard
to Cohen and Davidson, with the subject line “Confirmation,” Howard stated, “Thank you both
for chatting with me earlier. Confirming agreement on: - Executed agreement, hand-signed by
Keith’s client and returned via overnight or same-day FedEx to Michael, - Change of agreement
to reflect the correct LLC, - Transfer of funds on Thursday AM to be held in escrow until receipt
of agreement.” After receiving that email, at approximately 8:27 p.m., Cohen asked Howard by
text message, “Can you and David [Pecker] give me a call? Howard promptly responded: “David
is not around I think. [’ll call.” At 8:28 p.m., Howard called Cohen and they spoke for three
minutes.

38. On October 27, 2016, Cohen made a payment to Davidson of $130,000—with the
funds intended for Clifford—for the purpose of securing her ongoing silence with respect to the

allegations that she had an extramarital affair with Trump. Specifically, based on my review of

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toll records, bank records, and information obtained pursuant to the iCloud Warrant and Cohen
Email Warrants, J have learned the following:

a. At 9:47 a.m., Cohen sent Davidson an email, stating: “Keith, kindly confirm that
the wire received today, October 27, 2016 shall be held by you in your attorney’s trust account
until such time as directed for release by me, in writing. Additionally, please ensure that all

paperwork contains the correct name of Essential Consultants LLC. I thank you in advance for

 

“your assistance and look forward to hearing from you later.”

b. At approximately 10:01 a.m., according to records provided by First Republic
Bank, Cohen completed paperwork to wire $130,000 from the Essential Consultants Account—
which had been funded a day prior from Cohen’s home equity line of credit—to the attorney client
trust account at City National Bank that Davidson had specified in the wiring instructions he sent
to Cohen. The wire transfer was made shortly thereafter.

c. At 10:02 a.m., Davidson responded to Cohen’s email from 9:47 a.m., stating: “I
confirm that { will work in good faith & that no funds shall be disbursed unless & until the plaintiff
personally signs all necessary settlement paperwork, (the form of which will match the prior
agreement). The settlement docs will name the correct corporation, (Essential Consultants LLC).
Plaintiff's signature will be notarized and returned to you via FedEx. Only after you receive FedEx
will I disburse. Fair?”

d. At 10:50 a.m., First Republic Employee-1 sent Cohen an email confirming that the
payment had been sent and providing him with the wire number.

39, On October 28, 2016, and the days that followed, Cohen finalized the transaction
with Davidson. Specifically, based on my review of toll records, information obtained pursuant

to the iCloud Warrant, public sources, and bank records, I know the following:

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a. On October 28, 2016, at 11:48 a.m., Cohen spoke to Trump for approximately five
minutes. Beginning at 1:21 p.m., Cohen attempted a series of phone calls to Davidson, Pecker,
and Howard throughout the day, although it appears he may only have connected with Howard.

b. Later that day, at approximately 7:01 p.m., Davidson stated to Cohen by text
message that “all is AOK. I should have signed, notarized docs on Monday. You should have
them on Tuesday.” Cohen thanked him and said “I hope we are good.” Davidson responded, “J

assure you. We are very good.” Howard also texted Cohen at 7:08 p.m., “Keith [Davidson] says

 

_ we are good.” Cohen then responded “OK” to Howard and “Excellent” to Davidson. At
approximately 10:30 p.m., Cohen spoke to Hicks for three minutes.

c. On October 31, 2016, Cohen called Howard at 8:22 p.m. and they spoke for over
three minutes. At 8:32 p.m., Cohen received text messages from both Howard and Davidson.
Howard said: “You'll have paperwork tomorrow says KD.” Davidson said: “We are AOK. You
will be receiving a package tomorrow.” Cohen responded “Thank you” to Howard and “Thanks
Keith. Will call you then” to Davidson. From my involvement in this investigation, I believe
Davidson was referring to a signed nondisclosure agreement when he told Cohen that he would
receive a package.

d. Based on my review of court filings that became public in 2018, I have learned that
on or about October 28, 2016, “EC, LLC and/or David Dennison” entered into a “confidential
settlement agreement and mutual release” with “Peggy Peterson,” pursuant to which “Peterson”
agreed not to disclose certain “confidential information pertaining to [Dennison]” in exchange for
$130,000. The agreement provided that “EC, LLC” would wire the funds to “Peterson’s” attorney,

who would then transfer funds to “Peterson.” Cohen signed the agreement on behalf of “EC,

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LLC.” The agreement stated that the address for “EC, LLC,” which was later referred to in the
agreement as “Essential Consultants, LLC,” was Cohen’s residence.

e. Consistent with the “confidential settlement agreement and mutual release,” on or
about November 1, 2016, Davidson transferred $96,645 from his attorney client trust account at
City National Bank to a bank account in Clifford’s name. The wire had the annotation “net

settlement.” On the same day, at approximately 9:48 a.m. Davidson sent Cohen a text message

 

with a picture of a FedEx delivery confirmation, stating that at approximately 9:09 a.m.a package
shipped by Davidson the previous day had arrived for Cohen at his Trump Organization
address. On the same day, at approximately 6:14 p.m., Davidson sent Cohen an email with an
audio file attached and said “Give this a lesson [sic] and then call me.” The audio attachment was
titled “Stormy.mp3” and was a five-minute recording of Davidson interviewing Clifford about
recent public allegations made by an adult film star named Jessica Drake regarding her alleged
past affair with Trump; in the recording, Clifford explained the reasons she believed that Drake
was not credible. Less than an hour later, at approximately 7:05 p.m., Cohen called Trump, but it
appears that they did not connect. Cohen then called a telephone number belonging to Kellyanne
Conway, who at the time was Trump’s campaign manager. They did not connect. At
approximately 7:44 p.m., however, Cohen received a return call from Conway, which lasted for
approximately six minutes.

AO. On November 4, 2016, just three days after the Clifford transaction was completed
and just four days before the presidential election, the Wall Street Journal published an article
alleging that the National Enquirer had “Shielded Donald Trump” from allegations by Playboy
model Karen McDougal that she and Trump had an affair. The article alleged that AMI had agreed

to pay McDougal to bury her story. McDougal, like Clifford, had been represented by Davidson.

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Based on my review of toll records, information obtained pursuant to the Cohen Email Warrants
and iCloud Warrant, and public sources, it appears that Cohen spoke frequently to Davidson,
Howard, Pecker, and Hicks around the time of this article’s publication—just days before Election
Day—about the importance of preventing the McDougal and Clifford stories from gaining national
traction. Specifically, I have learned the following:

a. Between 4:30 and 8:00 p.m. on November 4, Cohen communicated several times

with Howard, Pecker and Davidson. For instance, at approximately 4:49 p.m., Cohen sent Howard

 

a text message with a screenshot of an email forwarded to him by another Trump Organization
lawyer. The forwarded email was from a Wall Street Journal reporter, and asked for comment
from Trump and/or the campaign on the story. Cohen also spoke with Hicks several times,
including shortly before and/or after calls with Pecker, Howard and Davidson. Indeed, at
‘approximately 7:33 p.m., using two different cellphones subscribed to him, Cohen appears to have
been talking to Davidson and Hicks at the same time.

b. At approximately 8:51 p.m., Cohen sent Howard a message, stating: “She’s being
really difficult with giving Keith a statement. Basically went into hiding and unreachable.” One
minute later, Howard responded: “Ill ask him again. We just need her to disappear.” Cohen
responded, “She definitely disappeared but refuses to give a statement and Keith cannot push her.”
At approximately 8:55 p.m., Howard responded to Cohen’s text: “Let’s let the dust settle. We don’t
want to push her over the edge. She’s on side at present and we have a solid position and a plausible
position that she is rightfully employed as a columnist.” Based on my involvement in this
investigation, I believe Cohen and Howard were referring to Karen McDougal when they were

discussing “she” and “her.” Additionally, I believe Howard’s statement that “we have ...a

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plausible position that she is rightfully employed as a columnist” was a reference to the fact that
AMI had given McDougal payments for her role as a purported columnist for the company.

c. At approximately 8:58 p.m. on November 4, 2016, Howard attempted to reassure
Cohen about the effect of the forthcoming Wall Street Journal article, texting, “I think it’ll be ok
pal. I think it’ll fade into the distance.” Cohen responded, “He’s pissed.” Howard wrote back,
“I’m pissed! You’re pissed. Pecker is pissed. Keith is pissed. Not much we can do.” Based on

my involvement in this investigation, I believe Cohen was referring to Trump when he stated “he’s

 

pissed.” Cohen asked Howard at approximately 9:00 p.m. how the Wall Street Journal could
publish its article if “everyone denies.” Howard responded, “Because there is the payment from
AML. It looks suspicious at best.”

d. At approximately 9:03 p.m., Hicks called Cohen and they spoke for two minutes.
At approximately 9:11 p.m., Cohen called Howard and spoke to him for five minutes. At
approximately 9:15 p.m., Hicks called Cohen and they spoke for nearly seven minutes. Again,
Cohen used different phones for these two éalls, such that he appears to have been on both calls
for about a minute of overlap. At approximately 9:32 p.m., Cohen texted Pecker, “The boss just
tried calling you. Are you free?” A minute later, Cohen texted Howard, “Is there a way to find
David quickly?”

e. At approximately 9:50 p.m., the Wall Street Journal article was published online.
Howard and Hicks both sent web links for the article to Cohen. Over the next half hour, Cohen
and Howard exchanged several text messages commenting on how the story came across. The next
morning on November 5, 2016, at approximately 7:35 a.m., Cohen texted Hicks, “So far I see only
6 stories. Getting little to no traction.” Hicks responded, “Same. Keep praying!! It’s working!”

Cohen wrote back, “Even CNN not talking about it. No one believes it and if necessary, I have a

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statement by Storm denying everything and contradicting the other porn stars statement. I wouldn’t
use it now or even discuss with him as no one is talking about this or cares!” Based on my
involvement in this investigation, I believe Cohen was referring to the above-referenced recorded
audio statement by Clifford that he obtained from Davidson, and was stating that such a statement
could be used to influence potential negative media relating to Trump, but was unnecessary at that
time. Based on a text message from Hicks to Cohen, I believe that later that morning, Pecker

= spoke-to-Frump.

 

 

41. | Onor about November 8, 2016, Trump won the election for President of the United
States.

42. On or about January 12, 2018, the Wall Street Journal first reported that Cohen
atranged a payment to Clifford. On or about January 22, 2018, Common Cause, a government
watchdog group, filed a complaint with the Federal Election Commission, alleging that Cohen had
violated campaign finance laws by making the payment to Clifford. Based on my review public
sources following that report, as well as emails obtained pursuant to the Cohen Email Warrants, I
have learned the following:

a. On or about January 23, 2018, the day after Common Cause filed its complaint,
Cohen began emailing himself drafts of statements describing his payment to Clifford.
Additionally, on January 23, 2018, Cohen emailed the following draft of that statement to an
individual who appears to be writing a book on Cohen’s behalf:
In October 2016, I was contacted by counsel for Ms. Clifford stating that
news outlets, including ABC news, were pursuing the 2011 story of an
alleged affair between Mr. Trump and Ms. Clifford. Despite the fact that
both parties had already denied the allegation, as Mr. Trump’s longtime
special counsel and protector, I took it upon myself to match the offer and
keep the story from breaking. 1 knew the allegation to be false, but J am

also a realist who understands that just because something is false doesn’t
mean that it doesn’t create harm and damage. I could not allow this to

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occur. 1 negotiated a non-disclosure agreement with Ms. Clifford’s

counsel and tendered the funds. I did this through my Delaware LLC and

transferred personal funds to cover the agreement. I was not reimbursed

any monies from Mr. Trump, the Trump Organization, any third party or

the Presidential campaign. At no point did I ever advise Mr. Trump of my

communications or actions regarding this agreement. As outlandish and

unusual as this may appear, the Trumps have been like family to me for

over a decade. It’s what you do for family.
(Emphasis added.) Based on my involvement in this investigation, I believe that the above email
is an acknowledgement that the allegation of the affair had existed for some time (“...the 2011
story...”), but that Cohen was motivated to “keep the story from breaking” again in October 2016.

b. On or about February 13, 2018, Cohen said in a statement to The New York Times
that “Neither the Trump Organization nor the Trump campaign was a party to the transaction with
Ms. Clifford. The payment to Ms. Clifford was lawful, and was not a campaign contribution or a
campaign expenditure by anyone.” Cohen declined to answer follow-up questions including
whether Trump had been aware of the payment, why Cohen made the payment, or whether similar
payments had been made to other people.
c. Onor about February 14,2018, Cohen was asked by The New York Times whether

Trump had reimbursed him, whether he and Trump had made any arrangement at the time of the
payment, or whether he had made payments to other women. Cohen stated in response, “I can’t
get into any of that.” On or about February 14, 2018, Cohen also stated to The Washington Post
that: “In a private transaction in 2016, I used my own personal funds to facilitate a payment of
$130,000 to Ms. Stephanie Clifford. Neither the Trump Organization nor the Trump campaign
was a party to the transaction with Ms. Clifford, and neither reimbursed me for the payment, either
directly or indirectly.”

43, On or about March 9, 2018, Cohen stated to ABC News that “the funds were taken

from my home equity line and transferted internally to my LLC account in the same bank.”

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44. Accordingly, for the foregoing reasons, there is probable cause to believe that
Cohen committed violations of the Campaign Finance Offenses by making an in-kind contribution
to Trump or the Trump campaign in the form of a $130,000 payment to Clifford on the eve of the
election. Indeed, while he denies having given an unlawful contribution, in his own statements
Cohen has admitted that he paid $130,000 of his “personal funds” to Clifford and that the payment

occurred less than two weeks before the election, as Trump was facing negative media allegations

 

about his behavior toward women, even though allegations of an affair between” Trump and
Clifford existed since 2011. In addition, the communication records set forth above make evident
that Cohen communicated with members of the Trump campaign about his negotiation with
Clifford’s attorney and the need to preclude Clifford from making a statement that would have
reflected negatively on the candidate in advance of the forthcoming election.

C. Probable Cause Justifying Search of the Subject Premises and Subject Devices

45, Based on the foregoing, my review of records produced pursuant to subpoenas and
the Cohen Email Warrants, and the iCloud Warrant, and my training and experience, there is
probable cause to believe that the Subject Premises and Subject Devices have been used in |
furtherance of the Subject Offenses and are likely to contain instrumentalities, evidence, and fruits
of the Subject Offenses. Specifically, there is probable cause to believe that Cohen permanently
resides at Subject Premises-1 and, at least in part, works at both Subject Premises-1 and Subject
Premises-2, and that those locations contain evidence relating to the Sterling taxi medallion
transaction, Cohen’s assets, Cohen’s consulting work for Essential Consultants LLC, and his
payment to Clifford. Additionally, there is probable cause to believe that Subject Premises-3
contains evidence of Cohen’s assets and his payment to Clifford. Finally, there is probable cause

to believe that Subject Premises-4, in which Cohen is temporarily residing, contains electronic

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devices, including Subject Device-1 and Subject Device-2, which, in turn, contain evidence of the
Subject Offenses, such as evidence relating to the Sterling taxi medallion transaction, Cohen’s
assets, Cohen’s consulting work for Essential Consultants LLC, and his payment to Clifford.

46. First, there is probable cause to believe that Cohen lives and operates his businesses,
at least in part, at Subject Premises-1. Specifically, from my review of property records, | know
that Michael Cohen and Laura Cohen own (in trust) Subject Premises-1. From my review of

a - Cohen’s-tax-returnssLknow-he-lists-his-primary-residence-as-Subject-Premises-1—Additionally, —-—_____.-
from my review of emails produced pursuant to the Cohen Email Warrants, I know that Cohen
routinely refers to Subject Premises-1 as his home. For example, on or about September 28, 2017
and October 6, 2017, Cohen emailed individuals that his home address is the address for Subject
Premises-1. I also know from my review of emails that Cohen receives package delivery
notifications that list Cohen’s address as the address for Subject Premises-1. Cohen has also
provided the address of Subject Premises-1 as the address for Essential Consultants and Michael
D. Cohen & Associates, P.C. For example, the certificates of incorporation and account opening
documents at First Republic for both entities list their addresses as the address for Subject
Premises-1. See supra {J 18(b), 18(d). The consulting agreement between Essential Consultants
and AT&T also indicated the address for Essential Consultants is the address for Subject Premises-
1. See supra { 19(c).

47. There is also probable cause to believe that Subject Premises-1 is likely to contain
instrumentalities, evidence, and fruits of the Subject Offenses. Specifically, from my review of
emails produced pursuant to subpoena and the Cohen Email Warrants and iCloud Warrant, as well

as my training and experience, I know the following:

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a. According to records maintained by Sterling, the address for all of Cohen’s taxi
medallion LLCs is the address for Subject Premises-1. See supra { 16(c). Additionally, the
medallion loan documents indicate that any mailings related to the loans should be sent to Subject
Premises-1. See id. Based on my training and experience, as well as my review of public sources,
I know that individuals keep records of properties and assets in which they have ownership

interests. Accordingly, I submit that Subject Premises-1 likely contains evidence of Cohen’s

—--__.... ownership-of-the-taxi-medallion-LL Cs, _the-revenue-that _those-medallions—generate,-and-the

transaction with Sterling in 2014 to re-finance the medallion loans that were then with Capital One
Bank.

b, From my review of records maintained by Sterling, I also know that Sterling
addressed documents relating to the ae and Cohen’s attempts to modify the
terms of the medallion loans to Subject Premises-1. For instance, Sterling addressed the
transaction term sheet, see supra J 16(1), and its demand letter and notice of default, see supra
16(q), to Subject Premises-1. Accordingly, Subject Premises-1 likely contains evidence
concerning the I earsaction and Cohen’s negotiations with Sterling. Some of those
records—such as records relating to a payment from Cohen toll were concealed from
Sterling and cannot be obtained via subpoena to Sterling. Additionally, even where documents
were sent to Cohen by Sterling (and therefore are available from Sterling via subpoena), the fact
that they may be found in Subject Premises-1 will be relevant to Cohen’s possession or knowledge
of the documents.

c. From my review of records maintained by First Republic, I know that Cohen
provided the address for Subject Premises-1 as the mailing addresses for the Essential Consultants

Account and MDC&A Account. See supra JJ 18(b), 18(e). Accordingly, it is likely that Subject

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Premises-1 contains records relating to the Essential Consultants Account and MDC&A Account,
including, among other things, account opening documents, bank statements, documents provided
as part of the know-your-customer process, any notes made by Cohen when he was opening the
accounts, wire transfer records, and canceled checks. Even where these records can be obtained
from First Republic, the fact that they may be found in Subject Premises-1 will be relevant to,

among other things, Cohen’s ownership of the accounts, or his knowledge of transactions or the

 

existence of funds in accounts.

d. Based on my review of records maintained by Capital One Bank, TD Bank, Morgan
Stanley, City National Bank, Signature Bank, and Bethpage Credit Union, | know that Cohen
provided the address for Subject Premises-1 as the mailing for his accounts at each of these
financial institutions. Accordingly, it is likely that Subject Premises-1 contains records relating to
these accounts, including, among other things, bank statements that list account balances. The
existence of these records in Subject Premises-1 will be relevant to, among other things, Cohen’s
ownership of the accounts and his knowledge of the balances in these accounts.

ce. Additionally, Cohen may have records of other bank accounts or assets that were
not disclosed to Sterling and are not presently known by law enforcement. For example, as
described above, Cohen has received interest income since 2015 that he has not disclosed to
Sterling or paid taxes on. Also, on Cohen’s August 2014 Financial Statement, see supra { 16(e),
he disclosed $10,000,000 in “investments in overseas entities.2° The value of these investments
was omitted from subsequent financial statements. However, for the reasons outlined above, there

is probable cause to believe that Cohen omitted the value of those investments from his 2017

 

30 Based on my participation in an interview with Sterling Employee-3, I have learned that
Cohen told Sterling Employee-3 that the reference to “investments in overseas entities” on his
014 Financial Statement was to serve merely as a “placeholder” for potential future investments.

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financial statements in order to understate his assets. As Subject Premises-1 is Cohen’s primary
residence and he uses Subject Premises-1 as the mailing address for bank records, there is probable
cause to believe that account statements for unknown bank accounts or assets concealed from
Sterling are likely to be found in Subject Premises-1.

f£, Based on my review of records maintained, by AT&T and produced pursuant to the

Cohen Email Warrants, I know that the address Cohen provided to AT&T for Essential Consultants

 

is the address for Subject Premises-1. See supra J 19(c). Therefore, there is probable-cause- to
believe that Subject Premises-1 will contain evidence concerning the operation of Essential
Consultants or money that Cohen received, through Essential Consultants, from AT&T.
Additionally, because Cohen used the address for Subject Premises-1 for at least one consulting
arrangement involving Essential Consultants, there is probable cause to believe that Subject
Premises-1 may contain records of other consulting arrangements that Cohen, through Essential
Consultants, has with other individuals or entities.

g. Based on my review of records maintained by Getzel’s accounting firm, and emails
produced pursuant to the Cohen Email Warrants, I have learned that Getzel’s accounting firm sent
documents to Subject Premises-1 and used the address for Subject Premises-1 as the address listed
on Cohen’s personal and corporate tax returns. See supra § 16(n). For instance, on or about
October 6, 2017, an employee at Getzel’s accounting firm emailed Cohen that she had sent
Cohen’s September 2017 Financial Statement by FedEx to Cohen’s attention. Accordingly,
Cohen’s tax records are likely to be found in Subject Premises-1.

h. Based on my review of bank records and publicly-available documents, I know that
Cohen used $130,000 from a home equity line of credit on Subject Premises-1 to pay Clifford. 1

also know that on the settlement and nondisclosure agreement between “Peggy Peterson” and “EC,

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LLC,” the address for Essential Consultants is Subject Premises-1. Accordingly, Subject
Premises-1 is likely to contain evidence of the Campaign Finance Offenses, including settlement
and nondisclosure agreements, payment records, written and email correspondence, and records
pertaining to the home equity line of credit.

i. Based on my review of emails produced pursuant to the Cohen Email Warrants and
iCloud Warrant, I know that Cohen used at least one Apple iPhone, an Apple iPad Mini, and a
MacBook Pro to-access his iCloud-account:-Based-on my review-of location records provided-by———--——_
Apple pursuant to the iCloud Warrant, I know that electronic devices linked to Cohen’s iCloud
account were used at Subject Premises-1 to, among other things, place telephone calls and backup
files to Cohen’s iCloud account. Accordingly, there is probable cause to believe that Subject
Premises-1 contains electronic devices, including certain Apple products, that for reasons
discussed below are likely to contain evidence of the Subject Offenses.

j. Based on my review of emails produced pursuant to the Cohen Email Warrants, I
understand that Subject Premises-1 recently sustained water damage to certain parts of the
premises, and that Cohen has engaged contractors to perform certain remediation work on the
premises. In addition, as set forth above, I believe that Cohen and his family are temporarily
residing at Subject Premises-4 in the Loew’s Regency Hotel, which is approximately two blocks
from Subject Premises-1. However, based on my review of a work order sent to Cohen’s email
by a contractor, I understand that the first phase of the work order called for the contractor to “Pack
& Remove all items & furnishings in Living Room, Kitchen, Sons Room & Dining Room” and
store them off-site. In addition, based on my review of drawings sent to Cohen by the contractor,
it appears that the work is primarily being done in these rooms. Thus, I believe that the

construction — to the extent it is still ongoing — would not necessarily have caused Cohen to move

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all documents or evidence responsive to the warrant out of Subject Premises-1, because it does not
appear that work is being done to the portion of Subject Premises-1, such as a home office or
Cohen’s own room, where such documents or evidence would most likely be found.?

48. Second, there is probable cause to believe that Cohen uses Subject Premises-2 as
office space, and also that Subject Premises-2 contains certain electronic devices. Specifically,

from my review of the “strategic alliance agreement” between Squire Patton Boggs and Cohen,

_______-and-my-review_of.the_press-release_on.Squire-Patton Boggs’s-website, I know-that_Cohen has an.

office at Subject Premises-2. See supra f{ 18(d), 19(e). Indeed, I have learned that pursuant to
Cohen’s agreement with the law firm, he has “dedicated and segregated office space” in Squire
Patton Boggs’s offices on the 23rd floor of 30 Rockefeller Plaza, and that the space is “physically
separate” from the firm’s offices and has “locked doors and its own locked file cabinets.” See
supra J 19(e). Additionally, I know that under the terms of the agreement, Cohen agreed to
“arrange for [his] own computer server system that is not connected to [Squire Patton Boggs’s]
computer network system.” I know from my participation in an interview with Getzel, who met
Cohen at Subject Premises-2 in 2017, that Subject Premises-2 is an office with a door, it appears
to be used only by Cohen, and it contains, among other things, a computer and paper files.
According to Getzel, when Getzel saw Cohen at Subject Premises-2, he had two cellular
telephones in Subject Premises-2. I also know from my review of emails produced pursuant to the

Cohen Email Warrants that Cohen uses the address for Subject Premises-2 in the signature block

 

31 As noted below, based on my training and experience, I believe that individuals who travel or
stay in hotels for short-term periods commonly bring some items with them, such as portable
electronic devices or sensitive items, meaning that Cohen has likely taken some evidence from
Subject Premises-1 to Subject Premises-4. Nevertheless, given the temporary nature of Cohen’s
stay at Subject Premises-4 and the scope of the work being done at Subject Premises-1, I believe
it is unlikely that Cohen has taken all evidence that would be subject to seizure out of Subject
Premises-1.

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on his emails. Based on my review of notes of a call between Cohen and First Republic Employee-
2 (which notes were taken by another First Republic employee, who was participating in the call
and taking notes), I know that, on or about November 15, 2017, Cohen told First Republic
Employee-2 that he had a new office at 30 Rock. Moreover, I know from an article in Vanity Fair
published on or about February 14, 2018, that Cohen was interviewed by the magazine in Subject
Premises-2 in or about February 2018.

49 There is also_probable.cause_to_believe that Subject.Premises-2 is likely to contain.
instrumentalities, evidence, and fruits of the Subject Offenses. Specifically, from my review of
- emails produced pursuant to subpoena and the Cohen Email Warrants and iCloud Warrant, as well

as my training and experience, I know the following:

a. According to records maintained by Sterling, when Cohen was emailing with
Sterling Employee-3 in 2018 about a modification to his existing loan from Sterling, Cohen listed
his address in his email as the address for Subject Premises-2. See supra § 16(t), 16(u).
Accordingly, Subject Premises-2 likely contains evidence concerning Cohen’s loan modification
negotiations with Sterling.

b. Based on my review of records obtained pursuant to the Cohen Email Warrants, I
know that the address Cohen provided to KAI and BTA for Essential Consultants is the address
for Subject Premises-2. See supra J{ 19(a), 19(b). Therefore, there is probable cause to believe
that Subject Premises-2 will contain evidence concerning the operation of Essential Consultants
or money that Cohen received, through Essential Consultants, from KAI and BTA, among other
entities with which Cohen had a consulting arrangement. Additionally, based on my review of
emails sent in 2018 that were obtained pursuant to the Cohen Email Warrants, I know that Cohen

continues to enter into consulting arrangements through Essential Consultants, and agreements

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relating to those arrangements indicate that Essential Consultants is located at Subject Premises-
2. Additionally, because Cohen used the address for Subject Premises-2 for multiple consulting
arrangements involving Essential Consultants, there is probable cause to believe that Subject
Premises-2 may contain records of other unknown consulting arrangements that Cohen has with
other individuals or entities.

c. Based on my review of records maintained by Getzel’s accounting firm, and emails

 

produced pursuant to the Cohen Email Warrants, as well as my participation in an interview with
Getzel, I have learned that Getzel visited Subject Premises-2 to meet with Cohen about his taxes.
See supra J 20(a). At that meeting, Getzel discussed with Cohen whether Cohen should disclose
Essential Consultants on his personal financial statement to banks. According, there is probable
cause to believe that Subject Premises-2 will contain evidence relating to Cohen’s taxes, or notes
of his conversation with Getzel. Moreover, the fact that Cohen used Subject Premises-2 for a
meeting regarding his personal financial matters provides probable cause to believe that documents
and information regarding his finances will be found in Subject Premises-2.

d. Based on my participation in an interview with Getzel, I know that Cohen maintains
a computer in Subject Premises-2. From my review of IP data produced pursuant to a subpoena
and pen register to Google, it appears that Cohen is logging into his Gmail account from Subject
Premises-2. Accordingly, there is probable cause to believe that Subject Premises-2 contains
electronic devices, that for reasons discussed below are likely to contain evidence of the Subject
Offenses.

e. Based upon my training and experience, I have learned that individuals who
maintain businesses typically keep records relating to the business—such as contracts with clients

and records of payments—at the business’ identified location. I am not aware of any addresses

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associated with Essential Consultants other than Subject Premises-1 and Subject Premises-2.
Accordingly, there is probable cause to believe that Subject Premises-1 and Subject Premises-2
will contain business records for Essential Consultants.

50. Third, there is probable cause to believe that Subject Premises-3 is likely to contain
instrumentalities, evidence, and fruits of the Subject Offenses. In particular:

a. As noted above, Cohen has two bank accounts at TD Bank. In or about November

 

2017, as Cohen was receiving substantial income from consulting work—which he didnot disclose
to Sterling—Cohen opened the safety deposit box at TD Bank, which is Subject Premises-3. In
light of the aforementioned evidence that Cohen conceals assets, including assets at TD Bank,
there is probable cause to believe that Subject Premises-3 contains financial assets, objects of value
and/or documents relating to such assets or objects of value that Cohen likely did not disclose to
Sterling. Indeed, based on my training and experience, I am aware that people often conceal
valuable items in safety deposit boxes. Accordingly, there is probable cause to believe that Subject
Premises-3 will contain evidence of the Bank Fraud Offenses.

b. In addition, based on my review of records produced by TD Bank, I know that
Cohen has accessed the vault in which Subject Premises-3 is stored on two occasions. The first
such occasion was on November 10, 2017. Cohen signed into the vault at approximately 5:35 and
out of vault at approximately 5:39 on that date22 Based on my review of toll records, I know that
Cohen’s first call after he signed out of the safety deposit box — approximately 45 minutes later —
was to Keith Davidson. Specifically, at 6:25 p.m. Cohen called Davidson and they spoke for less

than a minute; three minutes later, Davidson called Cohen back and they spoke for approximately

 

22 The entry in the bank’s log book does not specify whether this is A.M. or P.M. However, I infer
that it is P.M., because it is unlikely that the bank would have been open at 5:35 and 5:39 a.m.

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22 minutes. The second such occasion was on February 2, 2018, which is during the time period
numerous media reports about Cohen’s payment to Clifford were being published, and is one day’
after it appears that Cohen’s family moved into Subject Premises-4, as set forth above. The timing
of Cohen’s two visits to the vault — one shortly before a call to Keith Davidson andthe other around .
the time that Cohen came under media scrutiny in connection with the payment to Davidson’s

client — gives rise to probable cause to believe that Subject Premises-3 will contain evidence of the

 

Campaign Finance Offenses, such as documents relevant to the Cohen 3 dealing with Keith
Davidson and the payment to Clifford, including documents or evidence that Cohen did not want
to leave in his apartment where construction workers would be present.”

51. Based on my review of emails obtained pursuant to the Cohen Email Warrants and
cell phone location information, I believe that Cohen is temporarily residing in Subject Premises-
4. See supra §{ 3(d). There is also probable cause to believe that Subject Premises-4 contains
instrumentalities and evidence of the Subject Offenses, including, the following:

a. As described above, it appears that Cohen moved to Subject Premises-4 on or about
February 1, 2018, at which time numerous media reports about Cohen’s involvement in the
payment to Clifford were being published. See supra {4 3(d). During this time same period,
Cohen was frequently corresponding with the media and sent himself and others statements about
his involvement in the payment to Clifford. See supra {{ 42(a)-(c). Thus, there is probable cause
that Cohen took at least some documents and evidence relating to the Clifford payment with him

to Subject Premises-4, in order to reference and consult them in connection with these statements.

 

33 As noted above, Subject Premises-3 is approximately five inches by ten inches. Accordingly, I
do not believe that it would fit a large volume of hard copy documents; however, a small number
of hard-copy documents, or a large volume of documents contained on a flash drive or other
portable storage device, would fit in Subject Premises-3.

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b. As described above, at the time Cohen moved to Subject Premises-4, he was also
in the midst of ongoing negotiations with Sterling regarding the refinancing of his medallion debts.
For example, on January 30, 2018, Cohen had a lengthy phone call with Sterling Employee-3 about
his finances and the proposed restructuring, and on February 1, 2018, Cohen sent an email to
Sterling Employee-3 claiming that he did not have more than $1.25 million in cash. See supra 4
16(u). Thus, there is probable cause that Cohen took at least some documents and evidence relating

to his ongoing ne gotiations with Sterling with him: to- Subject Premises-4, in order to-reference-and———__——-_+ ~
consult them in connection with these negotiations.

c. As described above, Cohen used at least one Apple iPhone, an Apple iPad Mini,
and a MacBook Pro to access his iCloud account, and these electronic devices linked to Cohen’s
iCloud account were used at Subject Premises-1 — Cohens’ permanent residence — to place
telephone calls and backup files to Cohen’s iCloud account. See supra §{47G). Although Cohen’s
stay at Subject Premises-4 is temporary, based on my training and experience I know that
individuals who travel or stay in hotels for short-term periods commonly bring portable electronic
devices with them, such as cellular phones, tablets, or laptops. Accordingly, there is probable
cause to believe that Subject Premises-4, where Cohen currently appears to be residing, contains
electronic devices, including Subject Device-1, Subject Device-2, and/or certain Apple products,
that for the reasons discussed herein are likely to contain evidence of the Subject Offenses.

d. Moreover, as set forth above, based on cellphone location information I know that
Subject Device-1 and Subject Device-2 were in the vicinity of Subject Premises-4 as recently as
this morning (April 8, 2018). As set forth above, there is probable cause to believe that Cohen
used the Subject Devices in furtherance of the Subject Offenses, including to communicate with

Sterling employees regarding the medallion transaction, with First Republic employees regarding

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the Essential Consultants Account, with his accountant regarding his finances, and with
individuals, such as Davidson, Howard and Pecker, involved in the $130,000 payment to Clifford.

52. Although Cohen appears to be residing currently in Subject Premises-4, it is
unknown whether Cohen will be physically present within Subject Premises-4 at the moment the
warrant sought herein are executed. If Cohen is within Subj ect Premises-4 at that moment, Subject

Device-1 and Subject Device-2 — his cellphones — will likely also be within Subject Premises-4.

 

“Te Cohen is not within Subject Premises-4 at that moment, the devices willlikely be on his person, ~~~
wherever he is located (which, based on location data for Subject Device-1 and Subject Device-2
as recently as today, is likely to be in the Southern District of New York). As such, this warrant
seeks separate authority to seize Subject Device-1 and Subject Device-2, in the event that those
devices are not located within Subject Premises-4 (or another Subject Premises) at the moment the
warrants sought herein are executed.

D. Probable Cause Justifying Search of ESI

53. Based on the foregoing, there is probable cause to believe that Subject Premises-1,
Subject Premises-2 and Subject Premises-4 contain electronic devices that are likely to contain
evidence, fruits, and instrumentalities of the Subj ect. Offenses (and, as set forth above, that Subject
Device-1 and Subject Device-2 are themselves electronic devices that are likely to contain
evidence of the Subject Offenses). Specifically, based on my review of information produced
pursuant to the Cohen Email Warrants, the iCloud Warrant, and subpoenas, as well as pen register
data, I submit that there is probable cause that Subject Premises-1 contains an Apple iPad Mini, a -
MacBook Pro, and has, at various times, contained Apple cellphones; similarly, there is probable

cause that Subject Premises-2 contains a computer and has, at various times, contained Apple

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cellphones. These devices are likely to include evidence, fruits, and instrumentalities of the
Subject Offenses for the following reasons:

a, As described throughout this affidavit, Cohen used email to send and receive
communications related to the Subject Offenses. In particular, Cohen used email to send and
receive communications with Sterling, First Republic, Getzel, the entities to which he is providing
consulting services, Davidson, and Howard, among others. While some of these emails have

~already been obtained via subpoenas and search warrants; tknow from my training and-experience——— ~~

that individuals can and do delete emails from their Internet-based inboxes but retain copies of
those emails on their hard drives. I also know that individuals often have multiple email accounts,
some of which may not be known to law enforcement, and as a result electronic devices can be a
unique repository of all emails relevant to certain Subject Offenses. Indeed, from my involvement
in this investigation, I know that Cohen had an email account with the Trump Organization, but
the USAO and FBI have not been able to obtain the contents of that account to date. Thus, emails
relevant to the Subject Offenses are likely stored on electronic devices in Subject Premises-1,
Subject Premises-2 and/or Subject Premises-4.

b. Additionally, Subject Premises-1, Subject Premise-2 and Subject Premises-4 likely
contain electronic copies of documents relevant to the Subject Offenses. Indeed, I know from my
training and experience that individuals often retain copies of important documents on their
computers or other electronic devices capable of storing information, including cellphones (such
as the Subject Devices) and tablets. Here, there are a number of documents that Cohen has likely
retained that will be relevant to the Subject Offenses. For example, electronic devices may include

documentation of Cohen’s true net worth, a listing of his assets, an accounting of his available

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cash, consulting agreements with third parties, and documentation of his payment to Clifford,
among other evidence of the Subject Offenses.

c. Third, I know from my review of emails obtained pursuant to the Cohen Email
Warrants that Cohen sent up online banking with First Republic. Based on my training and
experience, I know that individuals who set up online banking often receive electronic notices

concerning financial transactions and, on occasion, save records of their financial transactions to

 

their devices. Accordingly, there is probable cause to believe that Cohen’s electronic devices
contain evidence of banking activity, including the existence of bank accounts or assets that Cohen
did not disclose to Sterling or Melrose.

d. Fourth, from my review of records produced by Apple, L know that Cohen
communicates using text message as well as encrypted communications applications. These
applications that Cohen has downloaded onto a phone include, but are not limited to, WhatsApp,
Signal, and Dust. I know from my review of toll records and text messages that, in particular,
Cohen communicated with Pecker using these encrypted applications. Accordingly, there is
probable cause to believe that Cohen’s cellphones — the Subject Devices —will contain encrypted .
messages that are not otherwise accessible relating to the Subject Offenses.

54. Based on my training and experience, | know that individuals who engage in
financial crimes commonly use computers to communicate with co-conspirators, keep financial
ledgers, and retain fraudulent documents. As a result, they often store data on their computers
related to their illegal activity, which can include logs of online or cellphone-based “chats” with
co-conspirators; email correspondence; contact information of co-conspirators, including
telephone numbers, email addresses, and identifiers for instant messaging and social medial

accounts; bank account numbers; and/or records of uses of funds.

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55. Based on my training and experience, I also know that, where computers are used
in furtherance of criminal activity, evidence of the criminal activity can often be found months or
even years after it occurred. This is typically true because:

e Electronic files can be stored on a hard drive for years at little or no cost and.users thus
have little incentive to delete data that may be useful to consult in the future.

e Even when a user does choose to delete data, the data can often be recovered months
or years later with the appropriate forensic tools. When a file is “deleted” on a home
computer, the.data.contained in the file does not actually disappear, but instead remains

 

-on the hard drive, in “slack space,” until it is overwritten by new data that cannot"be

stored elsewhere on the computer. Similarly, files that have been viewed on the Internet

are generally downloaded into a temporary Internet directory or “cache,” which is only
overwritten as the “cache” fills up and is replaced with more recently viewed Internet
pages. Thus, the ability to retrieve from a hard drive or other electronic storage media
depends less on when the file was created or viewed than on a particular user’s
operating system, storage capacity, and computer habits.
e Inthe event that a user changes computers, the user will typically transfer files from
the old computer to the new computer, so as not to lose data. In addition, users often
keep backups of their data on electronic storage media such as thumb drives, flash
memory cards, CD-ROMs, or portable hard drives.
56. Based on the foregoing, I respectfully submit there is probable cause to believe that
Cohen engaged in the Subject Offenses, and that evidence of this criminal activity is likely to be
found in the Subject Premises, on computers and electronic media found in the Subject Premises,
and on the Subject Devices. In particular, there is probable cause to believe that the Subject
Premises and Subject Devices will contain evidence, fruits, and instrumentalities of violations of
the Subject Offenses, as more fully described in Section II of Attachments A, B, C, D, E and F to
the proposed warrants, including the following:
4. Evidence necessary to establish the occupancy or ownership of the Subject
Premises, including without limitation, utility and telephone bills, mail envelopes, addressed

correspondence, bank statements, identification documents, and keys.

b. Evidence relating to Sterling, Melrose, and/or taxi medallions.

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c, Evidence relating to a plan, proposal, or agreement for Cohen and/or entities
associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including tcf andor entities associated with him.

d. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

e. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

f. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D, Cohen & Associates.

g. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records.

h. Evidence relating to agreements, loans, and/or financial transactions between
Cohen and and any payments ric Cohen.

i. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements. |

j. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or

payments to Stephanie Clifford or Karen McDougal.

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k. Evidence of communications involving Michael Cohen, American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

1. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign. |

m. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources ot negative
publicity involving Trump’s relationship in the run up to the election.

n. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

0. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

p. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances;

q. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution;

r. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.
Ill. Procedures for Searching ESI

A. Execution of Warrant for ESI

57. Federal Rule of Criminal Procedure 41(e)(2)(B) provides that a warrant to search

for and seize property “may authorize the seizure of electronic storage media or the seizure or

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copying of electronically stored information . . . for later review.” Consistent with Rule 41, this
application requests authorization to seize any computer devices and storage media and transport
them to an appropriate law enforcement facility for review. This is typically necessary for a number
of reasons: |

¢ First, the volume of data on computer devices and storage media is often impractical
for law enforcement personnel to review in its entirety at the search location.

e Second, because computer data is particularly vulnerable to inadvertent or intentional

 

modification or déstruction, computer devices are ideally-examined in-a~controlled——— a
environment, such as a law enforcement laboratory, where trained personnel, using

specialized software, can make a forensic copy of the storage media that can be
_subsequently reviewed in a manner that does not change the underlying data.

e Third, there are so many types of computer hardware and software in use today that it
can be impossible to bring to the search site all of the necessary technical manuals and
specialized personnel and equipment potentially required to safely access the
underlying computer data.

e Fourth, many factors can complicate and prolong recovery of data from a computer
device, including the increasingly common use of passwords, encryption, or other
features or configurations designed to protect or conceal data on the computer, which
often take considerable time and resources for forensic personnel to detect and resolve.

58. As discussed herein, Squire Patton Boggs is a functioning law firm that conducts

legitimate business unrelated to Cohen’s commission of the Subject Offenses. Subject Premises-
2 is an office located inside of Squire Patton Boggs’s New York office. In order to execute the
warrant in the most reasonable fashion, law enforcement personnel will attempt to investigate on
the scene of what computers or storage media, if any, must be seized or copied, and what computers
or storage media need not be seized or copied. Law enforcement personnel will speak with Squire
Patton Boggs personnel on the scene as may be appropriate to determine which files and electronic
devices within Subject Premises-2 belong to or were used by Cohen. While, based on the
foregoing, it does not appear that Cohen shared electronic devices or a server with Squire Patton

Boggs, where appropriate, law enforcement personnel will copy data, rather than physically seize

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computers, to reduce the extent of any disruption of Squire Patton Boggs’s operations. If, after
inspecting the seized computers off-site, it is determined that some or all of this equipment is no
longer necessary to retrieve and preserve the evidence, the Government will return it.

59, Additionally, because Cohen is an attorney, and claims to serve as a personal
attorney for Trump, the review of evidence seized from the Subject Premises and Subject Devices
will be conducted pursuant to established screening procedures to ensure that the law enforcement
personnel involved in the investigation, including attorneys for the Government; collect evidence
in a manner reasonably designed to protect any attorney-client or other applicable privilege. When
appropriate, the procedures will include use of a designated “filter team,” separate and apart from
the investigative team, in order to review potentially privileged communications and determine
which communications to release to the investigation and prosecution team.

B. Accessing ESI on the Subject Devices

60. As described above, the Subject Devices are both Apple brand devices.

61. [know from my training and experience, as well as from information found in
publicly available materials including those published by Apple, that some models of Apple
devices such as iPhones and iPads offer their users the ability to unlock the device via the use of a
fingerprint or thumbprint (collectively, “fingerprint”) in lieu of a numeric or alphanumeric
passcode or password. This feature is called Touch ID. Ialso know that the Apple iPhone X offers
its users the ability to unlock the device via the use of facial recognition (through infrared and
visible light scans) in lieu of a numeric or alphanumeric passcode or password. This feature is
called Face ID.

62.  Ifauser enables Touch ID on a given Apple device, he or she can register up to 5

fingerprints that can be used to unlock that device. The user can then use any of the registered

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fingerprints to unlock the device by pressing the relevant finger(s) to the device’s Touch ID sensor,
which is found in the round button (often referred to as the “home” button) found at the bottom
- center of the front of the device. If a user enables Face ID on a given Apple device, he or she can

unlock the device by raising the iPhone to his or her face, or tapping the screen. In my training
and experience, users of Apple devices that offer Touch ID or Face ID often enable it because it is

considered to be a more convenient way to unlock the device than by entering a numeric or

 

alphanumeric passcode or password, as well as a more secure way to protect the device’s contents:

63.  Insome circumstances, Touch ID or Face ID cannot be used to unlock a device that
has either security feature enabled, and a passcode or password must be used instead. These
circumstances include: (1) when the device has just been turned on or restarted; (2) when more
than 48 hours has passed since the last time the device was unlocked; (3) when the passcode or
password has not been entered in the last 6 days, and the device has not been unlocked via Touch
ID in the last 8 hours or the device has not been unlocked via Face ID in the last 4 hours; (4) the
device has received a remote lock command; or (5) five unsuccessful attempts to unlock the device
via Touch ID or Face ID are made.

64. The passcodes or passwords that would unlock the Subject Devices are not known
to law enforcement. Thus, it will likely be necessary to press the fingers of the user of the Subject
Devices to the devices’ Touch ID sensor, or hold the Subject Devices in front of the user’s face to
activate the Face ID sensor, in an attempt to unlock the devices for the purpose of executing the
search authorized by this warrant. Attempting to unlock the relevant Apple devices via Touch ID
with the use of the fingerprints of the user, or via Face ID by holding the device in front of the
user’s face, is necessary because the government may not otherwise be able to access the data

contained on those devices for the purpose of executing the search authorized by this warrant.

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65. Based on these facts and my training and experience, it is likely that Cohen is the
user of the Subject Devices, and thus that his fingerprints are among those that are able to unlock
the Subject Devices via Touch ID or his face is able to unlock the Subject Devices via Face ID.

66. Although I do not know which of a given user’s 10 fingerprints is capable of
unlocking a particular device, based on my training and experience I know that it is common for a

user to unlock a Touch ID-enabled Apple device via the fingerprints on thumbs or index fingers.

In the event that law enforcement is unable to unlock the Subject Devices as described above

within the five attempts permitted by Touch ID, this will simply result in the device requiring the
entry of a password or passcode before it can be unlocked.

67.  Lalso know from my training and experience, and my review of publicly available
materials published by Apple that Apple brand devices, such as the Subject Devices, have a feature
that allows a user to erase the contents of the device remotely. By logging into the Internet, the
user or any other individual who possesses the user’s account information can take steps to
completely wipe the contents of the device, thereby destroying evidence of criminal conduct, along
with any other information on the device. The only means to prevent this action is to disable the
device’s ability to connect to the Internet immediately upon seizure, which requires either access
to the device itself to alter the settings, or the use of specialized equipment that is not consistently
available to law enforcement agents at every arrest.

68. Due to the foregoing, I request that the Court authorize law enforcement to press
the fingers (including thumbs) of Cohen to the Touch ID sensors the Subject Devices, or hold the
Subject Devices in front of Cohen’s face, for the purpose of attempting to unlock the Subject

Devices via Touch ID or Face ID in order to search the contents as authorized by this warrant.

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C. Review of ESI

69. Following seizure of any computer devices and storage media and/or the creation
of forensic image copies, law enforcement personnel (including, in addition to law enforcement
officers and agents, and depending on the nature of the ESI and the status of the investigation and
related proceedings, attorneys for the government, attorney support staff, agency personnel

assisting the government in this investigation, and outside technical experts under government

 

 

control) will review the ESI contained therein for information fesponsive to the warrant:

70. In conducting this review, law enforcement personnel may use various techniques
to determine which files or other ESI contain evidence or fruits of the Subject Offenses. Such
techniques may include, for example:

e surveying directories or folders and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

© conducting a file-by-file review by “opening” or reading the first few “pages” of such
files in order to determine their precise contents (analogous to performing a cursory
examination of each document in a file cabinet to determine its relevance);

e “scanning” storage areas to discover and possibly recover recently deleted data or
deliberately hidden files; and

e performing electronic keyword searches through all electronic storage areas to
determine the existence and location of data potentially related to the subject matter of
the investigation*’; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

 

34 K eyword searches alone are typically inadequate to detect all relevant data. For one thing,
keyword searches work only for text data, yet many types of files, such as images and videos, do
not store data as searchable text. Moreover, even as to text data, there may be information properly
subject to seizure but that is not captured by a keyword search because the information does not
contain the keywords being searched.

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71. Law enforcement personnel will make reasonable efforts to restrict their search to
data falling within the categories of evidence specified in the warrant. Depending on the
circumstances, however, law enforcement personnel may need to conduct a complete review of all
the ESI from seized devices or storage media to evaluate its contents and to locate all data
responsive to the warrant.

D. Return of ESI

 

72. Tf the Government determines that the electronic devices are no longer necessary~
to retrieve and preserve the data, and the devices themselves are not subject to seizure pursuant to
Federal Rule of Criminal Procedure 41(c), the Government will return these items, upon request.
Computer data that is encrypted or unreadable will not be returned unless law enforcement
personnel have determined that the data is not (i) an instrumentality of the offense, (ii) a fruit of
the criminal activity, (iii) contraband, (iv) otherwise unlawfully possessed, or (v) evidence of the

Subject Offenses.

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TV. Conclusion and Ancillary Provisions

73. Based on the foregoing, I respectfully request the court to issue a warrant to seize
the items and information specified in Attachments A, B, C, D, E and F to this affidavit and to the
Search and Seizure Warrants.

74. In light of the confidential nature of the continuing investigation, I respectfully

request that this affidavit and all papers submitted herewith be maintained under seal until the

 

= — Court orders otherwise>— =

 

FBI

Sworn to before me on
8th day of April, 201 8

lef Hen oy B. Pitney

HON. HENRY B. PITMAN
UNITED STATES MAGISTRATE JUDGE

 

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ATTACHMENT A
I. Premises to be Searched—Subject Premises-1

The premises to be searched (“Subject Premises-1”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

Apartment) ocated inside the building at 502 Park Avenue, New York, New York
10022. The building located at 502 Park Avenue is a 32-floor brick residential building. Subject
Premises-1 is located on the floor of the building.

Il. . Items to Be Seized

A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

The items to be seized from Subject Premises-1 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy, as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subject Offenses”), described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including tc end/or entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
‘ndicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen ancl Todor entities controlled by the |

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1, 2.012 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or

payments to Stephanie Clifford or Karen McDougal.

+ Evidence of communications between Michael Cohen and American Media, Inc.,

David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie ~~

Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
~ consultation with the Trump Campaign.

1. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at

that financial institution; the nature of any business or entity associated with an account at a

financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-1 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section I.A of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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belonging to Michael Cohen or in his possession, an Apple iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants. In lieu of seizing any such computer devices
or storage media, this warrant also authorizes the copying of such devices or media for later review.

The items to be seized from Subject Premises-1 also include:

1,

Any items or records needed to access the data stored on any seized or copied

computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2.

Any items or records that may facilitate a forensic examination of the computer

devices or storage media, including any hardware or software manuals or other information
____._-_coneerning-the-configuration-of the seized or copied computer devices or. storage media.

3.

Any evidence concerning the identities or locations of those persons with access to,

control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

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surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

scanning storage areas to discover and possibly recover recently deleted files or

deliberately hidden files;

performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

 
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Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
ILA and JLB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

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ATTACHMENT B
I. Premises to be Searched—Subject Premises-2

The premises to be searched (“Subject Premises-2”) are described as follows, and include
electronic devices, and-all locked and closed containers found therein:

An office belonging to or assigned to Michael Cohen located on the 23rd floor of the
building at 30 Rockefeller Plaza, New York, New York 10112, inside of the offices of the law firm
Squire Patton Boggs. The building located at 30 Rockefeller Plaza is a 66-floor office building
that spans the entire block between Sixth Avenue and Rockefeller Plaza.

 

Il. Items to Be Seized
A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

The items to be seized from Subject Premises-2 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subject Offenses”) described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including (i) and/or entities associated with him.

co. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

». Evidence relating to agreements, loans, and/or financial transactions between

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ee and any payments by Os Cohen, from January
1, 2012 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j._Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

lL. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a

financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

q. Evidence of Cohen's intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-2 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section II.A of this Attachment above, including, but not limited to, any desktop and
laptop computers, any Apple iPhone or other cellphone or smartphone belonging to Michael Cohen

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or in his possession, portable hard drives, disk drives, thumb drives, and personal digital assistants.

In lieu of seizing any such computer devices or. storage media, this warrant also authorizes the
copying of such devices or media for later review.

The items to be seized from Subject Premises-2 also include:

1, Any items or records needed to access the data stored on any seized or copied
computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information.

concerning the configuration of the seized or copied computer devices-or-storage media,» ____._...

3, Any evidence concerning the identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

e scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

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Law enforcement personne! will make reasonable efforts to search only for files,
documents, or other electronically stored ‘formation within the categories identified in Sections
ILA and ILB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its

contents and to locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

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ATTACHMENT C
I. Premises to be Searched—Subject Premises-3

The premises to be searched (“Subject Premises-3”) are described as follows, and include
all locked and closed containers found therein:

A safe deposit box located inside thee=D Bank branch location at 500 Park Avenue, New
York, New York 10019, marked as box # i The safe deposit box is in the name of Michael
Cohen and Laura Cohen.

Il. Items to Be Seized
A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

The items to be seized from Subject Premises-3 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(L) (illegal campaign
contributions) (the “Subject Offenses”), described as follows:

1. Evidence relating to Michael Cohen’s net worth, available cash and cash
equivalents, assets, monthly and annual income, and income sources, from January 1, 2013 to the
present.

2. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

3. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents ot associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

4. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

5. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

6. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

7. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

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8. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

9. Any portable electronic storage device.

B. Search of Seized Electronic Devices

Probable cause exists to search any seized electronic storage device for the items set
forth in Section II(A)(1)-(8), above.

C.. Review of ESI

Following seizure of any electronic storage device, law enforcement personnel (which may
include, in addition to law enforcement officers and agents, attorneys for the government, attorney
support staff, agency personnel assisting the government in this investigation, and outside
technical experts under government control) are authorized to review the ESI contained therein for
information responsive to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

© surveying various file “directories” and the individual files they contain (analogous to
looking at the outside ofa file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e opening or cursorily réading the first few “pages” of such files in order to determine
their precise contents;

e scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
ILA and ILB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices if necessary to evaluate its contents and to
locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect

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dures shall include

client or other applicable privilege. When appropriate, the proce
in order to address

any attorney-
“filter team,” separate and apart from the investigative team,

use of a designated
potential privileges.

 

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ATTACHMENT D
L. Premises to be Searched—Subject Premises-4

The premises to be searched (“Subject Premises-4”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

Room 1728 located inside the Loews Regency Hotel at 540 Park Avenue, New York, New
York 10065. The building is a luxury hotel located on Park Avenue and 61st Street. Subject
Premises-4 is located on the 17th floor of the hotel.

Il. Items to Be Seized
A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

The items to be seized from Subject Premises-4 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy, as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subject Offenses”), described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer anv interest in taxi medallions, and any associated debts or
liabilities, to others, including adie entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates. °

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

« Evidence relating to agreements, loans, and/or financial transactions between
Cohen anc ind/or entities controlled by

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ss. and any payments py Cohen, from January

1, 2012 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

;. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or

payments to Stephanie Clifford or Karen McDougal.

j.--Evidence_of communications between Michael Cohen and American Media, Inc.,

 

David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephani
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

|. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present. :

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

gq. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-4 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section II.A of this Aitachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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belonging to Michael Cohen or in his possession, an Apple iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants. In lieu of seizing any such computer devices
or storage media, this warrant also authorizes the copying of such devices or media for later review.

The items to be seized from Subject Premises-4 also include:

1. Any items or records needed to access the data stored on any seized or copied
computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information

concerning the configuration of the seized or copied-computer-devices- or-storage-media,———_...__

3, Any evidence concerning the identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e opening or cursorily reading the first few “pages” of such files in order to determine
- their precise contents;

* scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

* reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

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Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
ILA and IL.B of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to
address potential privileges.

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ATTACHMENT E
L. Device Subject to Search and Seizure — Subject Device-1

The device that is the subject of this search and seizure warrant (“Subject Device-1”) is
described as follows:

An Apple iPhone serviced by AT&T with the telephone number ll)

During the execution of this search warrant, law enforcement personnel are authorized to
depress the fingerprints and/or thumbprints of Michael Cohen onto the Touch ID sensor of Subject
Device-1, or hold Subject Device-1 in front of Cohen’s face to activate the Face ID sensor, in order

 

to gain access to the contents of any such device as authorized by this warrant.

IL Review of ESI on the Subject Device

Law enforcement personnel (including, in addition to law enforcement officers and agents,
and depending on the nature of the ESI and the status of the investigation and related proceedings,
attorneys for the government, attorney support staff, agency personnel assisting the government in
this investigation, and outside technical experts under government control) are authorized to
review the ESI contained on Subject Device-1 for evidence, fruits, and instrumentalities of .
violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005 (false
bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344 (bank
fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) Cillegal campaign contributions)
(the “Subject Offenses”) described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including tcf andlor entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents or
communications that indicate the nature and purpose of payments made to or from Essential
Consultants or the nature of any work done by Cohen or any other individuals in connection with
Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
or communications that indicate the nature and purpose of payments made to or from Michael D.
Cohen & Associates, or evidence of the purpose of accounts opened in the name of Michael D.
Cohen & Associates.

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f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,

2013 to the present.

« Evidence relating to agreements, loans, and/or financial transactions between

Cohen nee

1, 2012 to the present.

: WW and/or entities controlled by iii
‘im and any payments by ie Cohen, from January

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
_____=+___agents-or-legal-representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

+. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

J. Evidence of communications between Michael Cohen and American Media, Inc.,

David Pecker, and/or Dylan

Howard about Donald Trump, the Trump Campaign, Stephanie

Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

|. Evidence of communications with Donald Trump and/or agents or associates of the

Trump Campaign about the

Access Hollywood tape and other potential sources of negative

publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the

present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at

that financial institution; the

nature of any business or entity associated with an account at a

financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

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If the Government determines that Subject Device-1 is no longer necessary to retrieve and
preserve the data on the device, and that Subject Device-1 is not subject to seizure pursuant to

Federal Rule of Criminal Procedure 41(c), the Government will return Subject Device-1, upon
‘request.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

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ATTACHMENT F
L. Device Subject to Search and Seizure — Subject Device-2

The device that is the subject of this search and seizure warrant (“Subject Device-2”) is
described as follows:

An Apple iPhone serviced by AT&T with the telephone number

During the execution of this search warrant, law enforcement personnel are authorized to
depress the fingerprints and/or thumbprints of Michael Cohen onto the Touch ID sensor of Subject
Device-2, or hold Subject Device-2 in front of Cohen’s face to activate the Face ID sensor, in order
to gain access to the contents of any such dévice as authorized by this-warrant.

Il. Review of ESI on the Subject Device

Law enforcement personnel (including, in addition to law enforcement officers and agents,
and depending on the nature of the ESI and the status of the investigation and related proceedings,
attorneys for the government, attorney support staff, agency personnel assisting the government in
this investigation, and outside technical experts under government control) are authorized to
review the ESI contained on Subject Device-2 for evidence, fruits, and instrumentalities of
violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005 (false
bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344 (bank.
fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign contributions)
(the “Subject Offenses”) described as follows:

4. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or tax
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to adic: entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents or
communications that indicate the nature and purpose of payments made to or from Essential
Consultants or the nature of any work done by Cohen or any other individuals in connection with
Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
or communications that indicate the nature and purpose of payments made to or from Michael D.
Cohen & Associates, or evidence of the purpose of accounts opened in the name of Michael D.
Cohen & Associates.

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f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

». Evidence relating to agreements, loans, and/or financial transactions between
Cohen anclill nd/0r entities controlled by

I 204 any payments by’ to Cohen, from January
1, 2012 to the present. a

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their

$$$ agents-or-legal representatives, including any nondisclosure agreements and related documents,

and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

|. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial snstitution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

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If the Government determines that Subject Device-2 is no longer necessary to retrieve and
preserve the data on the device, and that Subject Device-2 is not subject to seizure pursuant to
Federal Rule of Criminal Procedure 41(c), the Government will return Subject Device-2, upon

“request.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges. ,

 

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AO 93 (SDNY Rey. 05/10) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of New York

In the Matter of the Search of )
(Briefly describe the property to be searched ) :
or identify the person by name and address) J Case No. 6 9
502 Park Avenue, Apartment [J New York, New York 1 8 A AG o 0
10022, and any closed containers/items contained -
therein, See Attachment A ) ,

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of New York

(identify the person or describe the pronevty to be searched and give its location):
- 502 Park Avenue, Apartment new York, New York 10022, and any closed containers/items contained therein,

See Attachment A

,

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

See Attachment A

.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search, and s seize the person or
property. ny (bole

YOU ARE COMMANDED to execute this warrant on or before a “a> ; _ : 2) g
: aod (not te exceed 14 tas ‘
A in the daytime 6:00 a.m. to 10 p.m, C) at any time in the day or night as £ i find reasonable cause 2 has been
, established. mee : uo

.

Unless delayed notice is authorized below, you must give a copy of the. watt anit and ar eceipt for the property
taken to the person from whom, or from whose premises, the property was taken, 0 or Jeave the copy and 4 % coeipt at the
place where the property was taken. ,

The officer executing this watrant, or an officer present during the execution of they wa sant, ‘inust prepare an
inventory as required by law arid pr omptly return this warrant and inventory to the Clerk of the Court.
Upon its return, this warrant and inventory should be filed under seal by the Clerk of the Court.

 

USM Initials

1 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the Bersoly who, or whose property, will be

 

 

searched or seized (check the appropriate box) C1for days (not te exceed 130), cote
Chuntil, the facts justifying, the later specif C. date of
. : - _ a “ay A a - :

Date and time issued: Lf- g~/ 5 Of Cone pe . ‘abe We Be. or

Po SF bf Peg re ih Judge's signati'e

. . of } ok! \ ‘ ‘ “ May
. I

City and state: New York, NY ‘Hon. Henry B. Pitman, US . Magistrate Judge

 

Pri wed name ond title

 
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AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the Court.

Date:

 

Executing officer's signature

 

Printed name and title

 

 

 
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ATTACHMENT A

I. Premises to be Searched—Subject Premises-1

The premises to be searched (“Subject Premises-1”) are described as follows, and include’

electronic devices, and all locked and closed containers found therein:

Apartment {located inside the building at 502 Park Avenue, New York, New York
10022. The building located at 502 Park Avenue is a 32-floor brick residential building. Subject
Premises-1 is located on the yr the building.

IJ. Items to Be Seized

 

—A;-Evidence;Fruits, and Instrumentalities- of the Subject- Offenses

The items to be seized from Subject Premises-1 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy, as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subject Offenses’’), described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to andor entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen and J 20 or entities controlled by

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eee and any payments ry. Cohen, from January

1, 2012 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

i, Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie... =
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign. |

Il. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-1 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section ILA of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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belonging to Michael Cohen or in his possession, an Apple iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants. In lieu of seizing any such computer devices
or storage media, this warrant also authorizes the copying of such devices or media for later review.

The items to be seized from Subject Premises-1 also include:

1. Any items or records needed to access the data stored on any seized or copied
computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information
concerning the configuration of the seized or copied computer devices or storage media.

3. Any evidence concerning the identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

® opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

e scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

® performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

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Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
ILA and ILB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

2017.08.02

 
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AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant

 

UNITED STATES DISTRICT COURT

for the
Southern District of New York

In the Matter of the Search of

(Briefly describe the property to be searched

or identify the person by name and address) Case No.

502 Park Avenue, Apartment {iil New York, New York
40022, and any closed containers/items contained
therein, See Attachment A

SEARCH AND SEIZURE WARRANT

 

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of New York

 

(identify the person or describe the property to be searched and give its location):
502 Park Avenue, Apartment MON New York, New York 10022, and any closed containers/items contained therein,
See Attachment A

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized): ,

t

See Attachment A

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property. .

YOU ARE COMMANDED to execute this warrant on or before | _ yo \ 3

 

(not to exceed 14 days)

@ in the daytime 6:00 a.m. to 10 p.m. 1 at any time in the day or night as I find reasonable cause has been
, established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt, for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the Clerk of the Court.
Upon its return, this warrant and inventory should be filed under seal by the Clerk of the Court.

 

USM Initials

(C1 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) Clfor days (not to exceed 30).

Cuntil, the facts justifying, the later specific date of

 

Date and time issued: A-8-(5 Ts4ou bf Heacy fh 0; + eV

Judge’s signature

City and state: _New York, NY -_Hon. Henry B. Pitman, U.S. Magistrate Judge

 

Printed name and title

 
Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 212 of 269

AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2) -

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the Court.

Date:

 

Executing officer’s signature
&

 

Printed name and title

 

 

 
 

Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 213 of 269

ATTACHMENT A
I. Premises to be Searched—Subject Premises-1

The premises to be searched (“Subject Premises-1”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

Apartmentlillhocated inside the building at 502 Park Avenue, New York, New York
10022. The building located at 502 Park Avenue is a 32-floor brick residential building. Subject
Premises-1 is located on thelr the building.

II. Items to Be Seized
A. Evidence, Fruits, and Instrumentalities_of the Subject-Offenses

The items to be seized from Subject Premises-1 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy, as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subject Offenses”), described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to Dye or entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen and[ TTT GENE GENER 2rd/or entities controled by [InN

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SE nc any payments by (Cone, from January

1, 2012 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Tramp Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie

 

—————~ Clifford, and/or Karen” McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

l. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-1 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section II.A of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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belonging to Michael Cohen or in his possession, an Apple iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants. In lieu of seizing any such computer devices
or storage media, this warrant also authorizes the copying of such devices or media for later review.

The items to be seized from Subject Premises-1 also include:

1, Any items or records needed to access the data stored on any seized or copied
computer’ devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information
concerning the configuration of the seized or copied computer devices or storage media.

 

3. Any evidence concerning the identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

e scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

2017.08.02

 
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Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
11.A and ILB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence ina manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

2017.08.02

 
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AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of New York

Tn the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Michael Cohen’s Office at 30 Rockefeller Piaza, 23rd
Floor, New York, New York 10112, and any closed
containers/items contained therein, See Attachment B

SEARCH AND SEIZURE WARRANT

 

 

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of New York.

(identify the person or describe the property to be searched and give its location):
Michael Gohen’s Office at 30 Rockefeller Plaza, 23rd Floor, New York, New York 10112, and any closed
containers/items contained therein, See Attachment B

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

See Attachment B

I find that the affidavit(s), or any recorded testimony, establish probable cause to Seal ch and seie ze'the per son or
property. rw /

  

YOU ARE COMMANDED to execute this warrant on or before of ae ™ ae c ip

» “Ghot to exceed 14 dey ws) \
@ in the daytime 6:00 a.m. to 10 p.m. (4 at any time in the day or night as I find reasonable cause e has been
established. pe woe,

pe ih .

Unless delayed notice is authorized below, you must give a copy of the warr: ant and a'receiy sipt for the pr perty.
taken to the person from whom, or from whose premises, the property was taken, or leave the COPY | and receipt at the
place where the property was taken, roe 4

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the Cletl of the Court.
Upon its returh, this warrant and inventory should be filed under seal by the Clerk of the Court.

 

USM? Initials

“ I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) Cifor days (not to exceed 30).

Tuntil, the facts justifying, the later specific date of

 

 

 

 

 

4 ce. ie £7 . eth ay, OP se
Date and time issued: YH ne § Z hn Cee. pee Ohta,
Fe sy Pin , . : , e eas se), e's signature
City and state: _New York, NY os Hoh, Henry B. Pitman. U.S. Magistrate Judge

rt PE tited name: ane, title

 
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AD 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

 

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the Court.

Date:

 

Executing officer’s signature

 

Printed name and title

 

 

 
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ATTACHMENT B
I. Premises to be Searched—-Subject Premises-2

The premises to be searched (“Subject Premises-2”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

An office belonging to or assigned to Michael Cohen located on the 23rd floor of the
building at 30 Rockefeller Plaza, New York, New York 10112, inside of the offices of the law firm
Squire Patton Boggs. The building located at 30 Rockefeller Plaza is a 66-floor office building
that spans the entire block between Sixth Avenue and Rockefeller Plaza.

Il. Items to Be Seized

 

A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

The items to be seized from Subject Premises-2 are evidence, fruits, and instrumentalities

of violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005:

(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) Gllegal campaign
contributions) (the “Subject Offenses”) described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to andor entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

gs. Evidence relating to agreements, loans, and/or financial transactions between

Cohen and ee or entities controlled by I

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2017.08.02

 
Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 220 of 269

and any payments by Hy. Cohen, from January
1, 2012 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the. Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

1. Evidence of communications with Donald Trump and/or agents or associates of the |
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

. p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-2 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section II.A of this Attachment above, including, but not limited to, any desktop and
laptop computers, any Apple iPhone or other cellphone or smartphone belonging to Michael Cohen

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2017.08.02

 
Case 1:18-cr-O0602-WHP Document 48-1 Filed 07/18/19 Page 221 of 269

or in his possession, portable hard drives, disk drives, thumb drives, and personal digital assistants.
In lieu of seizing any such computer devices or storage media, this warrant also authorizes the
copying of such devices or media for later review.

The items to be seized from Subject Premises-2 also include:

1. Any items or records needed to access the data stored on any seized or copied
computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information
concerning the configuration of the seized or copied computer devices or storage media.

3. Any evidence concerning the identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

e scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

2017.08.02

 
Case 1:18-cr-O0602-WHP Document 48-1 Filed 07/18/19 Page 222 of 269

Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
ILA and IB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the warrant.

Additionally, review of the iterns described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

2017.08.02

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Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 223 of 269

AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of New York

In the Matter of the Search of

(Briefly describe the property to be searched

or identify the person by name and address) Case No.

Michael Cohen’s Office at 30 Rockefeller Plaza, 23rd
Floor, New York, New York 10112, and any closed
containers/items contained therein, See Attachment B

SEARCH AND SEIZURE WARRANT

 

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of New York

(identify the person or describe the property to be searched and give its location):
Michael Cohen’s Office at 30 Rockefeller Plaza, 23rd Floor, New York, New York 10112, and any closed

containers/items contained therein, See Attachment B

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized): ‘

See Attachment B

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

 

YOU ARE COMMANDED to execute this warrant on or before zl a > o- | v
(not to exceed 14 days)
in the daytime 6:00 a.m. to 10 p.m. 01 at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the Clerk of the Court.
Upon its return, this warrant and inventory should be filed under seal by the Clerk of the Court.

 

USM Initials

C1 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) (for days (not to exceed 30).

[Tuntil, the facts justifying, the later specific date of

Date and time issued: W-8-(5 Us ae. [sl Heat A. Dit wren

Judge's signature

City and state: |New York, NY Hon. Henry B. Pitman, U.S. Magistrate Judge

Printed name and title

 
Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 224 of 269

AO 93 (Rey. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: . Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the Court.

Date:

 

xecuting officer’s signature
EE ting ’ t

 

Printed name and title

 

 

 
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ATTACHMENT B
I. Premises to be Searched—Subject Premises-2

The premises to be searched (“Subject Premises-2”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

An office belonging to or assigned to Michael Cohen located on the 23rd floor of the
building at 30 Rockefeller Plaza, New York, New York 10112, inside of the offices of the law firm
Squire Patton Boggs. The building located at 30 Rockefeller Plaza is a 66-floor office building
that spans the entire block between Sixth Avenue and Rockefeller Plaza.

Il. Items to Be Seized

 

A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

The items to be seized from Subject Premises-2 are evidence, fruits, and instrumentalities

of violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005:

(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
_ (bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) Cllegal campaign
contributions) (the “Subject Offenses”) described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to [QI nd/or entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates.

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen and Po entities controlled by Fy

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Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 226 of 269

and any payments by gs Cohen, from January

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

1, 2012 to the present.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie

 

 

~ Clifford: and/or Karen McDougal. -

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

1. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

. p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-2 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section IIA of this Attachment above, including, but not limited to, any desktop and
laptop computers, any Apple iPhone or other cellphone or smartphone belonging to Michael Cohen

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Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 227 of 269

or in his possession, portable hard drives, disk drives, thumb drives, and personal digital assistants.
In lieu of seizing any such computer devices or storage media, this warrant also authorizes the
copying of such devices or media for later review.

The items to be seized from Subject Premises-2 also include:

1. Any items or records needed to access the data stored on any seized or copied
computer devices or storage media, including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information
concerning the configuration of the seized or copied computer devices or storage media.

 

3, Any evidence concerning the identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage: media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive
to the warrant. .

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

e scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

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Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 228 of 269

Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
ILA and IB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

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AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant |

UNITED STATES DISTRICT COURT

for the
Southern District of New York

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

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Case No. D

18MAG 2969

SEARCH AND oth ARRANT

Safe Deposit Box[lllll) ocated at the TD Bank Branch at
500 Park Avenue, New Yori, New York 10019, and any
closed containers/items contained therein, See Att. C

 

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or ant attorney for the government requests the search
of the following person or property located in the Southern District of New York

(identify the person or descrihe the property to be searched and give its location):
Safe Deposit Bor) -ocated at the TD Bank Branch at 500 Park Avenue, New York, New York 10019, and any
closed containersytems contained therein,See Attachment C

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

See Attachment C .

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

ans f & - :

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* (ot fo esoned 4 E 7 days)

@ in the daytime 6:00 a.m. to 10 p.m. 1 at any time in the day or nigh as T find reasonable cause has been
established. fa

  

YOU ARE COMMANDED to execute this warrant on or before

 

Unless delayed notice is authorized below, you must give a copy of tbe waitant and a reocipt for the pr operty
taken to the person from whom, or from whose premises, the property was taker, or leave the oP: ye and receipt at the
place where the property was taken. Ce ot ced

The officer executing this warrant, or an officer present during the execution’ of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the Clerk ¢ ithe Court. 5°
Upon its return, this warrant and inventory should be filed under seal by the Clerk of the Court.

 

 

USAT Initials

(I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be’
searched or seized (check the appropriate box) (for days (not to exceed 30).
Muntil, the facts justifying, the later specific date of za

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i o ape “ f Lc? ‘5 < oo yo
Date and time issued: Y~K- 8K , 7 et i
n _ Pas ° “ ud fire wt : .
Fs if Fai i go's sri @ oN ALN
City and state: New York, NY Hon. Henry B. Pitman, U. s. _Magiatate Judge

 

 

Printed name and. title’ vs i Y
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AO 93 (Rey. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.:

/

 

Date and time warrant executed:

 

Copy of warrant and inventory left with:

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

Certification

 

to the Court.

Date:

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant

 

Executing officer’s signature

 

Printed name and title

 

 

 
 

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ATTACHMENT C
I. Premises to be Searched—Subject Premises-3

The premises to be searched (“Subject Premises-3”) are described as follows, and include
all locked and closed containers found therein:

A safe deposit box located inside the TD Bank branch location at 500 Park Avenue, New
York, New York 10019, marked as box tte safe deposit box is in the name of Michael
Cohen and Laura Cohen.

Ii. Tiems to Be Seized

 

~A-Evidence; Fruits, and-Instrumentalities of the Subject Offenses—----—_-—-

The items to be seized from Subject Premises-3 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subject Offenses’), described as follows:

1. Evidence relating to Michael Cohen’s net worth, available cash and cash
equivalents, assets, monthly and annual income, and income sources, from January 1, 2013 to the
present.

2. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

3. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

4, Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

5, Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

6. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

7. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

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8. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

9. Any portable electronic storage device.

B. Search of Seized Electronic Devices

Probable cause exists to search any seized electronic storage device for the items set
forth in Section I1(A)(1)-(8), above.

C. Review of ESI

—_-+--Following seizure of any-electronic storage device; law-enforeement-personnel (which: may-———____---

include, in addition to law enforcement officers and agents, attorneys for the government, attorney
support staff, agency personnel assisting the government in this investigation, and outside
technical experts under government control) are authorized to review the ESI contained therein for
information responsive to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

e® scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files; .

@ performing key word searches through all electronic storage areas to determine whether
occutrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
ILA and II.B of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices if necessary to evaluate its contents and to
locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect

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any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

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2017.08.02

 
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AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of New York

In the Matter of the Search of

(Briefly describe the property to be searched

or identify the person by name and address) Case No.

Safe Deposit Box BB ocated at the TD Bank Branch at
500 Park Avenue, New York, New York 10019, and any
closed containers/items contained therein, See Att. C

SEARCH AND SEIZURE WARRANT

 

~ To: “Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of New York

(identify the person or ¢ be the property to be searched and give its location):
Safe Deposit Box ; Located at the TD Bank Branch at 500 Park Avenue, New York, New York 10019, and any

closed containers/items contained therein,See Attachment C

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

See Attachment C

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

 

YOU ARE COMMANDED to execute this warrant on or before Lt—\)— (%
: . (not to exceed 14 days)
inthe daytime 6:00 a.m. to 10 p.m. at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the Clerk of the Court.
Upon its return, this warrant and inventory should be filed under seal by the Clerk of the Court.

 

USM Initials

C1 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) (for days (not to exceed 30).

Muntil, the facts justifying, the later specific date of

Date and time issued: 4-8-(F TSA pn. [| Hea cy 6. Orvren

Judge's signature

City and state: New York, NY Hon. Henry B. Pitman, U.S. Magistrate Judge

Printed name and title

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AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed:. Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the Court.

Date:

 

Executing officer’s signature

 

Printed name and title

 

 

 
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ATTACHMENT C
I. Premises to be Searched—Subject Premises-3

The premises to be searched (“Subject Premises-3”) are described as follows, and include
all locked and closed containers found therein:

A safe deposit box located inside the TD Bank branch location at 500 Park Avenue, New
York, New York 10019, marked as box the safe deposit box is in the name of Michael
Cohen and Laura Cohen.

Il. Items to Be Seized
_ A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

The items to be seized from Subject Premises-3 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)C1) Cillegal campaign
contributions) (the “Subject Offenses”), described as follows:

1. Evidence relating to Michael Cohen’s net worth, available cash and cash
equivalents, assets, monthly and annual income, and income sources, from January 1, 2013 to the
present.

2. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their

agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

3, Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

4. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

5. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

6. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

7. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

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2017.08.02

 
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8. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

9, Any portable electronic storage device.
B. Search of Seized Electronic Devices

Probable cause exists to search any seized electronic storage device for the items set
~ forth in Section II(A)(1)-(8), above.

C. Review of ESI

Following seizure of any electronic storage device, law enforcement personnel (which may
include, in addition to law enforcement officers and agents, attorneys for the government, attorney
support staff, agency personnel assisting the government in this investigation, and outside
technical experts under government control) are authorized to review the ESI contained therein for
information responsive to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside of a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

® opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

e scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
II.A and II.B of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices if necessary to evaluate its contents and to
locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect

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2017.08.02

 
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any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

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2017.08.02

 
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Case 1: 18-6 -cr-00602-WHP Document 48-1 Filed 07/18/19 Page 239 of 269 -

AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of New York

In the Matter of the Search of ) >
(Briefly describe the property to be searched ) :
or identify the person by name and address) Case No.

Loews Regency Hotel, 540 Park Avenue, Roorn 1728,
New York, New York 10065, and any closed

containers/items contained therein, See Attachment D

SEARCH AND SEIZURE WARRANT

 

To: Any authorized law enfor cement officer

An application by a federal Jaw enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of New York

(identify the person or describe the property to be searched and give its location):
Loews Regency Hotel, 540 Park Avenue, Room 1728, New York, New York 10065, and any closed containers/items

contained therein, Ses Attachment D
The person or property to be searched, described above, is believed to conceal (identifp the person or describe the
property to be seized):
See Attachment D

I find that the affidavit(s), or any recorded testimony, establish probable cause to seaten, aa 88 age the person or
property. if

YOU ARE COMMANDED to execute this warrant on or before if “2 Lae
u ee to.exceed 14 dps

@ in the daytime 6:00 a.m. to 10 p.m. at any time in the day or night as as I find reasonable caus e e haa been
established.

 

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Unless delayed notice is authorized below, you must give a copy of the wart: ant and ¢ a’ ‘receipt for the pro Sperty
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and, receipt at, the
place where the property was taken. pooh ah

The officer executing this warrant, or an officer present during the execution of the warrant, invist pr prepare an

inventory as required by law and promptly return this warrant and inventory to the Clerk of the Court.

Upon its return, this warrant and inventory should be filed under seal by the Clerk of the Court.
USAT Initials

(I I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose © property, will be

  

 

 

 

 

searched or seized (check the appropriate box) (for days (not to exceed 30).
“Tuntil, the facts justifying, the later specific, fate-o 0 i bole L .
Date and time issued: Y- %~Ch 4) fava a
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Pas py eS
OOF hy may fhe ns pos
City and state: New York, NY Hon. Henry B, Pitrian,’ US. Ma sistrate sud Go
Pr: inted name nd title dees

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AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.:

 

Date and time warrant executed:

 

Copy of warrant and inventory left with:

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

Certification

 

to the Court.

Date:

 

I declare under penalty of perjury that this inventory is correct and was returned: along with the original warrant

 

Executing officer's signature

 

Pyinted name and title

 

 

 

 

 

 

 

 

 

 
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ATTACHMENT D

I. Premises to be Searched—Subject Premises-4

The premises to be searched (“Subject Premises-4”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

Room 1728 located inside the Loews Regency Hotel at 540 Park Avenue, New York, New
York 10065. The building is a luxury hotel located on Park Avenue and 61st Street. Subject
Premises-4 is located on the 17th floor of the hotel.

Ti. Items to Be Seized

 

A. Evidence, Fruits, and Instrumentalities of the Subject Offenses

The items to be seized from Subject Premises-4 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. 8§ 371 (conspiracy, as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(A)C (AJC) (illegal campaign
contributions) (the “Subject Offenses”), described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to | and/or entities associated with him,

c, Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D, Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates. -

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,

2013 to the present.
g. Evidence telating to agreements, loans, and/or financial transactions between

Cohen and (NG and/or entities controlled by

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= Parvid Pecker, and/or Dylan Howard-about Donald-Trump, the Trump Carnpaipn, Stephanie

Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 242 of 269

, and any payments by , Cohen, from January

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

i, 4U14 To the present.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,

 

Clifford, and/or Karen McDougal.

k, Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

1. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the

present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-4 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section ILA of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 -Page 243 of 269

belonging to Michael Cohen or in his possession, an Apple iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants. In lieu of seizing any such computer devices
or storage media, this warrant also authorizes the copying of such devices or media for later review.

The items to be seized from Subject Premises-4 also include:

1, Any items or records needed to access the daia stored on any seized or copied
computer devices or storage media; including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information

 

=... concerning the configuration-of the seized or copied computer devices or storage media.

3. Any evidence concerning the identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support siaff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive

to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside ofa file cabinet for the markings it contains and opening a drawer

believed to contain pertinent files);

e opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

® scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related

to the subject matter of the investigation; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

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2017.08.02

 

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Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 244 of 269

Law enforcement personnel will make reasonable efforts to search only for files,
documents, ot other electronically stored information within the categories identified in Sections
ILA and ILB of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its

contents and to locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to

address potential privileges.

 

 

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2017.08.02

 

 

 
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AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of New York

In the Matter of the Search of

(Briefly describe the property to be searched

or identify the person by name and address) Case No.

Loews Regency Hotel, 540 Park Avenue, Room 1728,
New York, New York 10065, and any closed
containers/items contained therein, See Attachment D

SEARCH AND SEIZURE WARRANT

 

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of New York

(identify the person or describe the property to be searched and give its location):
Loews Regency Hotel, 540 Park Avenue, Room 1728, New York, New York 10065, and any closed containers/items

contained therein, See Attachment D

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

See Attachment D

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.
YOU ARE COMMANDED to execute this warrant on or before 4 7 >. ~ (8
(not to exceed 14 days)

if in the daytime 6:00 a.m. to 10 p.m. 1 at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the Clerk of the Court.
Upon its return, this warrant and inventory: should be filed under seal by the Clerk of the Court.

 

USM Initials

C1 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) (for days (not to exceed 30).

Ountil, the facts justifying, the later specific date of

Date and time issued: UA-%-\s 7:54 ge [sf Henty f. ?. tance

Judge's signature

City and state: _New York, NY Hon. Henry B. Pitman, U.S. Magistrate Judge

Printed name and title

ern

 
Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 246 of 269

AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: ' | Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the Court.

Date:

 

Executing officer’s signature

 

Printed name and title

 

 

 
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ATTACHMENT D

J. Premises to be Searched—Subject Premises-4

The premises to be searched (“Subject Premises-4”) are described as follows, and include
electronic devices, and all locked and closed containers found therein:

Room 1728 located inside the Loews Regency Hotel at 540 Park Avenue, New York, New
York 10065. The building is a luxury hotel located on Park Avenue and 61st Street. Subject
Premises-4 is located on the 17th floor of the hotel.

IL. Items to Be Seized

 

 

A. Evidence, Fruits, and Instramentalities of the Subject Offenses

The items to be seized from Subject Premises-4 are evidence, fruits, and instrumentalities
of violations of 18 U.S.C. §§ 371 (conspiracy, as it pertains to the other Subject Offenses), 1005
(false bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344
(bank fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign
contributions) (the “Subject Offenses”), described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer anv interest in taxi medallions, and any associated debts or
liabilities, to others, including to and/or entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents that
indicate the nature and purpose of payments made to or from Essential Consultants or the nature
of any work done by Cohen or any other individuals in connection with Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
that indicate the nature and purpose of payments made to or from Michael D. Cohen & Associates,
or evidence of the purpose of accounts opened in the name of Michael D. Cohen & Associates. -

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,

2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen 0 and/or entities controlled by |

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, and any payments by a. Cohen, from January

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

1, 2012 to the present.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David_Pecker,-and/or_Dylan_Howard_about_Donald_Trump, -the-Trump-Campaign,-Stephanie———___-_-
Clifford, and/or Karen McDougal.

 

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

I. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the

present.

p. ‘Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

q. Evidence of Cohen’s intent as it relates to the Subject Offenses under investigation.

B. Search and Seizure of Electronically Stored Information

The items to be seized from Subject Premises-4 also include any computer devices and
storage media that may contain any electronically stored information falling within the categories
set forth in Section ILA of this Attachment above, including, but not limited to, a MacBook Pro,
any other desktop and laptop computers, any Apple iPhone or other cellphone or smartphone

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belonging to Michael Cohen or in his possession, an Apple iPad Mini, portable hard drives, disk
drives, thumb drives, and personal digital assistants. In lieu of seizing any such computer devices
or storage media, this warrant also authorizes the copying of such devices or media for later review.

The items to be seized from Subject Premises-4 also include:

1. Any items or records needed to access the data stored on any seized or copied
computer devices or storage media; including but not limited to any physical keys, encryption
devices, or records of login credentials, passwords, private encryption keys, or similar information.

2. Any items or records that may facilitate a forensic examination of the computer
devices or storage media, including any hardware or software manuals or other information
concerning the configuration of the seized or copied computer devices or storage media.

3. Any evidence concerning the identities or locations of those persons with access to,
control over, or ownership of the seized or copied computer devices or storage media.

C. Review of ESI

Following seizure of any computer devices and storage media and/or the creation of
forensic image copies, law enforcement personnel (which may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical experts under
government control) are authorized to review the ESI contained therein for information responsive

to the warrant.

In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

e surveying various file “directories” and the individual files they contain (analogous to
looking at the outside ofa file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files);

e opening or cursorily reading the first few “pages” of such files in order to determine
their precise contents;

e scanning storage areas to discover and possibly recover recently deleted files or
deliberately hidden files;

e performing key word searches through all electronic storage areas to determine whether
occurrences of language contained in such storage areas exist that are intimately related
to the subject matter of the investigation; and

e reviewing metadata, system information, configuration files, registry data, and any
other information reflecting how, when, and by whom the computer was used.

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Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified in Sections
ILA and II.B of this Attachment. However, law enforcement personnel are authorized to conduct
a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
contents and to locate all data responsive to the warrant.

Additionally, review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client.or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to

address potential privileges.

 

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AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant

_ UNITED STATES DISTRICT COURT

for the
Southern District of New York

In the Matter of the Search of ) 6a kX Le
(Briefly describe the property to be searched ) A 4 2 YG 6 9
__ ov identify the person by name and address) ) CaSe"No: /
J CG
)

An Apple iPhone with Phone Number Fo

See Attachment E

SEARCH AND SEIZURE WARRANT

To: ~~ Any duthorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of New York

(identify the person or describe the property to be_soavrhed and ive its location)!
An Apple iPhone with Phone Number | , See Attachment E

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

See Attachment E

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property. 7

. 'eiret to pxceed 14 days)

Phang,

 
   

YOU ARE COMMANDED to execute this warrant on or before

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@ inthe daytime 6:00 a.m. to 10 p.m. Fat any time in the day orhight t as I find reasonable cavise has been

established. ;
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Unless delayed notice is authorized below, you must give a copy of'the warrant and aveceipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy aad receipt at the
place where the property was taken. ae CP Re

The officer executing this warrant, or an officer present during the exectition of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the Clerk of the Court.

Upon its return, this warrant and inventory should be filed under seal by the Clerk of the Court,

 

USM Initials

CI I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) (for days (not to exceed 30). oda

Cluntil, the facts justifying, the later specific date of |

  

 

 

J Ge . 4 as i,
Date and time issued: Y- $- 76 Dhow!
* 3 a an
FLY PM 1s Iudge
City and state: New York, NY__- Hon. Henty,B, Pittan U.S. Magistrate Judge

 

 

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AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Retarn

 

Case No.:

 

Date and time warrant executed:

 

Copy of warrant and inventory left with:

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

Certification

 

to the Court.

Date:

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant

 

Executing officer’s signature

 

Printed name and title

 

 

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ATTACHMENT E
I. Device Subject to Search and Seizure — Subject Device-1

The device that is the subject of this search and seizure warrant (“Subject Device-1”) is
described as follows:

An Apple iPhone serviced by AT&T with the telephone number |

During the execution of this séarch warrant, law enforcement personnel are authorized to
depress the fingerprints and/or thumbprints of Michael Cohen onto the Touch ID sensor of Subject
Device-1, or hold Subject Device-1 in front of Cohen’s face to activate the Face ID sensor, in order
to gain access to the contents of any such device as authorized by this warrant.

II. Review of ESI on the Subject Device

Law enforcement personnel (including, in addition to law enforcement officers and agents,
and depending on the nature of the ESI and the status of the investigation and related proceedings,
attorneys for the government, attorney support staff, agency personnel assisting the government in
this investigation, and outside technical experts under government control) are authorized to
review the ESI contained on Subject Device-1 for evidence, fruits, and instrumentalities of
violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005 (false
bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344 (bank
fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) Gillegal campaign contributions)
(the “Subject Offenses”) described as follows:

a, Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer anv interest in taxi medallions, and any associated debts or
liabilities, to others, including to nave: entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents or
communications that indicate the nature and purpose of payments made to or from Essential
Consultants or the nature of any work done by Cohen or any other individuals in connection with
Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
or communications that indicate the nature and purpose of payments made to or from Michael D.
Cohen & Associates, or evidence of the purpose of accounts opened in the name of Michael D,
Cohen & Associates.

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2017.08.02

 
Case 1:18-cr-O0602-WHP Document 48-1 Filed 07/18/19 Page 254 of 269

f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen and (I and/or entities controlled by II

_and any payments by to Cohen, from January
1, ZULZ TO the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

l. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

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2017.08.02

 
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- T€the Government determines that Subject Device-1 is no longer necessary to retrieve and
preserve the data on the device, and that Subject Device-1 is not subject to seizure pursuant to
Federal Rule of Criminal Procedure 41(c), the Government will return Subject Device-1, upon
request.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

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2017.08.02

 
Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 256 of 269

AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of New York

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

An Apple iPhone with Phone Number [|

See Attachment E

Case No. -

SEARCH AND SEIZURE WARRANT

 

To: Any authorized law enforcement officer”

An application by a federal law enforcement officer or an attorney for the government requests the search

 

of the following person or property located in the Southem District of New York
(identify the person or describe the property to beermomclo JS oT eive its location):
An Apple iPhone with Phone Number , See Attachment E

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

See Attachment E

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

 

YOU ARE COMMANDED to execute this warrant on or before U ~ +o- RS
(not to exceed 14 days)
in the daytime 6:00 a.m. to 10 p.m. C1 at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the Clerk of the Court.
Upon its return, this warrant and inventory should be filed under seal by the Clerk of the Court.

 

USM Initials

0 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) (for days (not to exceed 30).

Oluntil, the facts justifying, the later specific date of

Date and time issued: 2-818 0S A p.¥". (| Hen ty B. Ort ven

Judge's signature

City and state: | New York, NY Hon. Henry B. Pitman, U.S. Magistrate Judge

Printed name and title

 
Case 1:18-cr-O0602-WHP Document 48-1 Filed 07/18/19 Page 257 of 269

AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the Court.

Date:

 

Executing officer’s signature

 

Printed name and title

 

 

 
Case 1:18-cr-00602-WHP Document 48-1 Filed 07/18/19 Page 258 of 269

ATTACHMENT E
J. Device Subject to Search and Seizure — Subject Device-1

The device that is the subject of this search and seizure warrant (“Subject Device-1”) is
described as follows:

An Apple iPhone serviced by AT&T with the telephone number [|

During the execution of this séarch warrant, law enforcement personnel are authorized to
depress the fingerprints and/or thumbprints of Michael Cohen onto the Touch ID sensor of Subject
Device-1, or hold Subject Device-1 in front of Cohen’s face to activate the Face ID sensor, in order
to gain access to the contents of any such device as authorized by this warrant.

 

II. Review of ESI on the Subject Device

Law enforcement personnel (including, in addition to law enforcement officers and agents,
and depending on the nature of the ESI and the status of the investigation and related proceedings,
attorneys for the government, attorney support staff, agency personnel assisting the government in
this investigation, and outside technical experts under government control) are authorized to
review the ESI contained on Subject Device-1 for evidence, fruits, and instrumentalities of
violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005 (false
bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344 (bank
fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign contributions)
(the “Subject Offenses”) described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or

liabilities, to others, including to (QP and/or entities associated with him.

c. Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents or
communications that indicate the nature and purpose of payments made to or from Essential
Consultants or the nature of any work done by Cohen or any other individuals in connection with
Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
or communications that indicate the nature and purpose of payments made to or from Michael D.
Cohen & Associates, or evidence of the purpose of accounts opened in the name of Michael D.
Cohen & Associates.

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f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between
Cohen and uid/or entities controlled by

, and any payments by [I to Cohen, from January
1, 2012 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

 

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

l. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

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If the Government determines that Subject Device-1 is no longer necessary to retrieve and
preserve the data on the device, and that Subject Device-1 is not subject to seizure pursuant to
Federal Rule of Criminal Procedure 41(c), the Government will return Subject Device-1, upon
request.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

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AO 93 (SDNY Rev. 05/10) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of New York

I8MAG 2969

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

An Apple iPhone with Phone Number [I

See Attachment F

SEARCH AND SEIZURE WARRANT be \
|
To: Any authorized law enforcement officer ‘

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of New York
(identify the person or describe the property to he «aavelod id ~ive its location):

An Apple iPhone with Phone Number See Attachment F

The person or property to be searched, described above, is believed to conceal (identifi the person or describe the
property to be seized):

See Attachment F

I find that the affidavit(s), or any recorded testimony, establish probable cause to search ands sei 0, erthe ‘person or
property. ere
. . ober Bie

YOU ARE COMMANDED to execute this warrant on or before eee re

’ : for fo exceed aT4, qs)

@ inthe daytime 6:00 a.m. to 10 p.m. Ci at any time in the day or night as I finds rea dsonable o cause has been,
established. : \ 4

 

Unless delayed notice is authorized below, you must give a copy of the warrant and. a receipt for! the property.
taken to the person from whom, or from whose premises, the property was taken, ot leave tite, copy y and receipt at the
place where the property was taken. u

The officer executing this warrant, or an officer present during the execution of the warrant, must t prepare an
inventory as required by law and promptly return this warrant and inventory to the Clerk of the Court.
Upon its return, this warr ant and inventory should be filed under seal by the Clerk of the Court.

 

USM Initials

CI I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose * property, will be
searched or seized (check the appropriate box) Cifor days (not to exceed 30). Ley

Mhuntil, the facts justifying, the later specific date of ie

  

oI ERI FS I pea HERES “it STE IRENE RS ef poe ae geen ym

 

 

M4 Be Zog OF aa - vo
Date and time issued: U~- &-/§ OP Lope potZ He EE. can
Pe £Y PA é Pudge ‘signature PN °

Printed name and tithe

City and state: _New York, NY Hon. Henry B. Pitman, U, 8. Madistrate Judge va

 
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ATTACHMENT F
I. Device Subject to Search and Seizure — Subject Device-2

The device that is the subject of this search and seizure warrant (“Subject Device-2”) is
described as follows:

An Apple iPhone serviced by AT&T with the telephone number [

During the execution of this search warrant, law enforcement personnel are authorized to
depress the fingerprints and/or thumbprints of Michael Cohen onto the Touch ID sensor of Subject
Device-2, or hold Subject Device-2 in front of Cohen’s face to activate the Face ID sensor, in order
to gain access to the contents of any such device as authorized by this warrant.

If. Review of ESI on the Subject Device

Law enforcement personnel (including, in addition to law enforcement officers and agents,
and depending on the nature of the ESI and the status of the investigation and related proceedings,
attorneys for the government, attorney support staff, agency personnel assisting the government in
this investigation, and outside technical experts under government control) are authorized to
review the ESI contained on Subject Device-2 for evidence, fruits, and instrumentalities of
violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005 (false
bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344 (bank
fraud), and 52 U.S.C. §§ 30116(a)(1)(A) and 30109(d)(1)(A)(1) (illegal campaign contributions)
(the “Subject Offenses”) described as follows:

a. Evidence relating to Sterling National Bank, Melrose Credit Union, and/or taxi
medallions, from January 1, 2013 to the present.

b. Evidence relating to a plan, proposal, or agreement for Michael Cohen and/or
entities associated with him to transfer any interest in taxi medallions, and any associated debts or
liabilities, to others, including to Py ador entities associated with him.

c, Evidence relating to a plan, proposal, or agreement to modify loans that Cohen has
with Sterling and/or Melrose.

d. Evidence relating to Essential Consultants, LLC, including any documents or
communications that indicate the nature and purpose of payments made to or from Essential
Consultants or the nature of any work done by Cohen or any other individuals in connection with
Essential Consultants.

e. Evidence of income to Michael D. Cohen & Associates, including any documents
or communications that indicate the nature and purpose of payments made to or from Michael D.
Cohen é& Associates, or evidence of the purpose of accounts opened in the name of Michael D.
Cohen & Associates.

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f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen and and/or entities controlled by
as

and any payments by: Cohen, from January
1, 2012 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

1, Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present. ,

p. Communications, records, documents, and other files reflecting false
representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

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If the Government determines that Subject Device-2 is no longer necessary to retrieve and
preserve the data on the device, and that Subject Device-2 is not subject to seizure pursuant to
Federal Rule of Criminal Procedure 41(c), the Government will return Subject Device-2, upon
request.

Additionally, review of the items described in this Attachment shall be conducted pursuant
to established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

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2017.08.02

 

 
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AO 93 (SDNY Rey. 05/10) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of New York

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

An Apple iPhone with Phone Number fi)
See Attachment F

SEARCH AND SEIZURE WARRANT

Case No.

Nee Ne Ne a a

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

 

of the following person or property located in the Southern District of New York
(identify the person or describe the property to he vonmabod amd ine its location):
An Apple iPhone with Phone Number see Attachment F

The person or property to be searched, described above, is believed to conceal (identifp the person or describe the
property to be seized):

See Attachment F

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

YOU ARE COMMANDED to execute this warrant on or before U—yy_— \e
(not to exceed 14 days)

@ in the daytime 6:00 a.m. to 10 p.m. 1 at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the Clerk of the Court.
Upon its return, this warrant and inventory should be filed under seal by the Clerk of the Court.

 

USM Initials

C1 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, willt be
searched or seized (check the appropriate box) (for days (not to exceed 30).

Cuntil, the facts justifying, the later specific date of

Date and time issued: 4-t-{ 8 Ci 54 er Is [ Heniy 6. ?; nf Vew

[ Judge's signature

City and state: New York, NY Hon. Henry B. Pitman, U.S. Magistrate Judge

Printed name and title

 
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AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

 

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the Court.

Date:

 

Executing officer’s signature

 

Printed name and title

 

 

 
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ATTACHMENT F
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Device-2, or hold Subject Device-2 in front of Cohen’s face to activate the Face ID sensor, in order
to gain access to the contents of any such device as authorized by this warrant.

 

Il. Review of ESI on the Subject Device

Law enforcement personnel (including, in addition to law enforcement officers and agents,
and depending on the nature of the ESI and the status of the investigation and related proceedings,
attorneys for the government, attorney support staff, agency personnel assisting the government in
this investigation, and outside technical experts under government control) are authorized to
review the ESI contained on Subject Device-2 for evidence, fruits, and instrumentalities of
' violations of 18 U.S.C. §§ 371 (conspiracy as it pertains to the other Subject Offenses), 1005 (false
bank entries), 1014 (false statements to a financial institution), 1343 (wire fraud), and 1344 (bank
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communications that indicate the nature and purpose of payments made to or from Essential
Consultants or the nature of any work done by Cohen or any other individuals in connection with
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or communications that indicate the nature and purpose of payments made to or from Michael D.
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f. Evidence relating to Cohen’s net worth, available cash and cash equivalents,
monthly and annual income, income sources, and other assets, whether held personally or through
entities, including tax returns, personal financial statements, and bank records, from January 1,
2013 to the present.

g. Evidence relating to agreements, loans, and/or financial transactions between

Cohen 27 and/or entities controlled by IT

and any payments by (NN to Cohen, from January
1, 2U12 to the present.

h. Evidence relating to payments to Stephanie Clifford, Karen McDougal, or their
agents or legal representatives, including any nondisclosure agreements and related documents,
and any communications related to such agreements.

 

i. Evidence of communications involving Michael Cohen, Donald Trump and/or
agents or associates of the Trump Campaign about Stephanie Clifford or Karen McDougal, or
payments to Stephanie Clifford or Karen McDougal.

j. Evidence of communications between Michael Cohen and American Media, Inc.,
David Pecker, and/or Dylan Howard about Donald Trump, the Trump Campaign, Stephanie
Clifford, and/or Karen McDougal.

k. Evidence relating to Cohen’s role in the Trump Campaign, and coordination or
consultation with the Trump Campaign.

l. Evidence of communications with Donald Trump and/or agents or associates of the
Trump Campaign about the Access Hollywood tape and other potential sources of negative
publicity involving Trump’s relationship in the run up to the election.

m. Evidence relating to any reimbursement or other promises made to Cohen for
payment to Clifford or others in connection with the election.

n. Evidence relating to Cohen’s knowledge of the campaign finance laws, campaign
contribution reporting requirements, and campaign contribution limits.

o. Communications with others, including Jeffrey Getzel and/or other accountants,
relating to Cohen’s bank accounts, taxes, debts, and/or finances, from January 1, 2013 to the
present.

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representations to a financial institution related to the intended purpose of an account or loan at
that financial institution; the nature of any business or entity associated with an account at a
financial institution; the source of funds flowing into an account; or the purpose or nature of any
financial transactions involving that financial institution, from January 1, 2013 to the present.

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If the Government determines that Subject Device-2 is no longer necessary to retrieve and
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Federal Rule of Criminal Procedure 41(c), the Government will return Subject Device-2, upon
request.

Additionally, review of the items described in this Attachment shall be conducted pursuant
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any attorney-client or other applicable privilege. When appropriate, the procedures shall include
use of a designated “filter team,” separate and apart from the investigative team, in order to address
potential privileges.

 

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2017.08.02

 
